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            EXPERT REPORT OF JOHN ABRAMSON, MD.
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I, John Abramson, MD, hereby state, under penalty of perjury, that the following is true and
correct:

       INTRODUCTION
       I have been asked by Plaintiffs’ attorneys to discuss the sources of information typically
relied upon by physicians in making prescribing decisions that are in the best interest of their
patients and to explain how those traditionally independent and trusted sources of information
have increasingly come under the influence, and in some cases direct control, of drug
manufacturers. I have been asked to describe the effect that such influence or control can have
on physicians’ prescribing behaviors. I have been asked to review documents and other
information concerning the drug Neurontin, and to opine as to whether Defendants influenced
the information that physicians traditionally rely upon and trust in making informed prescribing
decisions. Specifically, I have been asked if Defendants’ actions, if established for the finder of
fact substantially as set forth in the Third Amended Complaint and other court filings, impeded
physician access to accurate, balanced and complete information concerning Neurontin’s
effectiveness in treating certain off-label conditions.
       In addressing these issues, I will review the sources from which doctors and third-party
payers typically receive information about new and optimal therapies. I will describe how these
established patterns of information transfer were exploited by Defendants in order to create a
false perception that Neurontin’s use for various off-label indications was scientifically
supported.



                                        I.      OPINIONS
       The opinions listed below are based on my knowledge, training and experience as a
medical doctor, my qualifications as set forth below, my review of documents produced by
Parke-Davis, Pfizer (collectively referred to as “Defendants”) and others, as well as depositions
and court papers filed in this case and my knowledge and experience as a researcher and
published writer in the area of pharmaceutical drug marketing. I reserve the right to continue to
review documents, depositions and hearing transcripts as well as court papers, clinical studies,
research articles, studies, the testimony of both Defense and Plaintiff experts and any other
relevant material to supplement my opinions as this case continues to develop. Support for the



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opinions listed below can be found in my full report and in the documents referenced herein.
However, this report is not intended to be an exhaustive list or reference guide to all examples of
evidence and testimony available to support my opinions.
       Assuming the finder of fact concludes, as alleged in the Third Amended Class Action
Complaint and other filings, that Parke-Davis and later Pfizer developed and executed a
comprehensive campaign to increase off-label prescriptions of Neurontin for neuropathic pain,
nociceptive pain, bipolar disorder, migraine headache and in doses above the maximum
recommended by the FDA, I am of the opinion that, based on the evidence reviewed and detailed
in my report, this campaign was effectuated by dissemination of inaccurate, incomplete or
misleading scientific evidence to physicians and payers through a number of means, including:
       •   Control and manipulation of research design, analysis, and publication of clinical
           trials concerning the off-label conditions at issue;
       •   Withholding of material scientific evidence from physicians and payers;
       •   Sponsorship of continuing medical education (“CME”) programs presenting
           inaccurate and/or incomplete scientific evidence on Neurontin’s effectiveness in
           treating off-label conditions;
       •   Use of favorably disposed and paid “Thought Leaders” and Advisory Boards to
           promote scientifically unsubstantiated use of Neurontin;
       •   Use of drug representatives to promote scientifically unsubstantiated use of
           Neurontin;
       •   Manipulation of physician, payer and public opinion by the use of misleading public
           relations campaigns; and
       •   Misrepresentation of the scientific evidence and regulatory status of Neurontin in the
           Formulary Dossier distributed to managed care organizations and other third party
           payers.
The result of the above tactics was the delivery of inaccurate, incomplete and overly positive
information about the efficacy of Neurontin, for the indications that are the subject of this case,
to potential prescribers (as well as payers, policy makers and the public). These activities, if
proven, affected the traditionally independent and trusted sources of information upon which
physicians rely in making informed prescribing decisions.




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                                     II.    QUALIFICATIONS

       1.         I am a medical doctor licensed to practice medicine in the state of Massachusetts
since 1982. I have been Board Certified in Family Medicine and a Diplomate of the American
Board of Family Practice since 1982. I graduated cum laude from Harvard College in 1970 with
a degree in Social Relations. I attended Dartmouth Medical School and graduated with a degree
in Medicine from Brown Medical School in 1976. I performed my internship at the University
of North Carolina from 1976 to 1977. I then served as a primary care physician in the National
Health Service Corps of the U.S. Public Service in Monroe County, West Virginia from 1977 to
1979. I completed my residency at Case Western Reserve University from 1979 to 1981. I also
completed a Robert Wood Johnson Fellowship in Family Medicine at Case Western University
from 1980 to 1982, earning a Master of Science in Family Practice degree. During this two year
fellowship, which included study of epidemiology, statistics, research design and health policy, I
received training in the interpretation of scientific data. Additionally, I was a Senior Research
Associate on the Faculty of the Institute for Health Policy, Heller School, Brandeis University
from 1992 to 1993, during which I participated in a project that explored local control of health
care resources to optimize allocation and health outcomes. I served as Chair of the Department
of Family Practice at Lahey Clinic in Burlington Massachusetts from 1994 to 2001. I have been
a clinical instructor at Harvard Medical School since 1997.

       2.         In recent years, I have published on health policy and the growing commercial
bias in the scientific evidence that doctors rely on to guide their clinical practice (see
bibliography listed on attached CV). Based on my education, training and experience in
medicine, epidemiology, statistics, research design and health policy, I am qualified to testify
regarding Pfizer’s manipulation of the scientific evidence about Neurontin, as well as Pfizer’s
deceptive and off-label marketing of Neurontin to physicians, pharmaceutical benefits managers,
managed care organizations, other private and public payers and public policy officials. I am
further qualified to testify regarding the sources of information physicians rely upon in
formulating their opinions regarding the efficacy and safety profiles of drugs (including
Neurontin) in the fulfillment (or attempted fulfillment) of their responsibility as learned
intermediaries.



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       3.      Throughout my twenty-eight years as a physician, I have had firsthand experience
in multiple practice arenas that further qualifies me to render opinions in this litigation. My first
experience as a primary care doctor was in a rural health clinic in Appalachia with the National
Health Service Corps, then a part of the U. S. Public Health Service. From 1982 to 2002, I
practiced family medicine in Hamilton, Massachusetts. As a treating physician, I was
responsible for the evaluation, care and treatment of numerous patients for wellness care as well
as disease diagnosis, treatment and management. I have prescribed many different drugs in the
scope of my clinical practice for over two decades and have firsthand experience regarding the
type and content of information a physician needs to make informed decisions about prescribing
drugs to a patient, including performing risk/benefit analyses and evaluating safety and efficacy
of drugs for a given patient. I carefully read medical journals both as a practicing physician, to
keep up to date on the latest developments that would impact the care and treatment of my
patients, and as a researcher to evaluate the quality of the scientific evidence presented therein.

       4.      I also have experience with the health care industry. Between 1986 and 1993, I
served as Associate Medical Director of Pru-Care of Massachusetts. I am currently the
Executive Director of Health Management for Wells Fargo Health Solutions. In that role, I
participate in designing health benefits for self-insured companies that reflect the best scientific
evidence about effective health care: integrating evidence-based medicine, epidemiologically-
based health care and predictive health modeling.

       5.      Teaching has also been an important lens through which I have observed and
experienced the changes in medicine that have taken place throughout my career. I have taught
both medical students and postgraduate students and also lectured as an invited speaker
regarding the growing challenge to clinicians trying to make informed decisions about optimal
pharmacotherapy for their patients. My academic appointments include serving as a clinical
instructor in ambulatory care and prevention at Harvard Medical School since 1997. From 1993
to 1995, I was the Chair of the Graduate Medical Education Committee (Family Practice
Residency) at Beverly Hospital in Beverly, Massachusetts. I have also served as a Mentor for
first year medical students in the Primary Care Mentorship Program at Harvard Medical School
and also as a Preceptor in the Primary Care Clerkship Program at Harvard Medical School. I
continue to serve as a tutor in the Primary Care Clerkship Program there. In these roles, I have



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taught students how to critically interpret and integrate medical literature and data into a
risk/benefit analysis for prescribing drugs to patients.

        6.      The issues of public health and health policy and how doctors process information
from various sources has been of importance and interest to me throughout my career as a
physician. Because of the changes I was observing in American medicine and experiencing in
my own practice, I left clinical practice to devote myself full time to researching this topic,
specifically in regard to the pharmaceutical industry and its impact on public health, public
safety and the quality of American health care. Since the beginning of 2002, I have been
researching, writing, lecturing and teaching about how the information and misinformation about
drugs and other medical products available to practicing physicians impacts their medical
decisions and the overall quality, effectiveness and cost of American health care.

        7.      As noted in my curriculum vitae, I have been invited to lecture at medical schools,
hospital Grand Rounds and health insurers about the growing commercial influence on the
production and dissemination of medical information available to physicians, the public and
health policy makers.

        8.      Thus, based on my education, training, two decades of clinical practice and my
independent research, I have unique knowledge and understanding and am qualified to testify
regarding how pharmaceutical company sponsored research and marketing affects doctors’
decisions, patients’ expectations and the overall quality and effectiveness of medical care. Prior
to being consulted in this litigation, I published articles and a book on this subject as listed on my
curriculum vitae. A true and correct copy of that document, further outlining my education,
training, publications, and experience, as well as my hourly rate, is attached as Exhibit 1.

        9.      The opinions expressed in this affidavit are my own and are based on my
education, training, research, and experience, my review of the peer-reviewed medical literature
and on corporate documents and depositions produced in this litigation by Pfizer. A list of the
articles, depositions, and documents, upon which I relied in forming my opinions, are attached as
Exhibit 2 and are incorporated into my opinions stated below. My opinions, as stated in this
affidavit, are stated to a reasonable degree of medical probability.

        10.     Any testimony I have given within the past 4 years as an expert either at
deposition or at trial will be listed on Exhibit 3, attached.


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                                III.            OVERVIEW

          11.    Neurontin was approved by the FDA in December 1993 for a single indication:
“adjunctive therapy in the treatment of partial seizures with and without secondary generalization
in adults with epilepsy.” In October 2000, the FDA approved an expansion of the original
indication for Neurontin to include “patients over 12 years of age with epilepsy” and added an
indication for “adjunctive therapy in the treatment of partial seizures in pediatric patients age 3-
12 years.” In May 2002, the FDA approved an additional indication for Neurontin, “for the
management of postherpetic neuralgia in adults.” The dose recommended for this indication is
300 mg on the first day of therapy, increasing by 300 mg per day up to 900 mg/day. “The dose
can subsequently be titrated up as needed for pain relief to a daily dose of 1800 mg (divided
TID)…Additional benefit of using doses greater than 1800 mg/day was not demonstrated.” 1

          12.    During its first year on the market, Neurontin use was limited primarily to
Epilepsy/Convulsions. 2 Sales for Neurontin’s single FDA-approved indication peaked in 1995,
after one year on the market. As of February 1996, 83% of Neurontin use was for epilepsy. The
other 17% was used for off-label indications: 14% for neuropathic pain, and less than 1% for
migraines, bipolar disorders or all other indications.

          13.    In the following two years, off-label use increased from 17% to 60% of total
Neurontin usage, during which time use of Neurontin for neuropathic pain increased almost 5
fold; use for migraine increased almost 30-fold; use for bipolar disorders increased more than 6–
fold; and use for all other off-label indications increased by 9-fold. 3

          14.    Between 1996 and 2001, the number of patients in the U.S. taking Neurontin
increased from 430,000 to 5,977,000, 4 or about 13-fold, with this growth occurring solely in
Neurontin use for non-FDA approved indications. Data presented in Pfizer’s 2002 Operating
Plan show that, as of September 2001, only 6.5% of Neurontin being used in the U.S. was for its

1
  2002 FDA-approved label for Neurontin
2
  NEURONTIN: Leading at the Edge—Global Operating Plan 2001. Pfizer_CGrogan_0005052
6
  Pfizer_JMarino_0002504




4
    Pfizer_Rglanzman_0164633


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single FDA-approved indication, epilepsy. 5 The other 93.5% was being used for non-FDA
approved indications. 6 Use for bipolar disorder, as just one example, increased from minimal,
8,000 prescriptions annually as of February 1996, up to approximately 402,000 annual
prescriptions in November 1999. 7

        15.     In 1998, 1999 and 2000, despite decreasing use for epilepsy, Neurontin sales
continued to grow annually at rates of 62%, 70% and 44% respectively. 8 In 2000, despite
approved use for broader indications in many other countries, 9 88% of worldwide sales of
Neurontin occurred in the United States. 10 In 2000, only 11% of Neurontin was being used for
its single on-label indication.

        16.     According to the Pfizer’s 2001 Operating Plan for Neurontin, initial sales were
“somewhat sluggish and limited in the AED [antiepileptic drug] market. 11 In other words,
“sluggish” sales were the result of Neurontin being used primarily for its FDA-approved
indication.

        17.     The following graph, taken from the 2001 Global Operating Plan for Neurontin,12
provides a visual image of the growth of Neurontin use for on and off-label indications, with the
single FDA-approved indication the darkest band on top of the others. This graph shows that
after its first year on the market, all growth in U.S. sales of Neurontin was for off-label
indications, and that use for off-label indications went from minimal to blockbuster status in a
matter of just a few years.




5
  Pfizer_BParsons_0092318
6
  Pfizer_Rglanzman_0164640
7
  WLC_CBU_040450
8
  Pfizer_SDoft_0024550
9
  Pfizer_CGrogan_0005058
10
   Pfizer_CGrogan_0005068
11
   NEURONTIN 2001 Operating Plan Executive Summary. PFIZER_JMARINO_0000688
12
   Pfizer_CGrogan_0005052



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          18.     Pfizer’s 2002 Operating Plan stated that the growth opportunities for Neurontin
were “outside epilepsy,” i.e. off-label, in the areas of neuropathic pain and psychiatry. Targeting
of primary care physicians was specifically mentioned in order to “Grow/Protect Business.” 13
Reflecting the pattern of CME, only 20% of samples and 25% of details were provided to
neurologists (the one specialty most likely to be prescribing Neurontin as adjunctive therapy for
seizure disorder). Psychiatrists received the most samples and detailing (55 and 43% of total,
respectively), followed by PCPs and “others.” 14

          19.     Pfizer‘s 2002 Operating Plan calculated that in the unlikely event that the FDA
did not approve Neurontin for any type of neuropathic pain (meaning that the only indication for
Neurontin would remain adjunctive therapy for partial seizure disorder), it would lose only $45


13
     Pfizer_BParsons_00923 31
14
     Pfizer_Rglanzman_0000741


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million in sales 15 out of the $1.9 billion in projected U.S. sales for 2002. 16 In other words, Pfizer
calculated that the failure of the FDA to approve any indications beyond adjunctive therapy for
partial seizures would decrease total Neurontin sales just 2.4% and cause a minimal decrease in
off-label sales of Neurontin: from $1.77 billion to $1.72 billion per year.

           20.      The rapid and extensive growth of off-label use of Neurontin begs the following
questions: Starting in 1996, what led doctors to believe that prescribing Neurontin for the off-
label indications at issue was scientifically supported and in the best interest of their patients?
What led doctors to prescribe Neurontin in doses greater than 1800 mg/day (despite a lack of
FDA approval for such dosage)? Did the scientific evidence available at the time support such
off-label (including high dose) use? Was the information presented to physicians accurate and
balanced?

     IV.      SOURCES OF INFORMATION ABOUT PRESCRIPTION DRUGS RELIED
                          UPON BY MEDICAL DECISION MAKERS

A.         The Ideal

            1.   Evidence-Based Medicine and the double-blind placebo-controlled randomized
                  trial

           21.   The standard upon which doctors are expected to rely when making treatment
decisions for their patients is “evidence-based medicine.” The Center for Evidence-Based
Medicine (CEBM) provides the following definition:

                 Evidence based medicine is the conscientious, explicit, and
                 judicious use of current best evidence in making decisions about
                 the care of individual patients. 17

           22.   Further, physicians are counseled that the gold standard methodology for
producing such evidence is randomized trials rather than from “non-experimental approaches.”
When deciding whether or not a given treatment is in their patients’ best interest, physicians are
advised:



15
   Pfizer_SDoft_0024606
16
   Pfizer_SDoft_0050281
17
   Sackett DL, Rosenberg WMC, Gray JAM, et al., Evidence based medicine: what it is and what it isn't: It's about
integrating individual clinical expertise and the best external evidence. British Medical Journal, 1996;312:71-72,
accessed from the Center for Evidence-Based Medicine, http://www.cebm.net/?o=1014 , July 13, 2008.


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                to avoid the non-experimental approaches, since these routinely lead
                to false positive conclusions about efficacy. Because the randomised
                trial, and especially the systematic review of several randomised
                trials, is so much more likely to inform us and so much less likely to
                mislead us, it has become the "gold standard" for judging whether a
                treatment does more good than harm. 18
        23.     Physicians’ primary sources of the evidence upon which their evidence-based
decisions are based are the results of gold standard double-blind randomized controlled clinical
trials (“RCTs”) and systematic reviews of RCTs published in peer-reviewed journals. The
medical “literature” thus defines the scientific evidence that provides the foundation for
“evidence-based medicine.” Yet, as discussed below, much of this research and the reports
summarizing it are increasingly controlled or funded by pharmaceutical manufacturers.

          2.    Continuing Medical Education

        24.     Doctors also keep abreast of developments in their field by participating in
continuing medical education (“CME”) activities. The majority of states require ongoing
participation in CME activities, typically 50 hours per year, in order to maintain medical
licensure. CME activities provide information about new drugs, tests and procedures, as well as
optimal care for medical conditions.

        25.     Continuing medical education, according to the American Medical Association,
consists of “educational activities that serve to maintain, develop, or increase the knowledge,
skills, and professional performance and relationships a physician uses to provide service for
patients, the public, or the profession.” 19 As such, ongoing participation in continuing medical
education plays a major role in doctors’ fulfillment of the responsibility to their patients to stay
current with new medical knowledge.

        26.     CME activities are typically provided by recognized clinical experts, referred to
as “thought leaders” or “key opinion leaders,” often recognized and virtually always respected by
practicing physicians. Therapeutic recommendations made by such authoritative clinical experts
have a major impact on attendees’ beliefs about optimal therapy for their patients.




18
  Ibid.
19
  Harrison RV, The Uncertain Future of Continuing Medical Education: Commercialism and Shifts in Funding,
Journal of Continuing Education in the Health Professions, 2003;23:198-209.


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        27.      According to the past president of the Pharmaceutical Research and
Manufacturers of America (“PhRMA”):

                 Industry-supported conferences, seminars, and symposia are
                 helping physicians to provide the best, most appropriate, and most
                 up-to-date health care to their patients. They help to ensure the
                 widespread adoption of new medicines and technologies that save
                 lives, cure disease, relieve pain, and allow individuals to lead
                 longer, healthier, and more productive lives. 20

          3.     Drug Representatives

        28.      Pharmaceutical companies have both in-house and third-party marketing firms to
assist them in the branding and product placement of prescription drugs. Marketing, of which
sales or drug representatives are only one aspect, generally includes the oversight of all printed
material concerning a prescription drug, the look and feel of all advertisements, the pictures and
colors used, the product message and the way that the risks and benefits of the product are
described.

        29.      Sales or drug representatives act as a source of information for physicians.             The
number of drug reps making sales calls in doctors’ offices tripled between the early 1990s and
2001, and now there are about 90,000 drug reps making calls on practicing physicians or one full
time rep for every four and half office-based doctors. 21 Between 80-90% of office-based doctors
talk to drug reps, 22 and, somewhat paradoxically, the busier a doctor is the more likely he or she
is to talk to drug reps. 23 According to a 2002 survey conducted by the Kaiser Family Foundation,
74% of doctors consider the information provided by drug reps very or somewhat useful, and
81% of doctors consider the information provided by drug reps very or somewhat accurate. 24

        30.      Public relations campaigns and non-profit public service organizations like the
American Heart Association, the National Osteoporosis Foundation, the Arthritis Foundation,

20
   Holmer AF. Industry strongly supports continuing medical education. Journal of the American Medical
Association. 2001;285:2012-2014.
21
   Scott Hensley, “As Drug-Sales Teams Multiply, Doctors Start to Tune Them Out, Wall Street Journal, June 13,
2003.
22
   Moynihan R. Who Pays for the Pizza? Redefining the Relationships Between Doctors and Drug Companies. 1:
Entanglement. British Medical Journal. 2003;326:1189-92.
23
   Ferguson RP, Rhim E, Belizaire W, et al., Encounters with Pharmaceutical Representatives among Practicing
Internists, Am J Med, 1999;107:149-152.
24
   National Survey of Physicians Part II: Doctors and Prescription Drugs, The Kaiser Family Foundation, March
2002. http://www.kff.org/rxdrugs/loader.cfm?url=/commonspot/security/getfile.cfm&PageID=13965 accessed
1/8/07


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and the National Alliance of the Mentally Ill, also act as a source of medical information for
consumers and medical providers.

B.     How This System of Knowledge Production and Dissemination Actually Works

         1.    Commercial Control of Design, Analysis, and Publication of Clinical Trials in
                Peer-Reviewed Medical Journals

       31.     In today’s health care market, doctors face significant time constraints in
determining which drugs and treatments are in the best interest of their patients. They, along
with formulary committees, purchasers, PBMs and policy makers, rely upon a variety of trusted
sources for the scientific evidence upon which to base their decisions. Many of these sources are
directly controlled or heavily influenced by pharmaceutical manufacturers. All of these sources
contain susceptibilities that have been exploited by pharmaceutical manufacturers.

       32.     Physicians rely on the findings of RCTs published in respected peer-reviewed
medical journals in order to make the best decisions for their patients. However, corporate
influence now permeates every aspect of the research process including: the design of clinical
studies (including the population included in the trial, the choice of drugs, doses, duration of the
trial, and the outcome and safety measures to be tracked); control of the data and data analysis;
writing the manuscripts for articles, and publication decisions (including where, or even whether
the study will be published); and publicity following publication. Through these methodologies
even “gold standard” double-blind randomized controlled trials can be “spun” to favor the
interests of corporate sponsors, exaggerating benefits and minimizing adverse events.

               a.      The Changed Locus of Control of Clinical Research

       33.     As the National Institute of Health (“NIH”) funding of clinical trials started
decreasing in the late 1970s, pharmaceutical companies moved in to fill the void. Between 1977
and 1990, pharmaceutical companies increased their funding for clinical trials six-fold. 25 By
1991, approximately 70% of clinical trials were being funded by the pharmaceutical companies,
but 80% of those trials were still being carried out in academic medical centers where there was
a tradition of academic researchers participating in study design, data analysis and publication


25
   Dramatic Growth of Research and Development, Pharmaceutical Research and Manufacturers of
America (PhRMA), Pharmaceutical Industry Profile 2003 (Washington , DC: PhRMA, 2003).
http://www.phrma.org/publications/publications/profile02/2003%20CHAPTER%202.pdf accessed 2/14/03.


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decisions. 26 As the 1990s progressed, this changed dramatically, so that by 2000 only 41% of
commercially funded studies were being done in universities; the rest were being done by for-
profit contract research organizations. By 2004, only 26% of commercially funded studies were
being performed in an academic setting. 27

        34.      There is nothing inherently unethical about this change in the locale. It allows the
drug companies to get their research done more quickly, with less red tape and lower overhead.
But one important consequence of this transition is that it changed the locus of control of clinical
research from academic researchers working in academic medical centers to the pharmaceutical
companies themselves. Since pharmaceutical companies were hiring the research companies
directly, they could play the primary role in designing the study and controlling the data, while at
the same time denying researchers, who would author the articles to be published in medical
journals (the “scientific evidence”), free access to the data. This allows the pharmaceutical
companies to retain a great deal of control over publication decisions.

        35.      Currently, eighty to ninety percent of clinical research is commercially funded. In
the ten years between 1994 and 2003, sixty-five of the seventy-seven most frequently cited
clinical trials, or 84%, had commercial sponsorship. Furthermore, the percentage increased
significantly during that time: since 1999, thirty-one out of thirty-two of the most frequently
cited clinical trials, or 97%, had industry sponsorship. 28

        36.      A study published in the New England Journal of Medicine (“NEJM”) examined
the standards for the arrangements between pharmaceutical companies and academic medical
centers – the clinical trial contracting agreements that would be expected to maintain the highest
standards of academic independence. The researchers found that more than two-thirds of the
academic institutions accepted research contracts that prohibit researchers from changing the
sponsor’s research design. Half of the university medical centers allowed commercial sponsors
to “draft manuscripts reporting the research results, with the investigators’ role limited to review




26
   Bodenheimer T. Uneasy alliance – clinical investigators and the pharmaceutical industry. New England Journal of
Medicine. 2000;342:1539-1544.
27
   Steinbrook R, Gag Clauses in Clinical-Trial Agreements, NEJM, 2005; 352: 2160-62
28
   Patsopoulos NA, Ionnidis JPA, Analatos AA, Origin and funding of the most frequently cited papers in medicine:
database analysis, BMJ, 2006;332:1061-1064.


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and suggestions for revision.” And “24 percent of the responding institutions would grant the
sponsor the right to insert its own statistical analyses into manuscripts.” 29

        37.      Discussing the failure of universities to defend their scientists’ research
independence when conducting commercially-sponsored medical studies, Drummond Rennie,
MD, Deputy Editor of the Journal of the American Medical Association (“JAMA”), said that
universities and scientists “are seduced by industry funding, and frightened that if they don’t go
along with these gag orders, the money will go to less rigorous institutions… It’s a race to the
ethical bottom.” 30 Given the primary fiduciary responsibility of the drug companies to their
shareholders rather than the public’s health, this transition from public to private financing of
clinical research means that – at best – studies will be designed and our medical knowledge will
grow towards maximizing corporate profits rather than optimizing health most effectively and
efficiently.

        38.      Thirteen editors of the world’s most prestigious medical journals issued an
alarming joint statement highlighting the extent and consequences of the commercial takeover of
clinical research. In the report they stated:

                 Until recently, academic, independent clinical investigators were
                 key players in design, patient recruitment, and data interpretation
                 in clinical trials. The intellectual and working home of these
                 investigators, the academic medical center, has been at the hub of
                 this enterprise, and many institutions have developed complex
                 infrastructures devoted to the design and conduct of clinical trials.
                 But, as economic pressures mount, this may be a thing of the past.

                 Investigators may have little or no input into trial design, no access
                 to the raw data, and limited participation in data interpretation.
                 These terms are draconian for self-respecting scientists, but many
                 have accepted them because they know that if they do not, the
                 sponsor will find someone else who will. 31

        Unfortunately, awareness of this important statement released simultaneously in the
editors’ publications in the second week of September 2001 was drowned out by the tragic
events of September 11th.

29
   Mello MM, Clarridge BR, Studdert DM, Academic medical centers’ standards for clinical-trial agreements with
industry, N Engl J Med, 2005;352:2202-10.
30
   Knox RA, Boston Globe, March 30, 1999
31
   Davidoff F, DeAngelis DC, Drazen JM, et al. Sponsorship, Authorship, and Accountability, N Engl J Med, 2001;
345: 825-7.


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        39.     Between two-thirds and three-quarters of the clinical studies published in even the
most prestigious journals are now commercially funded. 32 Among the highest quality published
studies (those deemed good enough to be included in Cochrane Reviews), the odds are 5.3 times
greater that commercially funded studies will conclude that the sponsor’s drug is the treatment of
choice compared to non-commercially funded studies of exactly the same drugs. 33 This means
that the “scientific evidence” produced by commercially sponsored studies is effectively and
systematically biased in favor of the sponsor’s drug. An editorial in the American Journal of
Medicine noted that the “link between commercial sponsorship and the conduct and presentation
of research” is difficult to minimize “because there is usually a substantial power gradient
between the sponsor and the investigator.” 34

        40.     A rare window into the problem of authors of commercially sponsored research
not having access to the data from their own study was provided by the eleven non-Merck
employee authors’ (including the lead author) response to the “Expression of Concern” issued by
the editors of the NEJM 35 about three heart attacks that occurred in the Vioxx Gastrointestinal
Outcomes Research (“VIGOR”) trial that were not included in the November 23, 2000 NEJM
article reporting the results. The non-Merck employed authors wrote: “These events were
neither in the locked database used in the analysis for the VIGOR paper nor known to us during
the review process.” 36

        41.     In other words, the non-Merck employee authors of the VIGOR article published
in the NEJM—including the lead author—were not aware of the occurrence of the additional
three heart attacks and therefore did not have the opportunity to participate in the decision about
whether or not to include them in the paper they authored. That the NEJM editors rejected the
Merck-employed authors’ justification for not including the three heart attacks in the paper 37 is
not the important point here. Rather, the issue is that, of the thirteen authors of the paper, only

32
   Smith R, Medical Journals Are an Extension of the Marketing Arm of Pharmaceutical Companies, PLOS
Medicine, 2005; 2(5):e138 DOI: 10.1371/journal.pmed.0020138
33
   Als-Neilsen B, Chen W, Gluud C, Kiaergard LL, Association of Funding and Conclusions in Randomized Drug
Trails, JAMA, 2003; 290:921-928.
34
   Landefeld CS, Commercial Support and Bias in Pharmaceutical Research, Am J Med, 2004;117:876-8.
35
   Curfman GD, Morrissey S, Drazen JM, Expression of Concern: Bombardier et al., “Comparison of Upper
Gastrointestinal Toxicity of Refecoxib and Naproxen in Patients with Rheumatoid Arthritis,” N Engl J Med
2000;343:1520-8. NEJM, 2005;353:2813-4.
36
   Bombardier C, Laine L, Burgos-Vargas R, et al., Response to Expression of Concern Regarding VIGOR Study,
NEJM, 2006;354:1196-8.
37
   Curfman GD, Morrisey S, Drazen JM, Expression of Concern Reaffirmed, N Eng J Med, 2006;354:1193.


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the two employed by Merck were given the opportunity to participate in the decision about how
to handle the crucial statistical ramifications that the additional three heart attacks posed. The
other authors were deprived of the opportunity to participate in this crucial decision about the
data in the paper they authored.

                  b.       Commercial Control of Publication of Clinical Trials in Peer-
                           Reviewed Journals

         42.      Drug manufacturers can also bias even the most trusted “scientific evidence” by
having financial relationships with researchers, funding research and coordinating research
publications. A study of the effect of researchers’ financial conflicts of interest and industry
funding on clinical trials, published in the American Journal of Psychiatry in 2005, concluded:
“Industry sponsorship and author conflict of interest are prevalent and do appear to affect study
outcomes.” 38 The study looked at clinical trials that were published between 2001 and 2003 in
the four most widely cited general psychiatry journals. Forty-seven percent of the articles
included at least one author with a financial conflict of interest, defined as “any report of
consulting or speaking fees or honoraria, stock ownership, or employment by the study sponsor.”
The odds were 4.9 times higher that articles including at least one author with a conflict of
interest would report positive results for the drug company’s product. For those studies that had
both industry sponsorship and at least one author with a conflict of interest the odds were 8.4
times higher that the study would favor the sponsor’s drug. 39

         An example of the way that bias can be introduced into even the “gold standard” of
clinical trials can be seen by looking at the criteria used by Merck for selection of patients to be
included in the VIGOR trial, comparing the safety of Vioxx to that of naproxen. Merck
scientists were concerned that allowing patients in the study to take prophylactic low-dose
aspirin (to reduce risk of cardiovascular events) would neutralize the potential GI safety
advantage. Yet they were also concerned that not allowing patients to use low dose aspirin
would increase the risk of cardiovascular events in patients taking Vioxx (a possible
consequence of either the anti-thrombotic property of aspirin or the potential prothrombotic
consequence of selective COX-2 inhibition that had been raised by its own expert panel), and


38
   Perlis RH, Perlis CS, Wu Y, et al., Industry Sponsorship and Financial Conflict of Interest in the Reporting of
Clinical Trials in Psychiatry, Am J Psychiatry, 2005;162:1957-1060
39
   P<0.001 for both odds ratios.


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thus “kill the drug.” 40 Merck’s solution to this dilemma was to exclude patients for whom low
dose aspirin was recommended—a perfect solution in terms of highlighting the potential GI
safety of Vioxx and minimizing the cardiovascular risk (as a result of excluding people with a
previous history of cardiovascular disease). There were two problems with this solution: First it
weakened the quality of the Level 1 evidence by introducing selection bias, 41 rendering the
safety findings applicable only to groups of people who—like those included in the study—did
not have pre-existing cardiovascular disease, even though the results were clearly not intended to
be applied to such a constricted population. And second, although quite a clever strategy, it
didn’t work. The number of excess cardiovascular complications among the patients taking
Vioxx was actually greater than the number of excess serious GI complications among those
taking naproxen. And overall there were twenty-one percent (21%) more serious adverse
events 42 among patients taking Vioxx than among those taking naproxen (p=0.016). Merck’s
approach to these disadvantageous findings provides yet another window into the way that
sponsor’s can influence the “knowledge” produced by clinical trials. Despite the specific
recommendation of the VIGOR Data Safety Monitoring Board to do a separate analysis of the
rates of cardiovascular complications (because of the differences that they were seeing in the
interim data), no such analysis was included in the article reporting the VIGOR results in the
NEJM. 43 Neither was the significantly greater number of serious adverse events in those taking
Vioxx included in this article. Rather, the article concluded simply that:

                  rofecoxib, a selective inhibitor of cyclooxygenase-2, is associated
                  with significantly fewer clinically important upper gastrointestinal
                  events than treatment with naproxen, a nonselective inhibitor. 44


(The differential rates of heart attacks were presented. However, three events that occurred in
those taking Vioxx were not reported and thus allowed the article to falsely claim that Vioxx
only increased the risk of MI among people with a previous history of heart disease.) 45

40
   Mathews AW, Martinez B, E-Mails Suggest Merck Knew Vioxx’s Dangers at Early Stage, Wall Street Journal,
November 1, 2004. Page 1.
41
   Ebell MH, Siwek J, Weiss BD, et al., Strength of Recommendation Taxonomy (SORT): A Patient-Centered
Approach to Grading Evidence in the Medical Literature, American Family Physician, 2004;69:548-56
42
   “Serious adverse events” are defined by the FDA as those causing hospitalization, prolongation of hospitalization,
permanent disability, cancer, or death.
43
   Bombardier C, Laine L, Reicin A, et al. Comparison of upper gastrointestinal toxicity of rofecoxib and naproxen
in patients with rheumatoid arthritis. N Engl J Med 2000;343:1520-8.
44
   Ibid.


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         43.      A 2003 article in the British Journal of Psychiatry uses the antidepressant Zoloft
and studies published between 1998 and 2001 as an example to show the effect of commercial
coordination of research publications. 46 Fifty-five out of a total of ninety-six articles published
during this interval were coordinated by Current Medical Directions (“CMD”), a medical
information company hired by Pfizer, the manufacturer of Zoloft. The raw data from the
research presented in these articles was, “in almost all instances,” proprietary—meaning that the
authors often did not have free access to the untabulated data and, if they did, they were not free
to share the data with colleagues.

         44.      These fifty-five articles included “a number of publications that the document
suggests originated within communication agencies, with the first draft of articles already written
and the authors’ names listed as ‘to be determined.’” 47 In other words, these articles were
ghostwritten for the authors whose names later appeared on the published articles. Readers are
not always informed about these relationships: only two of the fifty-five articles followed current
medical journal guidelines by acknowledging “writing support from individuals not listed as
authors.”

         45.      In addition, readers of the articles often are not aware of authors’ financial ties to
the drug maker:

                  Of the published articles, 13 of the 55 do not appear to have a
                  company author or to have been through an agency. Four of these
                  13 articles involved economic models based on data provided by
                  Pfizer, and it is assumed that these authors do not have access to
                  raw data. Five of the 13 are review articles appearing in a
                  company-sponsored symposium supplement [to journals]. The
                  remaining four articles acknowledge support funding… 48

         46.      Among the fifty-five CMD coordinated publications, all of the published clinical
and economic analyses were favorable to Zoloft. In contrast, only eighteen of the forty-one non-
CMD coordinated publications reported favorable results. In addition, there is evidence that


45
   For a full discussion of the three omitted MIs and the statistical consequences see: Curfman GD, Morrissey S,
Drazen JM, Expression of Concern: Bombardier et al., “Comparison of Upper Gastrointestinal Toxicity of
Rofecoxib and Naproxen in Patients with Rheumatoid Arthritis,” N Engl J Med 200, 343:1520-8, 2005; 353:2813-4
46
   Healy D, Cattell D, Interface between authorship, industry and science in the domain of therapeutics, Br J Psych,
2003; 183:22-27.
47
   Ibid.
48
   Ibid.


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among the CMD coordinated articles, adverse events were not adequately reported: two of these
studies under-report suicide and suicidal behaviors. 49 Finally, CMD coordinated articles were
5.5 times more likely to be cited in future articles (and therefore have more impact on what is
perceived as the scientific evidence) than the independently published articles. 50 This is
important because the CMD coordinated articles are far more likely to be favorable to Zoloft and
to have greater impact on the perceived scientific evidence.

        47.      Commercial bias also plays a role in determining which studies get published and
which ones do not. Based upon the six published studies addressing the safety and efficacy of
the newer antidepressants in treating depressed children and adolescents, doctors reasonably
believed that the scientific evidence clearly showed the benefits of these drugs in treating
depression in this population. But the totality of scientific evidence that existed at that point
showed just the opposite. In truth, through 2003 there were not six, but fifteen studies
completed—nine of which remained unpublished. When all the studies were considered
together, the evidence shows that these drugs are not just ineffective for depressed children and
adolescents, but are also unsafe, doubling the risk of suicidal behavior. (Even among the six
published studies that claimed to have documented effectiveness, three were not confirmed upon
independent analysis by British and American regulatory agencies.) 51

        48.      An article published in NEJM in January 2008 showed that of 74 studies of
antidepressants that had been completed, 38 showed positive findings and 36 negative or
equivocal findings. All but one of the positive studies were published in medical journals,
whereas only 3 of the non-positive 36 trials were published accurately, if at all. The article
concluded that the odds are 12 times greater that studies of antidepressants reaching a positive
conclusion would be published accurately than studies reaching a negative or equivocal
conclusion. 52 In other words, without knowing it, doctors, formulary committees and policy
makers had based their decisions on a highly unrepresentative fraction of the available scientific
evidence.


49
   Ibid. (Healy 2003)
50
   P≤0.001
51
   Antidepressant Medications in Children and Adolescents, Therapeutics Letter, 2004; Issue
52. http://www.ti.ubc.ca/pages/letter52.htm accessed 1/08/07
52
   Turner EH, Matthews AM, Linardatos E, et al., Selective Publication of Antidepressant Trials and Its Influence
on Apparent Efficacy, New England Journal of Medicine, 2008;358:252-60.


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        49.      Dr. Richard Horton, the current editor of The Lancet, and Dr Richard Smith, the
former editor of the British Medical Journal, told the new York times in 2006 that the “[medical]
journals have devolved into information laundering operations for the drug companies.” 53
Publication of an article in a peer reviewed journal is generally taken to mean that unbiased
reviewers have deemed the article to reasonably represent the scientific evidence and doctors
have been taught to trust the scientific evidence presented in peer reviewed journals. However,
their faith in the ability of peer review to assure balanced interpretation of scientific evidence
remains unverified as documented by a systematic review of the effect of peer review published
in JAMA in 2002. The article concluded that “[e]ditorial peer review, although widely used, is
largely untested and its effects are uncertain.” 54

        50.      Supplements published in journals are another path by which pro-drug industry
material is created and disseminated to physicians, as if it had the authority of a regular peer-
reviewed article (with all the reservations about those mentioned above). Supplements often
include papers that are presented at industry-sponsored conferences or symposia. Sponsoring
drug companies may even choose the guest editor of the supplement. 55

          2.     Review Articles

        51.      The systematic bias in the results of commercially-sponsored clinical trials also
appears in commercially-sponsored review articles. An article published in the British Medical
Journal (BMJ) compared the quality and results of commercially-sponsored reviews (meta-
analyses) comparing two drugs to Cochrane reviews (non-commercial, highest quality) of the
same design, as well as to those with undeclared and/or non-commercial support. The study
found that the estimated treatment effects of the drugs being reviewed were reported to be the
same in the commercially sponsored reviews and Cochrane reviews (as would be expected
because of the unambiguous nature of the results that are reported). However, the effect of
commercial sponsorship was revealed in the recommendations that then followed:

                 The estimated treatment effects in industry supported reviews were
                 similar to those of Cochrane reviews, but the former had uniformly
                 positive recommendations for the experimental drug, without

53
   Altman LK, For Science’s Gatekeepers, A Credibility Gap, New York Times, May 2, 2006
54
   Jefferson T, Alderson P, Wagner E, Davidoff F, Effects of Editorial Peer Review, JAMA, 2002;287:2784-86.
55
   Brody H, Hooked: Ethics, the Medical Profession, and the Pharmaceutical Industry, New York: Rowman &
Littlefield Publishers, Inc. 2007.


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                    reservations about methodological limitations of the trials or costs,
                    in contrast to none of the Cochrane reviews. This suggests that the
                    main problem with industry supported reviews lies in how
                    conclusions are formulated. 56

          3.        Continuing Medical Education

        52.         In 1998, forty-eight percent (48%) of CME activities overall were commercially
              57
sponsored.         Direct commercial support for continuing medical education activities increased
twenty-eight percent (28%) between 1998 and 1999, to $388 million. 58 According to a survey
published in Medical Marketing & Media in 1999, for profit medical education service suppliers
(“MESSs”) were playing a major role in providing commercially sponsored CME (as well as
other) services, primarily for pharmaceutical companies. MESS revenues grew by nineteen
percent (19%) between 1998 and 1999. The highest revenue-generating services provided by
MESSs in 1999 were, in order, commercially sponsored grand rounds, symposia, coordination of
advisory boards and activities related to publications. 59

        53.         The largest MESS in the survey was Phase V, which included Pfizer and Lilly
among its clients, whose philosophy is explained as follows:

                    Through thought leaders, clinical and patient advocates, trial
                    recruitment publicity, publication strategies, and other highly
                    credible peer-to-peer channels, we disseminate your evidence to
                    [predispose] target audiences toward a favorable view of your
                    product…Collegial pressure is also a powerful influence: By
                    understanding the often uncharted but very real professional
                    networks that exist in every area of medicine, Phase V converts
                    support in one quarter to influence in another.60




56
   Jorgensen AW, Hilden J, Gotzsche PC, Cochrane reviews compared with industry supported meta-analyses and
other meta-analyses of the same drugs: systematic review, Br Med J, 2006 Oct 14;333(7572):782. Epub 2006 Oct 6.
Review.
57
   Harrison RV, The Uncertain Future of Continuing Medical Education: Commercialism and Shifts in Funding,
Journal of Continuing Education in the Health Professions, 2003;23:198-209.
58
   Hensley S, When Doctors Go to Class, Industry Often Foots the Bill, Wall Street Journal, December 4, 2002.
59
   Ross JS, Lurie P, Wolfe SM, Medical Education Services: A Threat to Physician Education, July 19,
2000. http://www.citizen.org/publications/release.cfm?ID=7142 Accessed July 13, 2008
60
   Grey Healthcare Group. Pathways to success: medical education: Phase V Communications. Available
at: http://www.ghgroup.com/pathway/content.asp?A=2&B=3&pg=11 . Downloaded on July 19, 2000. (Cited in
Ross et al. above)


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                Phase V never loses sight of the strategic value of Speakers Bureau
                programs to enhance its client’s corporate image and to strengthen
                brands. 61
        54.     According to guidelines for CME activities established by the Accreditation
Council for Continuing Medical Education (ACCME), AMA, FDA and others, the content of
CME programs should be directed by the CME sponsors (i.e. the medical education service
suppliers, medical schools, hospitals, etc) rather than the funders (i.e. the pharmaceutical
companies), the funds should be provided as unrestricted educational grants (not under the
control of the funder), and the financial arrangements between sponsor and funder should be
disclosed. 62

        55.     Commercial sponsorship of doctors’ continuing medical education increased from
approximately $400 million in 1998 to approximately $700 million in 2001. 63 Commercial
funding of CME activity grew from forty-eight percent (48%) of the total cost of CME in 1998
to fifty-eight percent (58%) in 2002. 64 Commercial sponsorship of CME at medical schools
increased from seventeen percent (17%) in 1994 to forty percent (40%) by 2002. 65 And in 2002,
the commercial investment in doctors’ CME increased by another thirty percent. 66 Due to the
Accreditation Council for Continuing Medical Education’s changed definition of “commercial
support,” the percentage of CME funded by commercial interests became more difficult to track:
In 2005, sixty percent (60%) of doctors’ continuing education was funded directly by the drug
and medical device industries. Additionally, funding was provided by non-profit organizations,
which may—in turn—have been funded by commercial interests, but are not included in the
sixty percent. 67 Total industry contribution of doctors’ continuing medical education has been
estimated to be seventy percent (70%) or higher.




61
   Grey Healthcare Group. Pathways to success: medical education: Phase V Communications: speaker's bureau.
Available at: http://www.ghgroup.com/pathway/content.asp?A=2&B=3&C=1 &pg=12 . Downloaded on July 19,
2000. (Cited in Ross et al., above)
62
   Ross et al., Op. Cit.
63
   Hensley S, When Doctors Go to Class, Industry Often Foots the Bill, Wall Street Journal, December 4, 2002.
64
   Op. Cit., Harrison
65
   Op. Cit., Hensley
66
   Relman A, Industry Sponsorship of Continuing Medical Education Reply to Letters, JAMA, 2003;290:1150
67
   Croasdale M, More dollars flow into continuing medical education, American Medical News (American Medical
Association), August 21, 2006. http://www.ama-assn.org/amednews/site/free/prsb0821.htm#s1 accessed 12/24/06.


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         56.      Drug companies exert widespread influence over the medical education activities
they sponsor. 68 A review article published in JAMA shows that drug company-sponsored
lectures are two-and-a-half to three times more likely to mention the sponsor’s drug in a positive
light and the competitors’ drugs in a neutral or negative light than are non-commercially
sponsored lectures. 69 In addition, the odds are 3.9 times greater that doctors who accepted
money from drug companies for speaking at CME activities would make specific requests for
addition of the sponsor’s drug to the hospital formulary. 70

         57.      At least as important as favoring the sponsor’s drug, the growing commercial
funding of continuing medical education influences the curriculum topics that are addressed. 71
Commercially funded education is more likely to be about the kinds of new information that has
the greatest potential to increase the sponsor’s profits rather than maximizing patients’ health.

         58.      Among abstracts presented at the annual meeting of a professional society, the
odds that the results of industry supported studies would be favorable to the sponsor’s drug were
far greater than for non-industry sponsored studies. 72 A result favorable to the drug studied was
reported by all industry-supported studies, compared with two-thirds of studies not industry
supported. 73 This is important not just because the conclusions presented in these abstracts
influence attendees at the conference, but even more so because:

                  evidence favorable to the sponsor of a product—perhaps its use for
                  an indication not approved by the Food and Drug Administration
                  (FDA), or its advantages relative to those of a rival—can be
                  introduced easily into the professional domain as a presented
                  abstract. Once published and presented, the abstract can be cited in
                  talks and the literature, or offered in response to physicians’
                  questions to pharmaceutical sales representatives. Thus, the
                  medical professional meeting may serve as an unwitting vector of




68
   Brennan TA, Rothman DJ, Blank L, et al., Health Industry Practices that Create Conflicts of Interest: A Policy
Proposal for Academic Medical Centers, JAMA, 2006;295:429-433.
69
   Wazana A. Physicians and the pharmaceutical industry. JAMA, 2000;283:373-380
70
   Chren M-M, Landefeld CS, Physicians’ Behavior and Their Interactions With Drug Companies: A Controlled
Study of Physicians Who Requested Additions To a Hospital Drug Formulary, JAMA, 1994;271:684-689.
71
   Op. Cit. Harrison
72
   Odds ratio, 30; 95% confidence limits, 1.6 to 580.
73
   Finucane TE, Boult CE, Pharmaceutical Research at a Meeting of a Medical Professional Society, Am J Med,
2004;117:842–845. P_0.0007


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                 promotional information that otherwise could not be introduced by
                 a pharmaceutical manufacturer. 74

Among thirty industry-supported studies identified, commercial support of the research was
explicit in only ten percent (10%) of the research abstracts presented.

        59.      Evidence shows that doctors are not aware of and deny that their prescribing
habits are influenced by attendance at commercially sponsored CME, but in fact such attendance
does increase their prescribing of sponsors’ drugs in comparison to other doctors working at the
same institutions who did not attend. 75

           4.    Pharmaceutical Marketing

        60.      The Food and Drug Administration Modernization Act of 1997 (“FDAMA”)
states that if a manufacturer wishes to market or promote an approved drug for additional uses –
i.e., uses not listed on the approved label or so-called “off-label use” – the manufacturer must
resubmit the drug for another series of clinical trials similar to those for the initial approval.
Until a “supplemental new drug application” has been approved, the unapproved use is
considered to be “off-label.” 76 Off-label use includes treating a condition or using a dosage that
is not indicated on the label, or treating a different patient population (for example, treating a
child when the drug is only approved to treat adults).

        61.      Although physicians are allowed to prescribe drugs for off-label usage, the law
prohibits drug manufacturers from marketing or promoting a drug for a use that the FDA has not
approved. An off-label use of a drug can become on-label only if the manufacturer submits a
supplemental new drug application and demonstrates to the satisfaction of the FDA that the
product is safe and effective for the proposed new use. 77

        62.      Drug manufacturers (and their drug reps) are only allowed to distribute
information regarding off-label usage (for drugs without pending supplemental new drug
applications) in response to an “unsolicited request from a health care




74
   Ibid.
75
   Dana J, Loewenstein G, "A Social Science Perspective on Gifts to Physicians from Industry," Journal of the
American Medical Association 290:252, 2003.
76
   21 U.S.C. §360aaa(b), (c).
77
   21 U.S.C. §360aaa(b), (c).


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practitioner.” 78 Manufacturers are, however, permitted to disseminate information concerning
the off-label uses of a drug after a supplemental new drug application has been submitted to the
FDA seeking approval of the drug for the off-label use; has provided the materials to the FDA
prior to dissemination; and the materials themselves must be in an unabridged form and must not
be false or misleading. 79

        63.      Despite these rules, among the twenty-one percent (21%) of prescriptions that
were written in 2001 for off-label indications, seventy-three (73%) had “little or no scientific
support.” 80 (This determination was based on whether the Drugdex listing for each off-label use
showed that effectiveness had been demonstrated in controlled clinical trials (scientifically
supported) or relied on less than the “gold standard” of clinical evidence, observational data or
case reports.)

        64.      The confidence of marketers to overcome disadvantageous results from clinical

trials was shown in the following reaction to the ALLHAT trial, which showed that the least

expensive of medications to treat high blood pressure was at least as effective as the more

expensive drugs in preventing hypertension-related complications. If medical practice were truly

“evidence-based,” these results would have been a major problem for the manufacturers of the

far more expensive, but no more effective, brand name drugs. But the realities of pharmaceutical

marketing were revealed by a strategic marketing consultant for the pharmaceutical industry who

was quoted in the BMJ:

        “So you’ve got one study that says yes, you should [use a diuretic], then starting the day
        after, you’ve got a $10 billion industry...and 55 promotional events…for an ACE
        inhibitor coming back in and saying ‘Here’s why my ACE inhibitor is safe and here’s
        why you should be using this.’ I mean, it’s promotion. Can ALLHAT stand up to
        that?” 81




78
   21 U.S.C. §360aaa-6.
79
   21 U.S.C. §§ 360aaa(b) & (c)
80
   Radley DC, Finklestein SN, Stafford RS, Off-label Prescribing Among Office-Based Physicians, Archives of
Internal Medicine, 2006;166:1021-26.
81
   Lenzer J. Spin Doctors Soft Pedal Data on Antihypertensives. British Medical Journal. 2000;326:170.


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           5.    Drug Representatives

        65.      A common sight in doctors’ offices is the pharmaceutical sales representative,
commonly known as the “drug rep” bearing free samples, gifts, lunch and the latest information
regarding their drug. Though most doctors find the information presented by drug reps both
useful and accurate (see above), an article published in the Journal of General Internal Medicine
shows that nearly half (forty-two percent) of the material given to doctors by drug reps made
claims in violations of FDA regulations. And only thirty-nine (39%) percent of the material
provided by drug reps provided scientific evidence to back up claims. 82

        66.      A review published in JAMA shows a mostly negative effect on the quality of care
of doctors’ interactions with drug companies and drug reps: 83

                 Interactions with pharmaceutical representatives were also found
                 to impact the prescribing practice of residents and physicians in
                 terms of prescribing cost, nonrational prescribing, awareness,
                 preference and rapid prescribing of new drugs, and decreased
                 prescribing of generic drugs.

The more a doctor sees drug reps, the less likely the doctor is to identify false claims about the
drug and the greater the doctor’s tendency to prescribe more drugs overall. The odds are fifteen
times greater that doctors who interact with drug companies will request that drugs manufactured
by a specific company be included in hospital formularies. 84

           6.    Formulary and Health Policy Decision Makers

        67.      Health policy decisions can be no better than the scientific evidence available to
decision-makers. As shown above, it can no longer be assumed that the “scientific evidence” is
complete, unbiased, or represents the best possible information. Accordingly,

                 To the extent that this evidence is biased or misleading, health
                 services research and policy analysis are thrown off course and
                 become unintentionally complicit in promoting inappropriate and
                 expensive care. Regardless, health services research and policy

82
   Stryer D, Bero LA, Characteristics of Materials Distributed by Drug Companies: An Evaluation of
Appropriateness, Journal of General Internal Medicine, 1996;11:575-583.
83
   Wazana A, Physicians and the Pharmaceutical Industry: Is a Gift Ever Just a Gift? Journal of the American
Medical Association, 2000;283:373-80.
84
   Ibid.


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                analysis can no longer be thought of as separate from applied
                medical research. The game has changed. Our desire to expand
                access based on scientific evidence has become epistemologically
                naïve. The question is no longer how to provide better access, but
                how to determine, Access to what? 85


     V.     DEFENDANTS’ BUSINESS STRATEGIES RATHER THAN THE ACTUAL
           SCIENTIFIC EVIDENCE DETERMINED THE “KNOWLEDGE” THAT WAS
           PRESENTED TO PRESCRIBERS AND PURCHASERS ABOUT NEURONTIN

A.        Parke-Davis’s Early Off-Label Marketing Strategy

          68.   Almost immediately after Neurontin was approved, Parke-Davis recognized that
Neurontin had a limited earnings potential, perhaps only “$500 Million” based on the “relatively
short U.S. protected [patent] life.” 86 The company began to consider “a strategy swerve.” 87

          69.    The May 19, 1995 Marketing Assessment for Neurontin in psychiatric
indications outlines the Defendants strategy for selective publication bias: “The [study] results, if
positive, will be publicized in medical congresses and published in peer-reviewed journals.” 88
The July 31, 1995 Marketing Assessment for Neurontin in neuropathic pain and spasticity
contains similar language: “The results of the recommended exploratory trials in neuropathic
pain, if positive, will be publicized in medical congresses and published.” 89 The July 31, 1996
Marketing Assessment for Neurontin in migraine prophylaxis proposes the same strategy: “The
[study] results, if positive, will therefore be publicized in medical congresses and peer-reviewed
journals." 90 The plan to skew the science in favor of Neurontin is evident from these early
documents.

          70.   According to John Knoop, a former product manager and Director of the Epilepsy
Disease Team at Parke-Davis, marketing tactics for Neurontin extended broadly into activities
that are usually thought of as educational. In sworn deposition testimony, he said that CME
activities, advisory boards, publications, grants, dinner meetings, mailing of journal supplements,



85
   Op. Cit. Spitz 2005
86
   WLC_FRANKLIN_0000088763
87
   Ibid.
88
   WLC_FRANKLIN_0000095662
89
   WLC_FRANKLIN_0000166608
90
   WLC_FRANKLIN_0000081254


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journal abstracts, teleconferences, satellite symposia, and posters at medical congresses could all
be examples of marketing tactics for Neurontin. 91

        71.      With all growth in Neurontin sales after 1996 coming from off-label use, the
following graph, from the Neurontin 2001 U.S. Operating Plan provides a visual image of the
success of Parke-Davis’s off-label marketing campaign for Neurontin: 92




91
        Transcript of Deposition of John Knoop, Jan. 23, 2008 (“Knoop Dep.”) at 18, 106-08, 122-26, 213:
        Q. And does promotion mean something different than marketing?
        A. Yes.
        Q. Can you explain what the difference is?
        A. Promotion in a sense, again, going back to our definition is typically the on-label dissemination of
        information through various sources for a product. Marketing has a whole broad range of tasks, I guess,
        that are within marketing. One of which would be promotional.
        Q. So is there -- can you give me an example of non-promotional marketing?
        A. Sure, sponsoring of a CME event.
        Q. That, based on your experience, is marketing?
        A. That falls under marketing.
        Q. Any other examples that you can think of non-promotional marketing activities?
        A. Providing grants, publications.
        Q. These are -- I'm sorry, I didn't mean to cut you off.
        A. Those are a few more examples.
        Q. So grants and publications are also examples of marketing activities?
        A. Advisory boards.
        Q. And are these items that you just mentioned CME events, grants, publications and advisory boards,
        are they examples of marketing tactics?
        A. They could be considered as a tactic.
        Q. Well, based on your experience at Parke-Davis, were CME events used as marketing tactics?
        A. Yes.
        Q. Were grants, based on your experience at Parke-Davis, used as marketing tactics?
        A. Yes.
        Q. And based on your experience at Parke-Davis, were publications used as marketing tactics?
        A. Yes.
        Q. And based on your experience at Parke-Davis were advisory boards used as marketing tactics?
        A. Yes, but again, these are not promotional programs.

(Knoop Dep. at 106-108 (Objections omitted)).
92
   Pfizer_RGlanzman_0000662


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        72.      In 2000, among the anti-epileptic drugs (AEDs) Neurontin had the lowest
percentage of use for Epilepsy/Convulsions, 11% (its single FDA-approved indication). The
next lowest was Depakote at 17%, but Depakote had been approved by the FDA in 1995 for the
treatment of mania in bipolar disease, 93 and approved in 1996 for the prevention of migraine
headaches. 94

        73.      As shown in the following graph from Pfizer’s “Neuropathic Pain Advisory
Board: Focus on the Specialist,” 95 between 1997 and 2001, Neurontin became the most
frequently used drug for neuropathic pain (notwithstanding its lack of FDA-approval and lack of
substantial scientific evidence supporting its use for this indication):




93
   http://www.nimh.nih.gov/health/publications/bipolar-disorder/complete-publication.shtml accessed 11/30/07
94
   http://www.centerwatch.com/patient/drugs/dru78.html accessed 11/30/07
95
   Pfizer_Rglanzman_0059515


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       74.     Notwithstanding the lack of adequate supporting scientific evidence (other than
for pain of postherpetic origin) and the lack of FDA approval for the use of Neurontin for
neuropathic pain, such use of Neurontin in the U.S. increased from virtually zero in 1995 96 to the
most frequently prescribed drug for neuropathic pain by 2000, with annual increases in use of 22
to 43% between 1997 and 2001. 97

B.     Pfizer Continued The Marketing Strategies Begun By Parke-Davis

       75.     At the time Pfizer took over the Neurontin franchise in 2000, Neurontin was the
largest selling antiepileptic drug and had been growing faster than any other drug in this category
since 1997 98 —with all sales growth coming from off-label use. In 2000, only 11% of Neurontin
was being used for Epilepsy/Convulsions—its only FDA approved use. 99 Neurologists
accounted for only 14% of new prescriptions, eclipsed by psychiatrists (22%) and PCPs (29%)—




96
   Pfizer_CGrogan_0005051
97
   Pfizer_AMishra_0002339
98
   Pfizer_RGlanzman_0000703
99
   Pfizer_RGlanzman_0000665


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virtually all of whose prescriptions would have been for indications other than adjunctive
treatment of seizures. 100

        76.     A draft of “Neurontin: 2001 Situation Analysis” dated June 28, 2000 provides a
window into Defendants’ assessment of the current and potential market for Neurontin. 101
Despite lack of FDA approval for neuropathic pain, 33% of all Neurontin use was for this
indication in 2000 and “has continued to grow.” 102 “In summary,” the report states:

                The neuropathic pain marketplace remains largely
                unsatisfied…Neurontin’s use and leadership of the neuropathic
                pain is expected to continue to strengthen in 2001.
        77.     The 2001 Situation Analysis recognized bipolar disorder as the “top psychiatric
use” of Neurontin, with use having “increased by 1700% from Sept 97 to Sept 99.” 103 The
success of Defendants’ off-label marketing of Neurontin to psychiatrists for bipolar disorder is
evident in the following statement from the Situation Analysis:

                The increased use [of Neurontin for bipolar disorder] comes
                despite the results of the “Gabapentin in Bipolar Disorder” trial
                (945-209) which showed no significant improvement when
                compared to placebo. Among psychiatric thought leaders, trial
                design shortcomings were responsible for the outcome. 104
        78.     The 2001 Situation Analysis reported that 3.8% of Neurontin use in 2000 was for
migraine prophylaxis (despite the lack of FDA approval for this indication). The report
erroneously states that the results of Study 945-220 “were statistically significant in favor of
Neurontin” (see below). The Situation Analysis reported that the manuscript had been rejected
from Neurology in February 2000 and resubmitted to Archives of Neurology, which also did not
publish the manuscript. (See below for discussion about the positive conclusions presented in
the article that was eventually published in Headache, misrepresenting the negative results of the
trial). A similar trial, 945-217, was reported in the Situation Analysis as negative acknowledging
that: “The team has delayed posting or dissemination of results and they have not been presented
at any scientific meetings to date,” 105 (i.e. the negative results were being quarantined, isolated


100
    Pfizer_RGlanzman_0000666
101
    Pfizer_JMarino_0002350
102
    Pfizer_JMarino_0002366
103
    Pfizer_JMarino_0002368
104
    Pfizer_JMarino_0002368-9
105
    Pfizer_JMarino_0002371


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from inclusion in the scientific evidence.) The Situation Analysis reported that, because of the
“mixed clinical results” (mixed only because one of Defendants’ negative trials was being
misrepresented as positive), the 2001 investment in education and publication in the area of
migraine prophylaxis would be small, and that “growth of Neurontin’s use in this area is
expected to be slow but steady in 2001.” 106 This growth was expected despite the lack of FDA
approval for this indication and that three of the Defendants’ studies showed negative results.

        79.       Pfizer’s 2001 US Operating Plan for Neurontin, dated October 11, 2000,
documented the manufacturer’s plans to continue promotion of Neurontin for off-label use. It
would do so by:

              •   offering a variety of Continuing Medical Education activities (accounting for
                  more than half the Neurontin marketing budget for 2000 and 2001 107 aimed
                  primarily at primary care physicians and psychiatrists for off-label indications; 108

              •   developing advisory boards, diagnostic pain tools, and a relationship with the
                  American Pain Society around the use of Neurontin for neuropathic pain; 109

              •   developing “comprehensive strategic publications” that “ensure key message
                  inclusion in all publications;” 110

              •   ensuring “key data will be available of major meetings”;111

              •   supporting pricing and formulary status that will encourage use of Neurontin for
                  pain. 112

The focus on neuropathic pain proceeded despite Pfizer being aware that its largest study of
neuropathic pain, 945-224—which included three times as many patients taking Neurontin as
Study 945-210 (“Backonja”), had been completed on September 7, 1999, and the report issued
on February 7,200—showed no benefit of Neurontin over placebo. 113 (These studies are
discussed in more detail below.) The primary marketing focus was clearly to increase the use of

106
    Ibid
107
    Pfizer_RGlanzman_0000699
108
    Pfizer_RGlanzman_0000684-5
109
    Pfizer_RGlanzman_0000690
110
    Pfizer_RGlanzman_0000694
111
    Pfizer_RGlanzman_0000694
112
    Pfizer_RGlanzman_0000695
113
    945-224 was completed 09/07/99 and reported 02/07/2000, Kendle/CI-945 RR 720-04130 (Page 1)


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Neurontin for the treatment of pain, yet the available data was not adequate to support the FDA’s
approval of this indication. 114 In the following year, Neurontin sales increased by 26%, 115 with
on-label use declining from 11% to 6.5%. 116

        80.    Prior to the 2002 Operating Plan being issued October 5, 2001, Pfizer had learned
from both the FDA and a panel of its own advisors that the scientific evidence did not justify
FDA-approval of Neurontin for the broad indication of neuropathic pain.

        81.    A meeting between Pfizer and FDA representatives to discuss the approvability of
Neurontin for the treatment of neuropathic pain was held on May 14, 2001. Notes from this
meeting, from both Pfizer 117 and the FDA (dated 6/13/01) 118 , show that FDA stated

               The general neuropathic pain indication cannot be granted for
               Neurontin
The FDA went on to say that, in order to grant a general approval for neuropathic pain,
Neurontin would have to be shown effective for post-herpetic neuropathy, diabetic peripheral
neuropathy

               and the pain of other neuropathic disorders and/or that the drug is
               effective for neuropathic pain of all (or at least most) etiologies.119
Pfizer’s notes of the meeting reflect its understanding that an application for the use of Neurontin
in the “management of neuropathic pain…would be refused to file [“non-fileable”]” by the FDA.
Without having fulfilled the FDA’s explicit requirements for granting approval for the broad
claim of Neurontin efficacy for neuropathic pain, Pfizer (as shown below) engaged in a
marketing campaign that falsely presumed such efficacy had been established.

        82.    The purpose of the September 6, 2001 Pfizer Consultants Meeting was to prepare
for an Advisory Committee Meeting at which Pfizer’s sNDA for “the broad neuropathic pain
indication” (meaning for all symptomatic presentations of neuropathic pain, rather than for




114
    Pfizer_RGlanzman_0000735
115
    Pfizer_BParsons_0092306
116
    Pfizer_BParsons_0092318
117
    Pfizer_LCastro_0005155
118
    Pfizer_LCastro_0005618
119
    Pfizer_LCastro_0005621


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specific diagnoses such as postherpetic or diabetic neuropathy). Attendees included Paul Leber,
former head of the Division of Neuropharmacologic Drug Products at FDA for many years. 120

         83.      Consistent with the FDA’s conclusion expressed at the May 14th, 2001 meeting,
Pfizer’s own consultants concluded that the scientific evidence was not sufficient to support
FDA approval of Neurontin for this use:

                   Expert opinion on the preclinical and clinical data to date is that
                  the evidence is not convincing to support a broad neuropathic pain
                  claim. Opinion on the Neurontin neuropathic pain package is that
                  neither the FDA nor the Advisory Committee is likely to agree that
                  adequate evidence is provided for a broad indication. New
                  analyses/data not only do not support the broad claim, they provide
                  evidence contrary to a broad indication.

                  The Experts agree that the package supports PHN. Evidence for
                  DPN is confounded by the negative DPN [unpublished 945-224]
                  study. Advise [sic] from this panel of Experts is to file PHN and to
                  conduct additional studies in support of the DPN claim. 121

         84.      Three studies were presented at the September 6, 2001 Consultants meeting that
failed to support Pfizer’s goal of achieving FDA approval for the “broad indication” of
neuropathic pain for Neurontin. Pfizer study 945-224 investigating the efficacy of Neurontin in
diabetic neuropathy, which included three times as many people taking Neurontin as did the
purportedly positive study that was published in JAMA in 1998 (“Backonja”) (see below and the
report of Dr. Jewell for critique of the conclusions of this study), showed no benefit of Neurontin
over placebo at fixed doses (rather than forced titration 122 ) of 600, 1200 and 2400 mg per day. 123
(The results of this study were reported internally on February 7, 2000, and although included in
the publication strategy outlined in the 2001 U.S. operating plan for Neurontin, 124 were never
published as an independent study.) Pfizer’s study 945-271 (“POPP”) showed no benefit of
Neurontin in posttraumatic and postsurgical neuropathic pain. (The study was reportedly
completed on November 30, 2001, 125 but the results were presented at Pfizer’s Consultants

120
    Pfizer_JMarino_0000088
121
    Pfizer_JMarino_0000088
122
    “Forced titration” in the Backonja and Rowbotham studies referred to dose escalation up until the patient reached
3600 mg/day or developed intolerable side effects. This study design is different than titration of dose to efficacy
response.
123
    RR 720-04130 (Page 11)
124
    Pfizer_RGlanzman_0000711
125
    Pfizer_LCastro_0043328


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meeting on September 6, 2001, and also were never published as an independent study.) And a
“new analysis” of study 945-306 (“Serpell”) showed that the benefit of Neurontin was due
primarily to improvement in patients with postherpetic pain, patients with other causes of
neuropathic pain showed little benefit. After learning of these results, Pfizer consultant Dr.
Mitchell Max said, “You’re done.” 126 Presumably, he meant that Pfizer could not hope to get
FDA approval for a broad indication for neuropathic pain.

        85.        Ignoring both the FDA’s warning in May 2001 that the sNDA for the broad
indication of neuropathic pain would not be approved as well as its own expert panel’s opinion
that the available data did not support FDA approval, Pfizer’s 2002 Operating Plan for Neurontin
included preparation “for NeP launch.” 127 The document presented the findings of the one
purportedly positive study for DPN without mentioning the larger but still unpublished negative
study, 945-224.

        86.       The 2002 operating plan reported that an sNDA had been filed for neuropathic
pain, 128 without mention of the fact that the FDA had determined that this application would not
be approved. Again, the plan showed that there was no growth in the use of antiepileptic drugs
for seizure disorders, 129 but that use of this class of drugs for neuropathic pain had increased by
35%, 130 led by growth in the use of Neurontin for this off-label indication. The most rapid
increase in new prescriptions for Neurontin was among primary care physicians. 131 Pfizer
understood that—despite the largest of its own studies showing no benefit:

              •   Physicians perceive Neurontin as standard of care for neuropathic pain (NeP)

              •   Such use is “recognized in treatment guidelines and medical textbooks”

              •   “80%-90% of PCPs [who treat the majority of NeP 132 ] indicate they use
                  Neurontin to treat NeP”

              •   “40% of PCPs feel Neurontin is FDA approved” 133 [even though it was not]

126
    Pfizer_JMarino_0000089
127
    Pfizer_BParsons_0092313
128
    Pfizer_BParsons_0092319
129
    Pfizer_BParsons_0092321
130
    Pfizer_BParsons_0092322
131
    Pfizer_BParsons_0092325
132
    Pfizer_BParsons_0092327
133
    Pfizer_BParsons_0092326


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           87.     The following slide from the 2002 Operating Plan recognizes Neurontin’s growth
           for neuropathic pain and psychiatric uses despite multiple negative clinical trials for both.




           88.    Pfizer’s 2002 Operating Plan described the use of Neurontin for neuropathic pain
as an “underdeveloped” market. A strategy for increasing the diagnosis (and therefore the
prescription treatment) of neuropathic pain is outlined in the following slide, again from the 2002
Operating Plan (after Pfizer was well aware that FDA approval for this indication would not be
forthcoming): 134




134
      Pfizer_BParsons_0092339


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        89.      Sandwiched between two slides referring to the underdeveloped market for
neuropathic pain, is a strategy to “maintain access to Neurontin”: 135




        90.      One example of the way the strategy to “foster discussions with employers” was
accomplished was through two Advisory Board meetings (Millennium Hotel, NYC and Four
Seasons Hotel, Scottsdale Arizona) and a monograph addressing “Neuropathic pain issues in the
workplace.” Both Advisory Board meetings were moderated by influential individuals
representing influential organizations: 136 the New York meeting was moderated by the National
Clinical Practice Leader from Towers Perin; the Scottsdale Arizona meeting was moderated by
the President & CEO of the National Business Coalition on Health (representing 10,000
employers and 34 million employees. 137 ) Both of the Advisory Board meetings included
lectures titled “Treatment Options for Neuropathic Pain,” one delivered by Leslie Tive, 138 the
other by Robert Glanzman. 139


135
    Pfizer_BParsons_0092346
136
    Pfizer_SDoft_0052469
137
    http://www.nbch.org/about/index.cfm accessed June 11, 2008
138
    Pfizer_SDoft_0010517
139
    Pfizer_SDoft_0052416


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        91.     Comments from the New York and Arizona Advisory Board Meeting attendees
        included: 140

                        •   Treatment options for neuropathic pain was important information

                        •   The proposed indication of Neurontin for pain was the most valuable
                            information at the meeting

                        •   Now realizes that Neurontin is safer, has less side effects and is more
                            effective than he originally thought

        At the end of the write up of summary of the two Advisory Board meetings was a section
        titled Neurontin Payer Market Strategy, Next Steps:

                Educating the employer/union market on NeP and Neurontin’s efficacy for
                treating this condition can substantially increase Neurontin’s utilization in this
                market segment. 141
        The goal of the Advisory Board meetings and monograph is clearly articulated: to expand
        Neurontin use for the off-label and scientifically unsubstantiated use for neuropathic pain.
        Although this is marketing activity, presented as “Advisory Board” and scientific
        information covers the fundamental purpose: off-label marketing.

        92.     The 2002 Operating Plan for Neurontin also shows that approximately 750
neuropathic pain “advocates” (PCPs, neurologists, anesthesiologists, rheumatologists, pain
specialists and orthopedic surgeons) had been trained during the “pre-launch period,” meaning
before the anticipated date for FDA approval of the broader indication of neuropathic pain. The
following diagram, from the 2002 Operating Plan, shows how the manufacturer planned to use
the advocates to influence all the sources of information transfer to potential prescribers: 142




140
    Pfizer_SDoft_0052506
141
    Pfizer_SDoft_0052539
142
    Pfizer_BParsons_0092340



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           93.    Pfizer’s Global Operating Plan dated October 11, 2001 (five months after the
FDA and one month after its own consultants had concluded that there was inadequate evidence
to support Neurontin’s use for the broad indication of neuropathic pain), presents Defendants’
goal of “Making Neurontin the Standard of Treatment in NeP [neuropathic pain].” 143 Strategies
to increase what Pfizer knew to be the scientifically unsubstantiated use of Neurontin for the
treatment of neuropathic pain are identified in this slide from its Global Operating Plan dated
October 11, 2001: 144




143
      Pfizer_JMarino_0000111
144
      Pfizer_JMarino_0000108


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Rather than accurately and completely presenting the scientific evidence (some of which
remained solely in their possession, unavailable to prescribers), Pfizer chose to “educate”
prescribers about recognizing neuropathic pain and provide diagnostic tools to assist physicians
in making the diagnosis of neuropathic pain to increase prescribing of Neurontin. The “chronic
pain screening tool” was planned to be rolled out in the US in Q4 2002, including seeking the
endorsement of such off-label and unsubstantiated use by the “American Pain Society or other
international body of experts.” 145 (Obviously such experts would be unlikely to include the four
Pfizer consultants who attended the September 6 meeting and concluded that evidence did not
support this very claim.)

           94.    The strategy for off-label promotion didn’t just include an indication for which
Pfizer’s own consultants had said the scientific evidence did not support the claim of efficacy,
but also identified the “opportunity” to advocate doses that were not approved by the FDA:
“Max efficacy with good safety is 3600mg a day.” 146




145
      Pfizer_JMarino_0000128
146
      Pfizer_JMarino_0000112


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          95.    Based on these strategies (and others), Pfizer projected Neurontin sales to increase
by $461 million between 2001 and 2002, with 83% of this growth projected to occur in the
US. 147

          96.    Notwithstanding the results of the Gorson study and Study 945-224, which
included 3 times more patients receiving active treatment and used a fixed dose design that did
not “break the blind” as did the forced titration design of study 945-210 (both discussed below),
the 2001 Global Operating Plan presented a Global Neuropathic Pain Message and Positioning:

                 Neurontin is the ideal first-line therapy for all types of Neuropathic
                 Pain providing a significant improvement in quality of life due to
                 its proven efficacy and quick onset of action, excellent safety and
                 tolerability, and convenient ease of use. [Emphasis in original] 148
          97.    Data from 2001 showed that two-thirds of the physicians who treat neuropathic
pain are primary care physicians; they see four patients with diabetic peripheral neuropathy for
every patient with postherpetic neuropathy. 149 The manufacturer’s market research, presented in
the 2002 Operating Plan for Neurontin, showed that 80-90% of PCPs were prescribing Neurontin
for neuropathic pain, and that 40% of PCPs erroneously “feel NEURONTIN is FDA Approved
[for this indication]”. 150

          98.    The strategy outlined in the 2001 and 2002 Operating Plans would appear to have
been successful. In 2001 Neurontin was the fourth fastest growing blockbuster drug
worldwide, 151 with 86% of worldwide Neurontin sales occurring in the U.S. 152 While there was
no U.S. growth in the use of Neurontin for seizure disorder in the years 1997 through 2001, 153
use for neuropathic pain grew rapidly, by 43% between 1999 and 2000, and by 26% the
following year. 154

          99.    The strategy presented in the 2003 Operating Plan shows the intention of
continuing to increase off-label sales. Neurontin is identified as the “gold standard” for



147
    Pfizer_JMarino_0000133
148
    Pfizer_CGrogan_0005057
149
    Pfizer_JMarino_0000161
150
    Pfizer_BParsons_0092326
151
    Pfizer_AMishra_0002326
152
    Pfizer_AMishra_0002392
153
    Pfizer_AMishra_0002338
154
    Pfizer_AMishra_0002339


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neuropathic pain in the U.S. 155 The objective of participating in the International Coalition for
Neuropathic Pain 2003 is identified as adding value to the Neurontin franchise in the U.S.,
specifically by clarifying diagnosis and management accomplished by targeting opinion leaders
and pain and non-pain specialists. 156

        100.   Again in the face of their own consultants’ opinions that the scientific evidence
did not support a broad claim of efficacy for Neurontin in the treatment of neuropathic pain, the
results of its own unpublished studies 945-224, POPP and Gorson (see below), the following
slide was included in Pfizer’s 2003 Operational & Tactical Plan for Neurontin:157




        101.   The first goal identified in the 2003 Medical Operating Plan, presented by Robert
Glanzman (U.S. Director), is “Grow NeP Market with Neurontin.” 158 A key strategy to
accomplish this goal is to use “PHN as a model for NeP.” This was to include building
consensus among key opinion leaders, which would then be published as a monograph and used
to train primary care physicians, seeking the endorsement of the American Pain Society (for this
off-label use), and “investigate building scenario of PHN being most severe form of NeP” (in
other words, simply ignore the negative results of its own unpublished studies and the FDA’s
refusal to approve Neurontin for the broader indication of neuropathic pain). 159

        102.   The Neurontin 2004 Operating Plan, dated September 30, 2003, documents the
ongoing success of Pfizer’s off-label marketing strategy for Neurontin. As of July 2003, 90% of
Neurontin was being prescribed off-label: 160


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    Pfizer_AMishra_0002346
156
    Pfizer_AMishra_0002372
157
    Pfizer_AMishra_002350
158
    Pfizer_RGlanzman_0148327
159
    Pfizer_RGlanzman_0141302
160
    Pfizer_SPiron_0011534


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           103.    Pfizer’s 2004 Operating Plan for Neurontin identified optimal dose as “1800
mg/day and above” despite 1800 mg/day being the maximum dose approved (and deemed
effective for PHN) by the FDA. 161

           104.    Defendants influence over the information upon which physicians rely created the
impression that Neurontin’s use was scientifically substantiated for neuropathic and nociceptive
pain, bipolar disorder, migraine headache and in doses greater than those approved by the FDA


161
      Pfizer_SPiron_0011550


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(1800 mg/day). The misrepresentations (both affirmative and by omission) that were presented
to physicians were not isolated events that resulted from unconnected individual decisions.
Rather these misrepresentations were the material expression of the Defendants’ well-
coordinated and pervasive strategy to increase Neurontin sales by creating and manipulating the
“scientific evidence” available to prescribers and purchasers.

C.        Pfizer Developed “Key Messages” That Determined (Rather Than Reflected) The
          Scientific Evidence

          105.    Doctors reasonably believe that the knowledge that informs their clinical
decisions and standards of care is derived from the scientific evidence published in medical
journals, presented in review articles and endorsed by thought leaders and trusted organizations.
Defendants’ documents show, however, that they engaged in a comprehensive program to
exploit physicians’ trust in this process of knowledge creation and dissemination: Rather than
being the product of unbiased scientific inquiry, the “scientific evidence” supporting off-label
use of Neurontin was the product of the Defendants’ carefully designed and orchestrated
campaign to establish pre-determined marketing-favorable “key messages” as the scientific
evidence, and not the other way around.
          106.    These key messages were not just the themes that drug reps or advertisements
were to stress in their marketing messages. Rather these predetermined key messages were to
determine the conclusions that would be presented in the most “upstream” source of medical
knowledge, articles published in medical journals. An e-mail by Marino Garcia explained that,
unlike branding guidelines, which are limited to what can be said in the present, key message
targets identify what needs to be incorporated into future publications in order to lay the
groundwork for the “Ideal Neurontin Story” that would enhance future sales: 162
                  We need to discuss not just how the publications strategy can
                  support our past and current messages but how it can support what
                  we would like to say 6-24 months from now.

                  The publications strategy need to incorporate what we want to say
                  in the future and how we want data and publications to support
                  that.




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      Pfizer_LKnapp_0035987


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        107.   Marshalling of these key messages is shown by a Pfizer memo of April 2002, sent
to all “countries/affiliates,” requesting that “affiliate-driven manuscripts be forwarded to NTN
PSC for review.” The purpose of this was to ensure that all manuscripts are “in-line with current
product messages and areas of interest.” 163
        108.   The target audience for these key messages identified at the “Neurontin
Publication Planning Meeting held July 12, 2001 was not limited to doctors treating epilepsy, but
also those treating the off-label indications for which Neurontin was being marketed:
neurologists (treating migraine), primary care physicians, psychiatrists, pain specialists,
psychologists and social workers, sleep experts and endocrinologists (treating diabetes). 164
        109.   Notes from the July 18, 2001 meeting of the Neurontin Publications
Subcommittee indicate that Medical Action Communications was to provide a list of medical
congresses and journals to be used in the development of the Neurontin publication plan as well
as “Key Message Development Update.” 165
        110.   First on the list of “Neurontin Publication Plan Key Messages” presented in an e-
mail dated July 30, 2001 was “proven efficacy for neuropathic pain.” 166 Yet the efficacy of
Neurontin for this indication was not proven, and – just 6 weeks later – Pfizer’s own pain
consultants, based on the available evidence, concluded that there was not enough evidence for
the FDA to approve Neurontin for the treatment of neuropathic pain.
        111.   Defendants’ documents show that the strategy of embedding key messages in
future publications to create scientific evidence was not just hypothetical. From the Garcia e-
mail of July 31, 2001
               For example, don’t we want to give people a target dose in NeP
               and Epilepsy?

               One key message I would like to see supported is “1800 mg by
               week 2 of therapy before evaluating patient response”. I know
               some patients will do better at lower doses, but the data (as I read
               it) says this is the minimum optimal effect dose in NeP as a
               whole…So any publication that we can provide input on should
               make this point clear. But this is not part of the message in the
               slides right now because it is still not fully clear. 167

163
    Pfizer_AFannon_0017370
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    Pfizer_LKnapp_0038966
165
    WLC_CBU_168005
166
    Pfizer_LKnapp_0035901
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    Pfizer_LKnapp_0035987


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        112.    The scientific evidence did not support the position of getting all patients up to a
dose of 1800 mg/day (the Defendants’ own pain consultants had concluded that the evidence was
not adequate to support FDA approval for the use of Neurontin to treat neuropathic pain).
Nevertheless, the strategy was to produce scientific evidence in the medical literature that would
make this dosage recommendation appear as if it were the product of science rather than
marketing, and thus justify the recommendation to titrate all patients to a dose of 1800 mg/day
within 2 weeks of initiating therapy.
        113.    How did Defendants embed their pre-determined key messages into the
manuscripts reporting on clinical trials that were submitted to medical journals? The draft
timeline for the development of these manuscripts shows that Defendants built in their
opportunity to control the message presented in its articles before the “lead author” ever had a
chance to see the manuscript that he or she had supposedly written. The first and lengthiest step
in manuscript development is “key message development.” This is followed by first draft,
revision and lead reviewer approval. Only after these stages of manuscript development had
been completed, 11 weeks into the process, was the paper sent to the person euphemistically
referred to as the lead author. 168
        114.    Notes from an August 15, 2001 “Neurontin PSC Meeting,” included people from
Pfizer and Medical Action Communications. A section titled “Dosing and titration manuscripts,”
discussing two manuscripts reported that Angela Crespo “has mentioned [these manuscripts] as
being important for the major markets: dosing and titration manuscript….” The paper,
addressing neuropathic pain, was “targeted” for the journal Clinical Therapeutics. 169
        115.    The 2003 Backonja and Glanzman review article titled “Gabapentin Dosing for
Neuropathic Pain: Evidence from Randomized, Placebo-Controlled Clinical Trials” 170
(sponsored by Defendants 171 ) shows that the implementation of key messages publication
strategy was more than a hypothetical or a “wish list” for the results of future clinical trials. The
dosing recommendations made in this article directly reflect the “key message” presented in July
2001. Leaving aside for the moment that the findings of these trials failed to support FDA
approval of Neurontin for the broad indication of neuropathic pain, the dosage recommendations

168
    Pfizer_LKnapp_0038967
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    WLC_CBU_168011-2
170
    Backonja M., Glanzman R. Gabapentin dosing for neuropathic pain: Evidence from randomized, placebo-
controlled clinical trials. Clinical Therapeutics 2003; 25(1): 81-104. See also PFIZER_LESLIETIVE_0038508
171
    Pfizer_LAlphs_0013925


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presented in the review include starting with a dose of 300 mg on the first day of therapy and
increasing the dose by 300 mg/day up to a dose of 900 mg/day, then
                 During the following week, the dose of gabapentin should be
                 increased to achieve the target dose of 1800 mg/d between days 9
                 and 14. This recommendation is based on the protocols used in the
                 studies reviewed, although in the authors’ practice and in many
                 countries, titration to 1800 mg/d is conducted more rapidly.

        116.     The dosing regimen for study 945-210 (Backonja) called for increase of dose to
1800 mg in 2 weeks, but the dosing regimens of studies 945-224 (Reckless) and 945-306 Serpell
called for reaching 1800 mg more slowly. 172 Even so, results of the clinical trials ought to
inform dosing recommendations, rather than simply the dosing protocols of the clinical trials.
The latter two studies did not show significant benefit of Neurontin for the treatment of
neuropathic pain of etiology other than post-herpetic neuropathy.
        117.     Pfizer’s goal of integrating pre-determined key messages into manuscripts
submitted to medical journals was in alignment with the proposal made by Fallon Medica for
“Neurontin publication planning and execution” on November 6, 2002. 173 (Slides included in
an October 2004 e-mail show that Pfizer did, in fact, work with Fallon Medica on the preparation
of manuscripts. 174 ) Fallon Medica’s standard operating procedure for manuscript creation
includes addressing the following questions, 175 which unmask the illusion that the primary
purpose of articles published in medical journals is to report, in as unbiased a way as possible,
the scientific evidence to be learned from clinical trials and reviews of multiple clinical trials:
                           What does the client want to achieve—why is the client paying for this
                            article to be written?
                           Key client messages—what must the content communicate to be a
                            “success?” What are the positive hot-button issues?
                           Key sensitivities—where must writers, editors and team tread lightly?
                            What are the negative hot-button issues?

        118.     When deciding whether off-label use of a prescription medication is in the best
interest of his or her patients, doctors (optimally) rely upon the scientific evidence published in
medical journals. As shown in an e-mail dated October 17, 2002, Pfizer was aware that it was

172
    Study 945-271 increased the dose to 1800 mg/day within the first two weeks, but this study—with negative
findings—was not included in the Backonja and Glanzman review.
173
    Pfizer_BParsons_0183188
174
    Pfizer_AFannon_0017368
175
    Pfizer_BParsons_0183199


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allowed to provide off-label information in medical journals that it was not allowed to present in
marketing. 176 Further, this e-mail states that
               in markets where rapid titration is promoted, physicians have
               adopted it…In the US, rapid titration cannot be promoted due to
               label restrictions. However, we can provide this information via
               publication.

        119.   This is an example of what Drs. Horton and Smith referred to as “information
laundering” by the medical journals: allowing a marketing-driven key message to be integrated
as the core message of a drug company written article that is published in a medical journal.
Lest there be any doubt that Pfizer was aware of their end-run around marketing regulations,
another e-mail of October 17, 2002 clarifies their position:
               Due to restrictions in the US label, the sales reps cannot promote
               [getting to 1800 mg (or higher) faster] in the US. However, this
               message can be communicated in publications. 177

        120.   Leslie Tive responded to this e-mail saying “As long as the messages are
supported by the trials and do not go beyond what has been studied I think this is fine.” 178 The
scientific evidence about dose and efficacy of Neurontin for neuropathic pain was not fairly and
fully presented, as made very clear by Pfizer’s own scientific consultants on September 6, 2001
and as described below. Acceptance of the Backonja/Glanzman review by Clinical
Therapeutics is listed as one of the key accomplishments of the 2002 Neurontin Publication Sub-
Committee (PSC). 179
        121.   Physicians reading the Backonja/Glanzman review of dosing for neuropathic pain
could not have been expected to independently verify the “evidence” supporting the use of and
dose of Neurontin for neuropathic pain. (They had no access to the data from unpublished
studies 945-224 and 945-271.) Physicians had no reason to believe that this article,
recommending doses of Neurontin up to 3600 mg/day for neuropathic pain, did not accurately
and fairly represent the best available scientific evidence. Yet the history and development of
this article as described above show that its primary purpose was to influence “major markets.”
Both science and FDA regulations were sacrificed to the demands of marketing.


176
    Pfizer_RGlanzman_0121206
177
    Pfizer_BParsons_0162576
178
    Ibid.
179
    Pfizer_AFannon_0003050


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      VI.      THE SOURCES OF INFORMATION UPON WHICH PHYSICIANS RELY
                WERE SYSTEMATICALLY AND EFFECTIVELY MANIPULATED BY
                           PARKE-DAVIS AND THEN PFIZER

A.          Systematic Distortion Of The Scientific Evidence From Clinical Trials Of Bipolar
            Disorder

            122.    As shown in paragraph 14 above, the annual number of prescriptions written for
Neurontin to treat bipolar disorder increased from 8,000 in February 1996 to approximately
402,000 in November 1999, 180 an increase of 5000% less than 4 years.

            123.     This dramatic increase in Neurontin use for the treatment of bipolar disorder
begs the following two questions:

                        •   Starting in 1996, what led doctors who prescribed Neurontin for patients
                            suffering from bipolar disorder to believe that this was in their patients’
                            best interest (despite a lack of FDA approval for this indication)?

                        •   Did the scientific evidence available at the time support such off-label
                            use? Was the information presented to physicians accurate and
                            balanced?

            124.    Defendants’ off-label marketing strategy can be seen as early as March 1995,
when the decision was made at a “Neurontin Core Marketing Team” meeting “to do a
‘Publication Study’ in the three disorders [including bipolar disorder] since the patent situation
would limit a full indication development.” 181 Parke-Davis’s strategy was to expand Neurontin
sales, not by gaining approval for other indications from the FDA, but by performing studies that
would support off-label marketing but not be submitted to the FDA. Essentially, this was an
“end-run” around the FDA.

            125.    A document dated May 19, 1995 summarized the Marketing Assessment in
Psychiatric Disorders for Neurontin. 182 After reviewing Neurontin’s market potential for several
different potential psychiatric indications (bipolar disorder, panic disorder and social phobia), the

                   New Products Committee decisions have been incorporated, i.e.,
                   an exploratory study in bipolar disorder…The results, if positive,

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    WLC_CBU_040450
181
    WLC_FRANKLIN_0000050315
182
    WLC_FRANKLIN_0000223121 to 80


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                 will be publicized in medical congresses and published in peer-
                 reviewed journals, but there is no intention to fully develop these
                 indications at this point. 183

         126.     In other words, only positive results would be communicated to physicians.
  From a marketing standpoint, this is a nearly risk free strategy—heads Defendants win, tails
  Defendants don’t lose. Positive studies would be used for marketing, but would not be
  subjected to independent scrutiny by submission to the FDA. Because of the company’s
  intention to not make the results of negative studies available to physicians or the public, there
  was little risk of these studies compromising the marketing of Neurontin for off-label
  indications.

        127.      Dr. Franklin’s Disclosure shows that in 1996 he was told “during several
training sessions” to:

                 tell physicians that clinical trials were in place for treatment of
                 bipolar disease with Neurontin and that the early results from this
                 [sic] trials indicated a 90% response rate upon administration of
                 300 mg of Neurontin three times a day and titrate up to 4800
                 mg/d. 184
The Disclosure continues:

                 It was widely acknowledged that this was not factual data, but that
                 it would influence the physician to experiment with the drug in his
                 or her bipolar patients. 185
        128.      Dr. Franklin’s Disclosure explains how he successfully “deceived” a physician
“into believing” such statements, which “were false and demonstrated a reckless disregard for
the truth and for the safety of Dr. [deleted]’s patients.” Dr. Franklin states that he was able to
convince the physician of the veracity of his statements despite the fact that:

                 No data existed at all to support the use of Neurontin in bipolar
                 disease. Any such “data” was either rumor, or outright fictitious,
                 and designed to convince the physician that they should begin to
                 experiment with Neurontin. No scientifically credible data
                 supported this claim of effectiveness. Dosing data was also




183
    WLC_FRANKLIN_0000223122
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    RELATOR00152
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    RELATOR00152


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                 fictitious and demonstrated a disregard for patient safety by greatly
                 overdosing patients. 186
        129.       This vignette has two key components:

                              •    Parke-Davis intentionally communicated false information to a
                                   prescribing physician regarding clinical efficacy in the treatment of
                                   bipolar disorder and safety of doses up to 4800 mg/day.

                              •    The physician believed Dr. Franklin’s misrepresentations.
                                   (Though disturbing, the evidence is clear that doctors are
                                   influenced by “information” and “education” that is presented by
                                   authoritative sources in the formats with which they are familiar.)

        130.     Forty open-label studies (not blinded, not randomized and not controlled) that had
been published in the medical literature were included in a 2003 review of the efficacy of
Neurontin in bipolar disease. 187 Every one of the 40 open-label studies showed Neurontin to be
effective in treating bipolar disorder. In stark contrast, none of the three double-blind
randomized controlled trials included in this same review showed that gabapentin was superior
to placebo for the treatment of bipolar disorder. Thus while the “gold standard” of evidence-
based medicine failed to show benefit, the literature was dominated with positive open-label
studies. How could all 40 of the open-label studies have been positive when all three of the
most reliable trials, double blind randomized controlled studies, were negative?
        131.     A recently published literature review provides insight into the large number of
articles published about the treatment of bipolar disorder with gabapentin. 188 Twenty-nine such
articles were published between 1997 and 2007, most of which were published in 1998 and
1999. Of the 29 articles, 15 were uncontrolled case series and 6 were reports of single cases, i.e.
Level 3 evidence. The review describes an “echo chamber” effect that was created by the
publication of so much Level 3 evidence:

                 The large number of case series and case reports reported
                 encouraging results that were not confirmed by later small
                 randomized trials. The number of reports and their distribution in a
                 number of journals created a type of “echo chamber” effect,
                 through which the sheer number of publications and citations may

186
    RELATOR00153
187
    Carta MG, Hardoy MC, Hardoy MJ, et al., The clinical use of gabapentin in bipolar spectrum disorders, Journal
of Affective Disorders, 2003; 75:83-91
188
    Carey TS, Williams JW, Oldham JM, et al., Journal of Psychiatric Practice 2007;14(suppl 1):15–27)


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                 have given legitimacy to the practice of using gabapentin for
                 bipolar disorder.

        132.     Dr. Franklin’s Disclosure explains how the body of literature was built out of case
reports that were systematically pushed forward by Defendants:

                 When positive experiences were reported during this medical
                 liaison induced experimentation, those reports would be met with
                 support from Parke-Davis in the form of further investigation and
                 assistance to the physician in publication of results. When reports
                 of adverse effects were called to the attention of Parke-Davis
                 management, medical liaisons were instructed to actively hide
                 these reports from physicians. 189

        133.     Putting these 40 positive open-label studies in perspective (generated as they were
by the Defendants,) the following is a brief description of the four RCTs that were performed—
all failing to show a benefit.
        134.     Parke-Davis’s Protocol 945-209 was a double-blinded, placebo-controlled study
of the efficacy of Neurontin as adjunctive therapy for bipolar disorder. The study was completed
in July 1997, but the research report was not issued until March 26, 1999. 190 (Typically reports
are issued about 3 months after study completion; in this case the lag time was 20 months.) The
conclusion presented in the research report is:

                 The results from this study do not indicate that gabapentin is
                 effective as adjunctive therapy in bipolar disorder. However, there
                 was no evidence that gabapentin caused a worsening of symptoms.

(Note the unusual language stating that gabapentin did not make the symptoms significantly
worse.) The primary outcome measures in this study were the Young Mania Rating Scale
(YMRS) and the Hamilton Depression Rating Scale (HAM-D). 191 The results of this study were
presented at the Third International Conference on Bipolar Disorder in Pittsburgh, 192 in June 17-




189
    RELATOR00153
190
    RR 720-04174 (Page 1)
191
    RR 720-04174 page 178
192
    as reported in: Carta MG, Hardoy MC, Hardoy MJ, et al., The clinical use of gabapentin in bipolar spectrum
disorders, Journal of Affective Disorders, 2003;75:83-91.


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19, 1999, 193 submitted for publication on July 22, 1999, and published in Bipolar Disorders in
2000. 194

        135.     The study data presented in Table C.10 of Parke-Davis’s research report show
that the patients taking Neurontin did not improve in YMRS score as much as those taking
placebo, 195 but – as reported in the conclusion above – the difference did not quite reach
statistical significance. 196 However, the numbers for change in YMRS score presented in the
Bipolar Disorders article were different from those presented in Parke-Davis’s research report,
and showed that those patients taking Neurontin actually did significantly worse than those
taking placebo. This raises the question of the lead author, Pande (a Parke-Davis employee)
having had access to data other than the data that was presented in the Research Report, and
presenting the true data showing that Neurontin is significantly worse as adjunctive therapy for
bipolar disorder than placebo, i.e. that Neurontin makes the symptoms worse.

        136.     A National Institute of Mental Health study compared lamotrigine, gabapentin
and placebo for monotherapy of bipolar disorder. This study found that lamotrigine, but not
gabapentin, was superior to placebo therapy. 197 Although this study wasn’t published until
2000, the results had been presented in part at the 150th Annual Meeting of the American
Psychiatric Association meeting on May 20, 1997 and at 151st APA meeting in June, 1998. Both
of these presentations offered “interim” data. These results were also included in a review
article, published in October 1998 in the journal Neuropsychobiology, written by the researchers
who did this study: 198

                 In our double-blind study, the improvement rate on gabapentin
                 (27%) did not exceed that of placebo (22%).




193
    http://www.wpic.pitt.edu/Stanley/3rdbipconf/proceedings.htm accessed 11/29/2007
194
    Pande AC, Crockatt JG, Janney CA, et al., Gabapentin in Bipolar Disorder: a Placebo-Controlled Trial of
Adjunctive Therapy, Bipolar Disorders, 2000;2:249-255.
195
    RR 720-04174 178 of 231
196
    Using the statistical tool available at “OpenEpi” to calculate
significance. http://www.openepi.com/Menu/OpenEpiMenu.htm accessed 11/25/2007.
197
    Frye MA, Ketter TA, Kimbrell TA et al., A Placebo-Controlled Study of Lamotrigine and Gabapentin
Monotherapy in Refractory Mood Disorders, Journal of Clinical Psychopharmacology, 2000;20:607-14.
198
    Post RM, Denicoff KD, Frye MA, et al., A History of the Use of Anticonvulsants as Mood Stabilizers in the Last
Two Decades of the 20th Century, Neurophsycholbiology, 1998:152-66.


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        137.      A small randomized controlled trial of adjunctive therapy (nine patients in each
group) showed no significant improvement in those taking Neurontin compared to those taking
placebo. The results of this study were presented at the APA’s annual meeting in 1999. 199

        138.      The fourth study (“Vieta”), performed by Pfizer, tested the efficacy of gabapentin
for adjunctive therapy in bipolar disorder. The study included 42 subjects who were randomized
to take gabapentin or placebo and found no significant benefit on the intent-to-treat group. 200
The per protocol population, which excluded patients originally randomized who did not meet
certain compliance standards, favored gabapentin. This study was completed February 26, 2004,
and the research report was issued on June 22, 2004. The results of the intent-to-treat analysis
were not published. However, the results of the per protocol analysis were published in 2006 201
as if they were the results from the intent-to-treat analysis. This article claims (falsely) that “all
analyses were done by intention to treat” and concluded: “despite lack of acute efficacy,
treatment with gabapentin might provide some benefit on the long-term outcome of bipolar
disorder.” For the same reasons mentioned above, analyses on “per protocol” populations,
created after randomization, are fraught with potential biases. Moreover, the reader of this
article could not have known that these results were from a “per protocol” population. Since
readers only could have known this if they had had access to the research report that was
controlled by Defendants, Defendants thus subverted physicians’ ability to function as learned
intermediaries.

        139.      In sum, four randomized controlled clinical trials testing the efficacy of Neurontin
for bipolar disorder have been done. Of the two identified as sponsored by the manufacturer, one
showed that Neurontin is significantly worse than placebo, and one showed no benefit. The
study done by NIMH showed no benefit. Another presented in 1999 also showed no benefit.
Thus, there was no Level 1 evidence showing that Neurontin is effective in the treatment of
bipolar disorder.




199
    Guille, C., 1999. Gabapentin versus placebo as adjunctive treatment for acute mania and mixed states in Bipolar
Disorders. American Psychiatric Association, Annual Meeting, NR10:63.
200
    Protocol 0945-421-291 / Page 1 of 4
201
    Vieta E, Goikolea JM, Martinez-Aran A, et al., A double-blind randomized, placebo-controlled, prophylaxis
study of adjunctive gabapentin for bipolar disorder, Journal of Clinical Psychiatry, 2006;67:473-7


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B.       Systematic Distortion Of The Scientific Evidence From Clinical Trials Of
         Neuropathic Pain

          1.     Gorson

         140.    The results of the first randomized controlled trial testing the efficacy of
Neurontin for the treatment of painful diabetic neuropathy were available to the Defendants no
later than August 23, 1997. 202 Fifty-three patients were initially enrolled to be treated with either
Neurontin 900 mg per day or placebo in this double-blind placebo-controlled randomized
crossover design.     After a 3 week drug free period, patients took either Neurontin or placebo for
6 weeks. There was then a 3-week washout period followed by another 6-week crossover
period. 203 The primary endpoints were the changes in scores from the beginning of the six-week
trial to the end in the McGill Pain Questionnaire (MPQ), the Visual Analog Scale (VAS) and the
Present Pain Index (PPI) as well as a four-point global assessment of pain relief completed at the
end.
         141.    The manuscript prepared by Gorson et al. shows that the analysis of the data was
not performed according to the protocol. Rather, because two of the four outcome measures:
                 did not return to baseline after the washout period for those who
                 received the active drug in phase I, and there was an order effect
                 for [another outcome measure]. Accordingly, analysis of treatment
                 effects was based upon changes in the MPQ, VAS, and PPI scores
                 between treatment periods. 204

         142.    In other words, data from the second half (crossover period) of the trial was
simply omitted from the report. (Note that in the Morello et al. crossover study (discussed
below) comparing Neurontin and amitriptyline for the treatment of diabetic peripheral
neuropathy 205 there was just a one week washout period before patients crossed over to the other
therapy. Although the groups did not return exactly to baseline after this washout period, data
from both periods of the trial were included in the results. In contrast, the washout period in
Gorson et al. was three times longer, and the manuscript and presentations of the results
described below simply stated that the Neurontin group did not return to baseline without
providing any evidence.)
202
    WLC_FRANKLIN_0000100272
203
    WLC_FRANKLIN_0000100242
204
    WLC_FRANKLIN_0000100278
205
    Morello CM, Leckband SG, Stoner CP, et al., Randomized Double-blind Study Comparing the Efficacy of
Gabapentin with Amitriptyline on Diabetic Peripheral Neuropathy Pain, Arch Intern Med, 1999; 159:1931-7.


                                                                                                    Page | 58
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         143.     Even so, among those who completed the first half of the trial, Neurontin
provided significant benefit on only one of the pre-specified four endpoints: the MPQ. In his
report of the results to the manufacturer, Gorson et al. wrote:
                  Gabapentin, at a dose of 900 mg/day, is probably no more effective
                  than placebo in the treatment of painful diabetic neuropathy. 206

         144.     Phil Magistro’s edit of Gorson’s manuscript is contained in a January 7, 1998
memorandum. While Gorson’s manuscript had noted “modest improvement in the MPQ score
only” and “the mean change of the VAS and PPI and the number of patients who reported pain
relief as moderate or excellent were similar in gabapentin and placebo,” 207 Magistro’s edit
changed the author’s conclusions, reporting a “substantial reduction” in the mean MPQ, VAS
and PPI—a conclusion that was more advantageous from a marketing perspective, but
inappropriately changed the “take-home message” from the study that would be delivered to
readers. Despite Magistro’s spin, the results were the same: significant improvement over
placebo in only one of the four endpoints.” 208
         145.     Although Dr. Gorson indicated in his cover letter to Parke-Davis that
accompanied the faxed manuscript his desire to publish the results as an article in Neurology, 209
the study was never published as a peer reviewed article in any journal. Rather, the results were
presented in a poster at the 1998 Annual Meeting of the American Academy of Neurology, as an
abstract in a supplement to the journal Neurology (albeit with a far more positive spin than in Dr.
Gorson’s initial communication of the results: “Gabapentin may be effective in the treatment of
painful diabetic neuropathy” 210 ), and as a letter to the editor in the much lower-circulation
Journal of Neurology, Neurosurgery & Psychiatry. 211 Interestingly, the supplement and letter
list the number of patients in the study as 40, not the 53 from the original draft.
         146.     Despite the results of the Gorson study as described above, the 2002 Diabetic
Peripheral Neuropathy section of DrugDex 212 reported that the Gorson study had shown that

206
    WLC_FRANKLIN_0000100272
207
    Ibid
208
    WLC_FRANKLIN_0000088375
209
    WLC_FRANKLIN_0000100272
210
    See 1998 Gorson Neurology.pdf and Neurontin.mdb produced by Defendants as part of the Neurontin
bibliography
211
    Gorson KC. et al. Gabapentin in the treatment of painful diabetic neuropathy: a placebo controlled, double blind,
crossover trial. Journal of Neurology, Neurosurgery & Psychiatry 1999; 66(2): 251-2.
212
    DrugDex is one of three official drug compendia that discuss off-label uses and is the only source available
online.


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gabapentin was minimally effective rather than “probably no more effective than placebo”, cited
only the significant result in one end point and included the conclusion from Magistro’s edit
rather than the authors’ manuscript: “[t]he authors suggest that higher doses [not studies
investigating higher doses] of gabapentin are needed.” 213
           147.   In sum, despite omitting the second half of the data, this study found that
Neurontin at a dose of 900 mg/day “is probably no more effective than placebo in the treatment
of painful diabetic neuropathy” and was never published as a peer reviewed article.

            2.    Study 945-210, “Backonja”

           148.   The first published clinical trial of Neurontin for the treatment of painful diabetic
neuropathy was Protocol 945-210, published in the Journal of the American Medical Association
in December 1998. 214 This study was funded and conducted by the Defendants. Eighty-four
patients were in the active treatment group and 81 in the placebo group. Those receiving
Neurontin were initially treated with 900 mg/day of Neurontin and titrated on a weekly basis up
to 3600 mg/day as tolerated over a four week period—whether or not they had appreciated
symptom relief at a lower dose (thus the term “forced titration”). The dose for patients who
experienced side effects was reduced to the previous level. During the second four weeks of the
study, patients were continued on the maximum tolerated dose achieved at the end of week four.
           149.   Unlike the disappointing findings in the Gorson study, Backonja et al. concluded:
“Gabapentin monotherapy appears to be efficacious for the treatment of pain and sleep
interference associated with diabetic peripheral neuropathy and exhibits positive effects on mood
and quality of life.” Physicians were, however, misled in several ways by this highly publicized
article.
           150.   The article by Backonja et al. appeared to review the relevant studies that had
been done concerning the potential benefit of Neurontin for painful diabetic neuropathy. It
included a review of the scientific evidence demonstrating the efficacy of Neurontin for
neuropathic pain in animals. It misleadingly stated, however, that “this was the first trial to
evaluate gabapentin’s efficacy in this patient population.” Defendants had to have known that


213
    See Exhibit J to Affidavit of James E. Murray in support of Defendants' Motion for Summary Judgment [Docket
No. 295] filed in US ex rel. Franklin v. Pfizer et al., 96-11651-PBS (D. Mass. Apr. 14, 2003).
214
    Backonja M, Beydoun A, Edwards KR, et al., Gabapentin for the symptomatic treatment of painful neuropathy in
patients with Diabetes Mellitus. Journal of the American Medical Association, 1998;280:1831-6.


                                                                                                     Page | 60
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this was not true because they had funded the unpublished Gorson study of Neurontin efficacy
for painful diabetic neuropathy described above, the manuscript for which had been sent to
Parke-Davis seven months before the manuscript of the Backonja study was initially submitted
to JAMA.
           151.    The forced titration design of the study led to 23.8% of patients treated with
Neurontin experiencing dizziness (compared to 4.9% of those taking placebo), and 22.6% of
patients taking Neurontin experiencing somnolence (compared to 6.2 % of those taking placebo).
The article raised the possibility that titration up to the point of side effects for so many patients
might have had the effect of partially “unblinding” the study (because patients experiencing
these side effects would have reasonably assumed that they were receiving the active treatment
rather than the placebo). However, the methodology then used to determine whether this
functional unblinding did bias the results was inadequate. Rather than calculating whether there
was a significant correlation between the experience of any of the CNS side effects and the
degree of pain relief achieved, the paper calculated separately whether each of the two most
common side effects had a significant effect on the degree of pain relief reported. Thus, when
patients experiencing dizziness were removed from the results, there was no significant impact
on pain relief achieved by the remaining patients. And when these patients were put back into
the mix and the patients experiencing somnolence were removed from the results, there was no
significant impact on pain relief achieved by the remaining patients. Determination that pain
relief was not significantly affected by removing those people experiencing single CNS side
effects one at a time was inadequate to prove that the experience of CNS side effects in toto did
not have a significant effect on the results.
           152.    Corporate e-mails show that, at least 5 months before the Backonja article was
published, Defendants understood the inadequacy of this method of excluding the potential
unblinding effect of CNS side effects in the forced titration study design. A Warner-Lambert e-
mail dated July 1, 1998, was titled “Additional Analyses Requested for Parke-Davis Study 945-
224.” 215 The comments below were to apply to a fixed dose study of the efficacy of Neurontin
for NeP, with the highest dose being 2400 mg per day. The potential unblinding effect of CNS
side effects was much less in study 945-224 because of the lower doses and the fixed dose rather
than forced titration design. Even so, when considering the possibility of unblinding as a result

215
      PFIZER_TMF_CRF_061889. (945-224 refers to the Reckless study discussed below.)


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of the greater incidence of CNS side effects in those people taking Neurontin rather than placebo,
Defendants’ pain experts proposed:
                  that we should look for a correlation of maximum CNS-related
                  Adverse Event severity with mean pain score, assuming that
                  patients with more severe AEs tend to believe that they are on
                  study drug (which probably would be a good guess) and therefore
                  tend to have better efficacy data, thus unblinding and corrupting
                  the study.

          153.    No later than July 1, 1998, Defendants’ pain experts suggested the proper
approach to ensure that the study was not unblinded by the increased frequency of CNS-related
side effects associated with Neurontin was to determine the effect of all “CNS-related Adverse
Event[s]” on pain scores simultaneously. An e-mail dated July 14, 1998 shows that the
methodology used in the Backonja article to determine whether the experience of CNS-related
adverse events had a significant effect on subjectively reported pain scores came directly from
the Defendants. Jeffrey Moore described the methodology that was later presented in the
Backonja article: determine which adverse events occurred significantly more frequently in
patients taking Neurontin, then:
                  We proceeded to run an analysis on patients that did not
                  experience somnolence and then another analysis on patients that
                  did not experience dizziness. Even after removing these
                  potentially unblinded patients we saw efficacy (means and p-
                  values looked good) and thus we were satisfied that potential
                  unblinding did not influence the results. 216

          154.    This methodology, however, answered the wrong question: did the increased
frequency of any single CNS-related adverse event among people taking Neurontin affect the
results of the study? It failed to determine whether the more frequent experience of CNS-related
adverse events in toto among people taking Neurontin materially affected the outcome of the
study. Notes from Defendants’ July 23, 1998 telephone meeting about the clinical analysis plan
for study 945-224 show that Defendants were aware of the two alternative ways to test for
unblinding:
                  Analysis whether the study was unblinded by the adverse
                  events: before using Jeff’s approach (finding out by Fisher’s exact
                  test which CNS AEs could be a possible indicator of drug; then

216
      Pfizer_LLaMoreaux_0038148


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                 excluding all patients who has [sic] at least one of these AEs that
                 might unblind the study and finally perform an efficacy analysis
                 only on the remaining patients), Bruno would like to perform a
                 stratified analysis with regard to AE and look at the interaction
                 between strata and treatment. If there is no interaction, Bruno
                 would leave it at this and would not proceed to Jeff’s
                 approach… 217

        155.     Despite awareness of other more sensitive statistical analyses, Defendants opted
to use a method less sensitive than “Jeff’s approach” above. Had a more sensitive approach been
used, on the results of study 945-210 (which was much more likely than 945-224 to have been
unblinded by CNS-related side effects,) the manufacturer may have found (as did Dr. Jewell, as
documented in his report) that in the context of forcing titration to 3600 mg (twice the FDA
approved dosage limit) much of the patients’ perceived efficacy of Neurontin correlated
significantly with their experience of the most frequent CNS adverse events:
                 Approximately 90% of the apparent total improvement in average pain scores
                 under active treatment reported by Backonja et al. is explained by events after the
                 onset of adverse side effects that have the potential to “unblind” treatment
                 assignment, and are therefore subject to bias. 218

Thus, not including those people who were essentially in an open label study design, because the
blind had broken by their experience of CNS side effects, showed that, for the remaining
patients, still blinded to treatment allocation, Neurontin failed to provide significant relief from
the pain of diabetic neuropathy. Therefore study 945-210 was in essence a partially open label
design, and instead of providing “Level 1” evidence (high quality RCT) the quality of the
evidence was partially Level 2 (open-label).219
        156.     Did Defendants understand that the forced titration design was most likely to
produce results that demonstrated the efficacy of Neurontin for the treatment of DPN? An e-
mail dated September 7, 2001 titled “Phase IV DPN Protocol changes” shows they did. Robert
Glanzman wrote to John Marino and others describing the changes made to the protocol for the
upcoming DPN study, 945-1008. This study was also a forced titration study. All patients were
to increase the dose of Neurontin to 3600 mg/day over the first two weeks of the study (rather
than over 4 weeks as in study 945-210) and those patients who experienced side effects “will be


217
    PFIZER_TMF_CRF_062490
218
    Report of Nicholas Jewell Ph.D.
219
    Op. Cit., Ebell et al. (See Figure 1, Strength of Recommendation Taxonomy (SORT)


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allowed to reduce dose 1 time at post-titration visit to 2400 mg/day. No further reductions will
be allowed.” 220 Dr. Glanzman stated in his introduction to this update of the protocol: “We are
aware of all the issues (I hope) and feel this design is the most practical and likely to result in a
positive study.” [My emphasis] (In addition, this protocol incorporated a 2 week placebo run-in
period designed to screen out placebo responders, also making Neurontin appear more effective.)
        157.     Is there evidence that Defendants understood the potential unblinding effect of the
design of study 945-210 before the study was undertaken? An article published in Neurology
(based on research supported by Parke-Davis) in 1996 (submitted April 10, 1996) shows that
there was. This study examined the efficacy of Neurontin in slowing the rate of decline in
patients with amyotrophic lateral sclerosis (ALS). Although the findings were not positive, the
article raised the issue of a CNS-related side effect unblinding the study: “The presence of
significantly more light-headedness (dizziness) in patients taking gabapentin is a potential
unblinding feature of the study.” The article went on to say that although the number of people
experiencing this symptom was small (the dose of Neurontin in the study was 2400 mg/day),
“Nonetheless, sophisticated patients may have been unblinded by these side effects.” 221 If
unblinding caused by CNS-related side effects was a concern in this study in which the dose of
Neurontin was 2400 mg/day, then concern about the potential unblinding by CNS side effects
should have been greater in study 945-210, where the dose was titrated up to 3600 mg/day.
Study 945-210 was begun on July 2, 1996, three months after the manuscript for the ALS study
had been submitted to Neurology. 222 Surely Defendants understood the potential bias in the
research design of study 945-210 at the time the study was begun.
        158.     Besides adequately testing to see if the experience of CNS-related side effects
unblinded the study and compromised the validity of the findings of study 945-210, there were
two other changes to the study design that would have increased the validity of the results. The
first would have been to use a fixed dose design. The Backonja article states:
                 Because this was the first trial to evaluate gabapentin’s efficacy in
                 this patient population, all patients’ dosages were titrated to
                 tolerability up to 3600 mg/d regardless of any efficacy achieved at
                 lower dosages.


220
    Pfizer_RGlanzman_0039917
221
    Miller RG, Moore D, Young LA, et al., Placebo-controlled trial of gabapentin in patients with amyotrophic
lateral sclerosis, Neurology, 1996;47:1383-88
222
    DM_FILE/CI-0945 (KL34298a), Research Report No.: 720-03908


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          159.   The first statement was simply not true. Though not mentioned in the JAMA
article, Gorson was the first trial to evaluate the efficacy of Neurontin in patients with painful
diabetic neuropathy. The second statement is a non sequitur: Especially if this had been the first
trial examining the efficacy of Neurontin in patients with painful diabetic neuropathy (with plans
to make positive results known as widely as possible) the logical design would have been fixed
dose—like study 945-224 and the planned but not completed study 945-440. A fixed dose
design would have determined not only whether Neurontin was effective for the treatment of
diabetic neuropathy, but also the optimal dose.
          160.   The editorial that accompanied the publication of the Backonja article in JAMA 223
suggested two other improvements in study design. Understanding that increased CNS side
effects in the group taking Neurontin “could result in unblinding,” the editorial suggested an
active placebo (like a benzodiazepine) instead of an inert placebo. This would have (at least
partially) equalized the CNS side effects experienced by those in the Neurontin and placebo
groups, thus preventing unblinding as a consequence of the CNS-related side effects experienced
more frequently by those in the active treatment arm. This study design would have increased
the likelihood that patient-reported improvements in neuropathic pain truly reflected the
beneficial effect of Neurontin and not just the expectation of benefit created by the experience of
side effects. (Seven years passed before a study using an active control was published. That
study showed that morphine, but not gabapentin, was superior to active control in the treatment
of neuropathic pain. 224 )
          161.   Another modification to the study design suggested by the editorial that would
have minimized unblinding caused by side effects and would also have provided information
about optimal treatment would have been to use an active comparator, so-called head-to-head
design:
                 Moreover, it would have been desirable to compare the efficacy of
                 gabapentin with the gold standard of amitriptyline or another
                 tricyclic antidepressant. 225

          162.   The forced titration design of study 945-210 created potential bias in favor of
Neurontin as a result of the increased prevalence of CNS-related adverse events on doses
223
    Low PA, Dotson RM, Editorial: The Treatment of Painful Neuropathy, J Am Med Assoc, 1998;280:1863-4
224
    Gilron I, Bailey JM, Dongsheng T, et al., Porphine, Gabapentin, or Their Combination for Neuropathic Pain,
NEJM, 2005;352:1324-34.
225
    Op. Cit., Low et al


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potentially above those necessary to provide symptomatic relief. The methodology used to
determine whether this did affect the outcome measures—determining the effect of individual
CNS-related adverse events rather than the effect of all such side effects simultaneously—was
inadequate. Defendants were aware of this potential design bias as well as the more
comprehensive methodology that would have determined whether unblinding that resulted from
the forced titration design had caused a substantial impact on the primary outcome measures.
Biased design in manufacturer-sponsored clinical trials is not rare—the VIGOR trial described
above provides another (becoming classic) example of how the manufacturer can manipulate
trial design to make the results more likely to come out in favor of its drug. This in part explains
why the odds are 5.3 times greater that manufacturer-sponsored trials will conclude that their
own drug is the drug of choice compared to non-commercially sponsored clinical trials of exactly
the same drugs.
          3.    Study 945-224 (“Reckless”)

        163.    Study 945-224, also funded and conducted by the Defendants, was a randomized
controlled trial designed to:
                evaluate the efficacy, dose-response characteristics, and safety of
                gabapentin by comparing dosages of 600, 1200 and 2400 mg/day
                gabapentin with placebo for symptomatic relief of painful diabetic
                peripheral neuropathy. 226

        164.    This study was completed September 7, 1999 and the research report was issued
February 7, 2000. 227 The study failed to show that patients taking any dose of Neurontin
appreciated significant relief. As stated in Defendants’ research report:
                There was no statistically significant difference between any of the
                gabapentin groups and the placebo group for endpoint mean pain
                score or at any time throughout the trial… 228

        165.    Despite including three times as many patients in the active treatment groups as
the Backonja article published in JAMA and using fixed dose groups, rather than forced titration
dosing, this clinical trial was never published as an independent study. Defendant’s e-mails
reveal a consistent strategy of preventing these findings, which contradicted the findings of the
Backonja study, from becoming available to physicians, decision makers and the public. In an
226
    Pfizer_LeslieTive_0020949
227
    RR 720-04130 (Page 1)
228
    RR 720-04130 (Page 11)


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April 20th, 2000 e-mail, Sarah Wensley (Clinical Trials Monitor) stated that Dr. Reckless felt the
results of study 224 “should be out in the public domain…” 229 Dr. Beate Roder (the lead Parke-
Davis author on 945-224) replied: “Although I would love to publish SOMETHING about 945-
224, Donna McVey [a medical director from Parke-Davis UK] made it very clear that we should
take care not to publish anything that damages neurontin’s marketing success. So I would rather
not phone him until we have heard from Marketing what they suggest.” 230 In a May 2000 e-
mail, Sarah-Jane Bibby, writing about conversations with Dr. Reckless, indicated that “there
were no plans at the current time to publish…” 231
        166.    Sean Buckland, a Parke-Davis employee, wrote that “on balance we should write
the paper up in time. We would need to have ‘editorial’ control, but would suggest we certainly
involve Dr Reckless in the process, asking for his expert comment.” 232 In response to the threat
of publication, Sarah Jane-Bibby took the opportunity to remind everyone that “PD [Parke-
Davis] has ownership of the data, so Dr Reckless can publish his own centre data but that would
need PD approval.” 233
        167.    In September 2000, Michael Rowbotham (Neurontin Team Leader) wrote to
Angela Crespo (a senior marketing manager): “the main investigator in the UK (Dr Reckless) is
keen to publish but this will have several ramifications. The route we have all agreed to now is
that we will publish the study but NOT until we have published the results of NN25 and NN26
[referring to two positive post-herpetic neuralgia studies authored by Rice and Rowbotham].” 234
Later that month, Rowbotham summarized the publication strategy of the Reckless study:
                I think we can limit the potential downsides of the 224 study by
                delaying the publication for as long as possible and also from
                where it is published. More importantly it will be more important
                [sic] to how WE write up the study. We are using a medical
                agency to put the paper together which we will show to Dr
                Reckless. We are not allowing him to write it up himself. 235
                [Emphasis in original]




229
    PFIZER_TMF_CRF_015313
230
    Ibid.
231
    Ibid.
232
    Ibid.
233
    Ibid.
234
    See PFIZER_LCASTRO_0002678 (capitals in original)
235
    PFIZER_LESLIETIVE_0020985 (capitals in original)


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         168.     On November 13, 2000 Angela Crespo wrote to Leslie Tive referring to study
945-224, “This is the negative study that we were talking about…As you can imagine, I am not
in a hurry to publish it.” 236 In January 2001 Dr. Usman Azam, Pain Category Medical Manager
for Pfizer-UK, wrote: “Are we still in agreement that 224 should be submitted after acceptance
of the above [referencing the two positive PHN studies that had just been rejected from
BMJ]…” 237 Leslie Tive responded that “[her] first instinct would be to continue to wait…” 238
Notes from the July 18, 2001 meeting of the Neurontin Publications Subcommittee (PSC),
indicate that Medical Actions Communications (MAC), the agency responsible for writing up the
Reckless study, agrees that study 224 “…should not be pushed for publication.” 239
         169.     The manuscript, ostensibly authored by Reckless et al., but actually ghostwritten
by MAC, was rejected by Diabetic Medicine in May 2002. 240 Reviewers’ comments included:
“quality of the statistics appears to be poor…conclusions are not justified…the trial would be
considered a failure and the paper rewritten accordingly.” 241 The ghostwritten study was then
submitted to Diabetologia and again rejected in November 2002. 242 It is not hard to understand
why this positive spin on a negative study would be rejected by a medical journal. Although this
manuscript reported that “none of the gabapentin doses was more effective than placebo with
regard to the primary outcome,” multiple secondary outcome measures were reported as
significantly positive. The conclusion of the submitted manuscript, following report of no effect
on the primary endpoint stated:
                  …statistically significant evidence for improvements in some
                  secondary endpoints demonstrates overall benefit for patients with
                  painful diabetic neuropathy. 243

         170.     E-mails from February 2003 show that Pfizer had withdrawn support for a stand-
alone publication of the Reckless study. 244 “Unfortunately, given our limited budget for
Neurontin this year…the agency will not be able to take the lead in revising the manuscript



236
    PFIZER_LESLIETIVE_0020922
237
    PFIZER_LKNAPP_0053962
238
    Ibid.
239
    PFIZER_RGLANZMAN_0044634
240
    PFIZER_LESLIETIVE_0020880
241
    PFIZER_LESLIETIVE_0020881-3
242
    PFIZER_LESLIETIVE_0020840
243
    PFIZER_LESLIETIVE_0020849
244
    By then the review article bundling Reckless’s results had been published


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again. Dr. Reckless will have to take the lead this time.” 245 On February 11, 2003, Dr. Roder
sent Dr. Reckless the failed submissions, 246 commenting to Leslie Tive (in a later memo dated on
March 31, 2003) that “Dr. Reckless decided he wanted to try and publish on his own (because
Pfizer would not provide further financial and editorial support).” 247
        171.   By early 2000, there were three double-blinded RCTs comparing the efficacy of
gabapentin to placebo for the relief of pain from PDN. Two were negative (Gorson and
Reckless) and one purportedly positive (Backonja—albeit with the potential unblinding
associated with the forced titration design discussed above). A diligent doctor searching the
medical literature for the scientific evidence at the time would have found only the Backonja
study, published in JAMA and a negative letter to the editor, published in a low-circulation
journal. No mention of the Reckless study, the largest of the three, could have been found until
2003 and then only briefly mentioned, with the results “bundled” into a review article (that
concluded Neurontin was effective for the treatment of neuropathic pain) rather than published
as an independent study. (See discussion of Backonja and Glanzman review article in Clinical
Therapeutics below). Physicians practicing evidence-based medicine at the time were deprived
of most of the scientific evidence concerning the efficacy of Neurontin for the treatment of
painful diabetic neuropathy.

         4.    Journal supplements

        172.   A supplement to the Clinical Journal of Pain, titled Mechanisms of Chronic Pain,
was published in September 2000. 248 The supplement was supported by an educational grant
from Parke-Davis. The articles included in the supplement had been presented at a symposium
August 23, 1999. The editor of the supplement, Clifford J. Woolf, M.D., Ph.D., listed affiliations
with Massachusetts General Hospital and Harvard Medical School.

        173.   Contrary to the general orientation of this supplement, the FDA-approved label
for Neurontin (updated in 2002) stated “The mechanism by which gabapentin exerts its analgesic
action is unknown.” For example, one of the articles in the supplement, titled “Chronic
Neuropathic Pain: Mechanisms and Treatment” states:

245
    PFIZER_LESLIETIVE_0020835
246
    Ibid.
247
    See PFIZER_LESLIETIVE_0020834
248
    Pfizer_AFannon_0008126


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                 Recently, particular attention has been paid to newer antiepileptics,
                 specifically gabapentin, lamotrigine, and topiramate, in the
                 treatment of neuropathic pain…These agents have additional
                 mechanisms of action compared with current antiepileptics, which
                 may account for broader spectrum of efficacy. Gabapentin, a
                 cyclic GABA analogue, has multiple sites of action, some of which
                 may explain its analgesic effects, most notably an increase in
                 GABA potentiation (without interaction with GABA receptors)
                 and binding on a subunit of calcium channels, the alpha-2-delta
                 subunit, common to all calcium channels. 249

        174.     An article in the supplement by Attal about the mechanisms and treatment of
chronic neuropathic pain included just 2 studies—both positive—about Neurontin, which were
the two published in JAMA. (Additionally, the Gorson article was cited, but just in support of the
position that doses of Neurontin higher than 900 mg/day were needed. The overall negative
findings of the study were not presented.) Study 945-224, with three times more patients in
active treatment than the study by Backonja et al., was completed 12 months before this
supplement was published, yet its results are not included. The Attal article makes
unsubstantiated off-label claims of efficacy—using a Defendant-sponsored journal supplement
as if it were an arm of marketing:

                 Gabapentin is now largely used in clinical practice in various pain
                 conditions because of its favorable side-effect profile and possible
                 broad-spectrum analgesic activity in various neuropathic pain
                 conditions, including central pain. 250

          5.     Neutralizing Negative Studies

        175.         Although I have been informed by Plaintiffs counsel that the details of the
other neuropathic pain trials will be presented in a separate expert report by Dr. Perry, a brief
look at the Morello and Dallacchio studies shows how the Defendants sponsored their own study
to offset negative findings from an independent study. Like the Morello study, the Dallocchio
study 251 compared the efficacy of Neurontin to amitriptyline for the treatment of painful diabetic
neuropathy. The studies differed in one critically important way: instead of being a “gold
standard” double-blind RCT like the Morello study, the Dallocchio study was open-label

249
    Attal N, Chronic Neuropathic Pain: Mechanisms and Treatment, Clinical Journal of Pain, 2000;16:S118-S130
250
    Ibid.
251
    Dallocchio C.et al. Gabapentin vs. amitriptyline in painful diabetic neuropathy: an open-label pilot study.
Journal of Pain and Symptom Management 2000:20:280-5.


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(patients and doctors knew which drug was being administered). Despite the fact that the
Dallocchio study was published 13 months after the Morello study, it made no mention of the
Morello findings or conclusion: that Neurontin “should be reserved as an alternative to patients
in whom a less costly agent fails, such as amitriptyline, or for whom tricyclic antidepressants are
contraindicated.” 252 Dr. Elizabeth Mutisya (a Pfizer medical director) explained Parke-Davis’s
strategy to neutralize the effect of the Morello study: “When the negative UCSD gabapentin-
amitriptyline paper [Morello] was published, Parke-Davis had a two-pronged approach. Attack
the flaws in the study, and sponsor another study which ultimately provided more favorable
results (the Dallocchio study).” 253 Though there was no apparent scientific benefit to repeating
the Morello study in an open-label design, there was potential marketing value.

        176.     Analogous to the Defendant-sponsored Dallacchio article’s lack of mention of the
disadvantageous findings and conclusions of the Morello study, the independent study of
Neurontin for adjunctive therapy of refractory bipolar disorder by Guille was not cited in
subsequent Defendant-sponsored publications on this issue. An abstract presented at the 1999
American Psychiatric Association Annual Meeting reported the results of the Guille study, a
double-blind RCT testing the efficacy of Neurontin vs. placebo, performed at the Massachusetts
General Hospital Department of Psychiatry. The abstract concluded “This study did not find
adjunctive gabapentin to be efficacious treatment for refractory mania…Enthusiastic clinical
acceptance of gabapentin as a mood-stabilizing agents [sic] may be unwarranted. 254

C.      Systematic Distortion Of The Scientific Evidence From Clinical Trials Of Migraine
        Prophylaxis

        177.     The Mathew study (945-220) was published in Headache in 2001. 255 The results
of the published study show that Neurontin is significantly superior to placebo in decreasing the
frequency of migraine headache:




252
    Morello, CM, Leckband SG, Stoner CP, et al. Randomized Double-blind Study Comparing the Efficacy of
Gabapentin With Amitriptyline on Diabetic Peripheral
Neuropathy Pain, Arch Intern Med. 1999;159:1931-1937
253
    PFIZER_RGLANZMAN_0040034
254
    Pfizer_JSu_0022640
255
    Mathew NT, Rapoport A, Saper J, et al. Efficacy of gabapentin in migraine prophylaxis. Headache, 2001;41:119-
28.


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                  At the end of the 12-week treatment phase, the median 4-week
                  migraine rate was 2.7 for the gabapentin-treated patients
                  maintained on a stable dose of 2400 mg/day and 3.5 for the
                  placebo-treated patients (P=.006), compared with 4.2 and 4.1,
                  respectively, during the baseline period. Additionally, 26 (46.4%)
                  of 56 patients receiving a stable dose of 2400 mg/day gabapentin
                  and 5 (16.1%) of 31 patients receiving placebo showed at least a
                  50% reduction in the 4-week migraine rate (P=.008).

The article in Headache concluded:

                  Gabapentin is an effective prophylactic agent for patients with
                  migraine. In addition, gabapentin appears generally well tolerated
                  with mild to moderate somnolence and dizziness.

These results were presented 1998 American Pain Society and the 1999 American Association
for the Study of Headache. 256

           178.   There are, however, several problems with the study design and the way that the
results of study 945-220 were presented in the article published in Headache. First, a basic study
design issue: those patients who met the initial criteria for participation in the study were entered
into a 4 week single-blind placebo phase. Because previous studies had shown that 27 to 30% of
people with migraine headaches generally respond to placebos, the single-blind placebo phase of
the study was specifically designed to identify and remove placebo responders from the study
population. Of the 201 patients who met the screening criteria 56 (28%) were not randomized
after the 4 week single blind placebo phase of the trial. No other exclusion criteria at this stage
of the study were offered except positive response to placebo treatment. Such exclusion limited
the generalizability of the results of study 945-220 to people suffering from migraine headaches
who do not respond to placebos. Thus, the result of the study would, at best, determine the
efficacy of Neurontin in placebo non-responders, but would not be applicable to the actual
patient population to which the results were to be applied (like the population that met the initial
screening criteria for this study and were entered into the single-blind placebo phase).

           179.   Second, the design of the study increased the dose of Neurontin to 2400 mg/day
for all patients, allowing a return to 1800 mg/day for those unable to tolerate the higher dose.
This design is similar to the forced titration design in the Backonja study discussed above. The

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      Pfizer_JMarino_0002371


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frequency of somnolence and dizziness in the study participants was similar to that experienced
in the Backonja study. The manuscript for the Mathew article was submitted to Headache
October 2, 2000, and therefore Defendants were well aware (as described above) of the potential
unblinding effect of the increased frequency of CNS-related side effects in those taking
Neurontin and the statistical steps that would have determined whether or not the increased
frequency of side effects effectively unblinded the trial and confounded the results. But potential
unblinding was neither mentioned nor corrected for in the Headache article.

           180.    Third, the “primary efficacy variable” presented in the article published in
Headache was the migraine headache rate during SP2, or weeks 8-12 of the study, experienced
not by those in the intent-to treat population, but by a subset of the ITT population called the
“modified intent-to-treat (MITT) population.” The MITT population was defined as including:

                   any patient who was randomized, took at least one dose of study
                   medication during SP2 [i.e. stabilization period 2, meaning weeks
                   8-12 of the study], maintained a stable dose of 2400 mg/day during
                   SP2, had baseline migraine headache data, and at least 1 day of
                   migraine headache evaluations during SP2.

           181.    This MITT population differed materially, however, from the group originally
identified in the Defendants’ study report issued August 24, 1999. This post hoc change in
primary analyses led to opposite conclusions in the Defendants’ study report and the article
published in Headache. In the Defendants’ study report, the primary efficacy analyses were not
conducted on the MITT population, but on a subset of the MITT population: the “efficacy
evaluable population.” The “Modified Intention-to-Treat Population” was defined in Defendants’
study report as presented above from the article in Headache. 257 The “efficacy evaluable
population” was defined as a further subset of the Modified Intention-to-Treat Population that:
met compliance thresholds in taking the study medication, provided complete diary information,
had at least 25 days in the single blind placebo phase of the study, and participated in at least 25
of the 28 days of the final 4 weeks of the study (or discontinued due to treatment failure). 258

           182.    According to Defendants’ research report, “Primary efficacy was measured by the
4-week migraine headache rate at stabilization period 2 (Weeks 8-12) and the change from
257
      RR 995-00074 p. 15
258
      RR 995-00074 p. 16


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baseline at stabilization period 2.” 259 And the primary analysis “was performed using the
efficacy evaluable population.” 260 According to Defendants’ research report, the larger patient
population included in the MITT population “was defined to provide supportive analysis.” 261
The primary efficacy outcome results presented in Defendants’ research report, dated August 24,
1999 (more than a year before the final manuscript was accepted by Headache) could not have
been more different from the conclusion published in the Headache article:

                 Efficacy: For efficacy evaluable patients, no statistically
                 significant differences were seen at any study period between the
                 placebo and Neurontin groups with respect to 4-week migraine
                 headache rates of proportion of patients with reduction of 50% or
                 greater in migraine headache rates. 262

        183.     To summarize, the article in Headache provided scientific evidence in a peer-
reviewed journal that Neurontin “is an effective prophylactic agent for patients with migraine.”
Readers of this article (including the authors of the Cochrane review on migraine prophylaxis
and other review articles, as shown below) had no way of knowing that this was not the primary
outcome measure identified in Defendants’ research report. As reported, according to the pre-
specified outcome measure: “In the efficacy evaluable population, no statistically significant
differences were seen at any study period between the placebo and Neurontin groups with
respect to 4-week migraine headache rates.” 263 In other words, this was a negative trial, yet the
scientific record, because of the noted manipulations, reflected a positive trial.

        184.     Finally, besides excluding placebo responders and changing the population upon
which the primary outcome measure was calculated, the study design was flawed from the
beginning because of its reliance upon the “efficacy evaluable population,” which was a subset
of the MITT population, which was in turn a subset of the intention-to-treat (ITT) population.
Level 1 evidence from RCTs demands that analyses be conducted on the intention-to-treat
population as a whole. The purpose of randomizing patients in the gold standard RCT study
design is to eliminate to the greatest degree possible any systemic difference between the
treatment and control groups. Modification of the ITT population diminishes the likelihood that
259
    RR 995-00074 p. iv
260
    Ibid.
261
    Ibid.
262
    RR 995-00074 p. v
263
    RR 995-00074 p. vi


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significant differences in outcome measures between the study groups were due to actual effect
of the active drug. Relying upon any subset of the ITT population allows factors that might
systematically skew patient outcomes after randomization to distort the results of the study. 264

        185.    The design of Defendants’ study 945-217 (completed January 25, 1999 and
reported January 20, 2000—note the delay) was similar to 945-220, except that the maximum
dose of Neurontin was 1800 vs. 2400 mg/day, respectively. The primary efficacy measure was
similar: “4-week migraine headache rate at the stabilization period 2 (Weeks 9-12) and the
change from baseline at stabilization period 2 in efficacy evaluable patients.” 265 The outcome
was also the same:

                For efficacy evaluable patients, no statistically significant
                differences were seen at any study period between the placebo and
                Neurontin groups with respect to 4-week migraine headache
                rates. 266

This study was completed January 25, 1999. As of the 2001 Neurontin Situation Analysis, the
results had not been presented at any meetings, and there were no plans for publication. 267

        186.    Defendants’ also completed a double-blind RCT of Neurontin for prophylaxis of
migraine headache in May 1988, Study CT 879-200 that was reported in June 1990. Like studies
945-217 and 945-220, the first of the RCT studies also found no significant advantage for
Neurontin (but was not published):

                There was no statistically significant difference in the adjusted
                mean reduction in migraine attack frequency between placebo
                (0.7) and gabapentin (1.4) treatment groups, or in the response
                ratio…

                …these data are not sufficient to permit conclusions regarding
                efficacy. 268

        187.    Not only were the results of studies 879-200 and 945-217 not published, but data
from both studies were available in ample time to be included in the Mathew et al. article

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    Op. Cit., Ebell
265
    RR 995-00085 p. 4, Pfizer_LCastro_0044833
266
    RR 995-00085 p. 5, Pfizer_LCastro_0044834
267
    Pfizer_JMarino_0002371
268
     RR 4301-00066 pp. ii-iii


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published in Headache in 2001, yet neither were. Thus, physicians reading the misrepresented
results of study 945-220 in a peer-reviewed journal were further misled by the Defendants’
withholding of the rest of the scientific evidence in their possession showing that Neurontin was
not effective for the prophylaxis of migraine headache.

D.         Cochrane Review Articles

           188.     Cochrane Reviews are important to consider from two different perspectives.
First, busy physicians have neither the time nor the resources to exhaustively search the scientific
evidence to determine what the weight of evidence suggests is the best treatment for a given
condition. Subscription services such as “The Medical Letter” and “Up To Date” provide
reviews of published literature. The Cochrane Collaboration is a non-profit organization that
provides systematic reviews of healthcare interventions, trusted for their lack of commercial
influence and probing for data beyond the published medical literature. These reviews are
published quarterly in the Cochrane Library along with updates of past reviews when relevant. 269
Evidence incorporated in Cochrane reviews represents the totality of acceptable quality evidence
reasonably available to prescribers and payers, and is presented independent of regulatory
authorities’ approval or lack of approval for the indications reviewed. For all of these reasons,
physicians trust that the conclusions presented in Cochrane reviews present a fair distillation of
all the scientific evidence.
           189.     Cochrane reviews must, however, rely upon manufacturers to provide results of
studies that have not been published and details of studies that have been published to verify that
the results presented are accurate and consistent with the pre-specified outcome measures
identified in manufacturers’ study protocols. If there is scientific evidence that is not available to
Cochrane reviewers, it is very unlikely that practicing physicians—even if they made the effort
to search the medical literature—would have access to this information.
             1.     Migraine

           190.     In March 2002, Cochrane requested from Pfizer information about the use of
Neurontin for prophylaxis of migraine headache. 270 On April 5, 2002 Elizabeth Mutisya
suggested sending “a general letter on migraine prophylaxis and the published literature on


269
      http://www.cochrane.org/reviews/clibintro.htm#library Accessed July 21, 2008
270
      Pfizer_RGlanzman_0140657


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Neurontin.” 271 Importantly, Ms. Mutisya added, “We would not be able to provide them with
our databases which is what they ultimately are interested in.” 272 Leslie Tive responded, “I don’t
understand why Cochrane can’t do a search to find the literature they want. If they are looking
for unpublished data, I would be reluctant to send it.” 273 Marino Garcia added “We definitely
will not supply any internal data, we all agree on that.” 274

        191.     The Cochrane Review titled “Anticonvulsant drugs for migraine prophylaxis” was
first published in July 2004. 275 Among the 14 placebo-controlled RCTs included in the 2004
Cochrane review were two RCTs that had evaluated the efficacy of gabapentin, Di Trapani 2000
and Mathew 2001. The review recommends gabapentin—but not other anticonvulsant
medications, albeit with reservations:

                 The evidence derived from trials of gabapentin suggests a
                 beneficial effect in migraine prophylaxis, but this drug needs
                 further evaluation. Although two clinical trials of reasonable size
                 have been reported, the interpretation of both is hampered by some
                 aspects of their method or data analysis. In the meantime, it may be
                 advocated with some reservation that gabapentin may be used for
                 those cases that are difficult to manage with other currently
                 available strategies, since it has a reasonable tolerability and safety
                 profile.

        192.     Pfizer’s strategy of withholding unpublished studies and internal data from
Cochrane reviewers was successful. Neither of the Defendants’ two negative RCTs is mentioned
in the Cochrane review. Furthermore, the fact that study 945-220 was negative for the pre-
specified outcome measures remained invisible—it was presented in the Cochrane review as a
positive study, as it was originally published in Headache. The evidence from clinical trials
presented in the Cochrane review of migraine prophylaxis about Neurontin is positive—and
differentiates Neurontin from other AEDs. With access to the Defendants’ documents, it is clear
that the weight of evidence from clinical trials is overwhelmingly negative, yet physicians a) are
misled by the Cochrane review because evidence has been withheld and misrepresented, b) don’t


271
    Pfizer_RGlanzman_0140656
272
    Ibid.
273
    Ibid.
274
    Pfizer_RGlanzman_0140655
275
    Chronicle E, Mulleners W, Anticonvulsant drugs for migraine prophylaxis (Review), The Cochrane Library,
2005, Issue 4


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have access to any more evidence than the Cochrane reviewers could get, and c) cannot be
expected to distrust one of their most trustworthy sources of information or engage in
independent searches for unknown missing or misrepresented evidence.

          2.     Neuropathic pain

        193.     The first Cochrane review of anticonvulsant drugs for acute and chronic pain was
issued in April 2000. 276 The review was not favorable:

                 There is no evidence that anticonvulsants are effective for acute
                 pain. In chronic pain syndromes other than trigeminal neuralgia,
                 anticonvulsants should be withheld until other interventions have
                 been tried. While gabapentin is increasingly being used for
                 neuropathic pain the evidence would suggest that it is not superior
                 to carbamazepine.

        194.     Commenting on the Backonja and Rowbotham articles in JAMA, about Neurontin
for painful diabetic neuropathy and post-herpetic neuralgia, the review states that there was
significant benefit in both studies, but that both “used doses significantly higher than the
maximum licensed dose of 2.4 grams.” [1.8 grams per day in the U.S.] Although Defendants’
report of study 945-224, showing no benefit of Neurontin for painful diabetic neuropathy, was
issued on January 20, 2000, the May 23, 2000 update does not contain Defendants’ unpublished
data.

        195.     A review of anticonvulsants and antidepressants by Collins et al. (from the Pain
Research Group in Oxford) was published in the Journal of Pain Symptom Management in
December 2000. The review was not favorable to Neurontin, concluding:

                 No difference in efficacy was demonstrated between
                 gabapentin…and the older anticonvulsants phenytoin and
                 carbamazepine. This result provides little to recommend a first-
                 line drug choice for neuropathic pain. 277




276
    Wiffen P, Collins S, McQuay, et al., Anticonvulsant Drugs for Acute and Chronic Pain (Cochrane Review) , The
Cochrane Library, Issue 1, 2002.
277
    Collins SL, Moore RA, McQuay HJ, Wiffen P, Antidepressants and anticonvulsants for Diabetic Neuropathy and
Postherpetic Neuralgia: A Quantitative Systematic Review, Journal of Pain Symptom Management, 2000;20:449-
58


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        196.    Defendants’ consistent strategy of withholding negative information (study 945-
224 was not included in the review) and promoting positive information is shown in a “field
letter for our reps” drafted in response to the publication of this review: 278

                      •   Whilst a welcome addition to the evidence based analysis
                          of clinical studies in neuropathic pain this study does not
                          include data that is soon to be published.

                      •   Whilst for the purposes of a systematic review this study
                          appropriately looked at PHN and PDN alone we have a
                          wealth of data in ALL neuropathic pain conditions that is
                          available in the public domain. 279 [Emphasis in original]

        197.    Just one week after this draft written, Defendants received word that the “soon to
be published” articles referenced above had been rejected by the British Medical Journal. The
reviewer at BMJ who recommended rejection was Dr. Henry McQuay 280 (from the Pain
Research Group in Oxford). Defendants then undertook a strategy, outlined in an attachment to
a January 10, 2001 e-mail, to “aim for publication in Pain” and to contact Dr. McQuay:

                We have very good relationships with this individual and we can
                reassure him that most of his comments will be incorporated [in
                the rewrite and resubmission]. This action is important as it is
                highly likely that he will review these papers in his capacity as the
                world authority on pain and clinical methodology. 281

        198.    An e-mail 3 weeks later documented that a plan to perform “an individual patient
meta-analysis of the Neurontin randomized controlled trials in neuropathic pain has been agreed
and is currently being commissioned.” 282 The lead investigator of this meta-analysis was to be
Dr. Henry McQuay, who had just rejected two papers about Neurontin from BMJ and was
expected to be the reviewer for Pain, the journal to which the articles were to be resubmitted.
Another e-mail of the same day articulates the Defendants’ desire to put the scientific cart before
the horse:




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    Pfizer_CGrogan_0012128
279
    Pfizer_CGrogan_0012131
280
    Pfizer_WSigmund_0000241-2
281
    Pfizer_LeslieTive_0020632
282
    Pfizer_DProbert_0007533


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                 We also need to get some idea from Henry [McQuay] and Andrew
                 [Moore] about what is a good outcome – and where the results of
                 the analysis will lead us in the future. In other words, we need to
                 start with the end in mind! 283

        199.     This strategy of commissioning a review from an influential expert evidently was
not a novel approach—as described in this e-mail of January 31, 2001:

                 What research questions are currently being discussed with
                 McQuay for the commissioned work? Will this work include
                 unpublished study reports that we provide?...We recently went
                 down this path with the Celebrex NICE [National Institute for
                 Clinical Excellence of the U.K.] submission that Matthew Bradley
                 contracted to John Deeks at Oxford and I’m just trying to get a
                 sense of whether we’re using the same approach. 284

        200.     A March 2, 2001 e-mail reiterates the need “to be very clear about what is a good
outcome!” re: the planned meta-analysis with Dr. McQuay. A suggestion is made that the
quality of life “angle will give us the most leverage.” 285 And a March 20, 2001 e-mail is even
more direct about the commissioned meta-analysis: “Obviously we need to be very clear what
we want to get out of the analysis and why.” 286

        201.     A review of neuropathic pain, authored by Dr. McQuay and titled “Neuropathic
pain: evidence matters” was published in a supplement of the European Journal of Pain in
2002. 287 No financial disclosure or commercial support is presented. The article is primarily a
presentation of the review published in 2000 by Collins et al. (including Dr. McQuay). The
article does conclude with suggestions for “three important methodological considerations for
future trials”: (a) neuropathy scales may underestimate pain relief, (b) duration of study is
important with shorter studies showing less relief and (c) differential placebo responses rates for
different conditions. Like the 2000 review article, Dr. McQuay’s review does not include the
negative results of the largest study of painful diabetic neuropathy, Defendants’ study 945-224.




283
    Pfizer_DProbert_0007543
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    Pfizer_DProbert_0007548
285
    Pfizer_RGlanzman_0001383
286
    Pfizer_LeslieTive_0035819
287
    McQuay HJ, Neuropathic pain: evidence matters, European Journal of Pain, 2002; 6 (Suppl. A): 11-18


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        202.     In 2004, Dr. McQuay was a co-author on a meta-analysis addressing the efficacy
and safety of another of the Defendants’ drugs, Bextra (valdecoxib), for which “financial support
was provided by Pfizer Ltd, UK.” 288 This review included 9 studies of Bextra in patients with
osteo- and rheumatoid arthritis. At the time of publication, the risk of increased cardiovascular
complications, and heart attacks in particular, was a threat to selective COX-2 inhibitor sales
(Vioxx, Celebrex and Bextra). The review presented reassuring data about the comparative risk
of MI associated with taking Bextra vs. a non-selective anti-inflammatory drug (NSAID):

                 Myocardial infarction occurred in 14 patients, in 3/2733 (0.1%)
                 with valdecoxib compared with 11/1846 (0.6%) with NSAID.
                 This was statistically significant, but not robust because of the
                 small number of events.

        203.     The European Medicines Agency had presented a review of valdecoxib and
parecoxib data in 2003. 289 The EMEA review included all nine studies in the Edwards et al.
review, plus one more study. Curiously, the Edwards study reports 11 heart attacks among the
patients taking NSAIDs in the 9 studies included in the review, while the EMEA report (Table 6)
shows that, when one more study is included, the number of MIs is not 11, but 7. 290 As a result,
the Edwards study reports that Bextra is significantly less likely to cause heart attacks than non-
selective NSAIDs, whereas the EMEA report finds no such diminution in risk. .

        204.     A Cochrane review of “Gabapentin for acute and chronic pain” 291 and an updated
review of “Anticonvulsants for acute and chronic pain” were issued in 2005. 292 Note that two of
the three authors of the 2004 Bextra review, funded by Pfizer, were also authors of these
Cochrane reviews. In both of the 2005 Cochrane reviews, potential conflicts of interest are listed
as “None Known.”




288
    Edwards JE, McQuay HJ, Moore A, Efficacy and safety of valdecoxib for treatment of osteoarthritis and
rheumatoid arthritis: systematic review of randomised controlled trials, Pain, 2004;111:286-96
289
    Bass R, Abadie E, Lyons D, Medicinal Products Containing COX-2 Selective Inhibitors, Article 31 Referral,
EMEA/H/A-31/503 on Valdecoxib and Parecoxib, EMEA, 2003
290
    Ibid.
291
    Wiffen P, McQuay H, Edwards JE, Moore RA, Gabapentin for acute and chronic pain (Review), The Cochrane
Library, 2005, Issue 4
292
    Wiffen P, Collins S, McQuay H, et al., Anticonvulsants for acute and chronic pain (Review), The Cochrane
Library, 2005, Issue 4


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        205.     The “Gabapentin for acute and chronic pain” review concludes that there is
evidence “to show that gabapentin is effective for neuropathic pain” and there is “limited
evidence to show that gabapentin is ineffective for acute pain.” Four clinical trials of gabapentin
for the treatment of diabetic neuropathy are considered. Backonja et al. accounts for about two-
thirds (63.2%) of the weight of evidence for this indication. The potential unblinding as a result
of the increased frequency of CNS-related side effects experienced as the dose of Neurontin was
increased to 3600 mg/day (“forced titration”) is not considered. The Gorson study is presented
as showing a significant benefit for Neurontin over placebo, even though the primary outcome
measure was negative and Gorson’s original manuscript concluded: “gabapentin is probably
ineffective or is only minimally effective for the treatment of painful diabetic neuropathy at a
dosage of 900 mg/day.” 293 (See above). The “Reckless” study, 945-224, which had three times
as many patients on active treatment as the study by Backonja et al. and used fixed doses, was
never published and was not included. The “POPP” study, 945-271, was never published and
was not included. The bottom line is that if the authors of the Cochrane review were not aware
of studies 945-224 (Reckless) or 945-271 (POPP), and Defendants were not informing
physicians of the Level 1 scientific evidence from their own studies, there is no possibility that
practicing physicians could be informed about or consider all the evidence in their clinical
decision making.

           3.    Bipolar Disorder

        206.     The inability of the Cochrane Collaboration to conduct a thorough review of
gabapentin treatment for bipolar disorder provides another example of the extent to which
Defendants’ prevented independent analysis of their research data. The protocol for the Cochrane
review was first published in April 2001. 294 On October 22, 2001 Dr. Karine Macritchie wrote
to Pfizer requesting references pertaining to the use of gabapentin in patients with bipolar
disorder (original not available) for the upcoming Cochrane review.

        207.     Atul Pande responded to this request in an e-mail dated November 5, 2001. 295
The list included the study on which he was the lead author, which failed to show that gabapentin

293
    See WLC_FRANKLIN_0000100272
294
    Macritchie KA, Geddes JR, Young A, Gabapentin in the treatment of acute affective episodes in bipolar disorder:
efficacy and acceptability (Protocol), The Cochrane Library 2008, Issue 3 http://www.thecochranelibrary.com
295
    Pfizer_APande_0005005


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is effective as adjunctive treatment of bipolar disorder in outpatients. Defendants’ response to
Cochrane did not, however, include the other two randomized controlled trials of gabapentin for
the treatment of bipolar disorder that had been completed at the time: Frye et al. (2000) showed
that lamotrigine, but not gabapentin, is effective as adjunctive therapy for bipolar disorder. 296
Guille failed to show that gabapentin is effective for the adjunctive therapy of refractory mania
in bipolar disease. 297

        208.     Dr. Macritchie wrote again on July 8, 2003 to Dr. Pande and other experts in the
field for information about trials “published or unpublished, complete or ongoing, which would
meet our inclusion criteria.” 298 Defendants’ Study 945-291, begun May 14, 1999 and completed
February 26, 2004 was ongoing at the time. 299 On December 15, 2003 Dr. Macritchie requested
access to “the original data and the overall results of any published or unpublished studies on
gabapentin in bipolar disorder, which have been conducted by your company for the purposes of
our [Cochrane] Review.” 300 In response, Bruce Parsons, a Pfizer medical director wrote an
internal e-mail stating “I would not send unpublished Neurontin data to anyone outside
Pfizer.” 301 On January 13, 2004, Dr. Macritchie sent the same request to Ellen Dukes of
Pfizer. 302 An e-mail dated February 10, 2004 contains Dr. Macritchie’s request for unpublished
data from the Pande study. 303 Anitra Fielding wrote on February 23, 2004 that numerous e-mails
have addressed but none have responded to Cochrane’s request for data from Defendants’
bipolar studies, the requests for which began in October 2003. 304 Pfizer failed to participate in a
scheduled conference call with Dr. Macritchie and Prof. Young about the Cochrane review of
gabapentin use for bipolar disorder. 305 On April 14, 2004, Dr. Macritchie wrote to Lloyd Knapp
(of Pfizer) referring to their recent phone conversation and reiterating the request for original



296
    Frye MA, Ketter TA, Kimbrell TA et al., A Placebo-Controlled Study of Lamotrigine and Gabapentin
Monotherapy in Refractory Mood Disorders, Journal of Clinical Psychopharmacology, 2000;20:607-14.
297
    Op. Cit., Guille, C.
298
    Pfizer_APande_0003413
299
    Research Report 945-291
300
    Pfizer_LKnapp_0071020
301
    Pfizer_LKnapp_0071019
302
    Pfizer_EDukes_0000057
303
    Information requested: “Are you able to provide us with the baseline and end-point scores on YMRS, HAM-D
and CGIS and the numbers of patients who were in remission by the end of the study?” Pfizer_LKnapp_0112830
304
    Pfizer_LKnapp_0112829
305
    Pfizer_LKnapp_0116131


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data from the Pande study. 306 Lloyd Knapp then wrote to Angela Dwyer: “Let’s discuss.” Dr.
Macritchie’s final request for unpublished information from the Pande study was made on
November 7, 2004. 307 On April 18, 2007 the Cochrane protocol for a review of the use of
gabapentin in bipolar disease was withdrawn “due to delay in converting this protocol to a
review…” 308 Without Pfizer’s cooperation, the Cochrane reviewers were unable to complete
their review of the efficacy of gabapentin for bipolar disorder.

E.      Other Review Articles

        209.     Two review articles evaluating the scientific evidence in support of the use of
Neurontin for migraine prophylaxis came from two respected non-profit organizations. They
include the evidence that was available to researchers who sought to provide a comprehensive
review of the available evidence. Certainly no practicing physician could be expected to perform
a more comprehensive evaluation of the scientific literature than the authors of these review
articles.

            1.   Mack, Journal of Managed Care Pharmacy, 2003

        210.     An article published in the Journal of Managed Care Pharmacy (the journal of
the Academy of Managed Care Pharmacy) in 2003 evaluated the available scientific evidence
pertaining to off-label use of gabapentin for 10 non-FDA approved indications, including
migraine prophylaxis, neuropathic pain and bipolar disease. 309 The article concludes that off-
label use of Neurontin should be restricted to the specific indications for which there is “solid
research support (e.g., diabetic neuropathy and prophylaxis of frequent migraine headaches).”

        211.     On what basis does this review conclude that the scientific evidence was solid
enough to recommend managed care coverage for prophylaxis of frequent migraine headaches?
The review cites two clinical trials: the Mathew et al. article (discussed above) published in
Headache in 2001, and the Di Trapani article (published in La Clinica Terepeutica in 2000). 310
In addition, two other review type articles are cited. One was an article about the cost-

306
    Pfizer_LKnapp_0107849
307
    Pfizer_LKnapp_0104674
308
    Op. Cit., Macritchie et al
309
    Mack A, Examination of the Evidence for Off-Label Use of Gabapentin, J Man Care Pharm, 2003;9:559-68
310
    Di Trapani G, Mei D, Marra C, et al., Gabapentin in the prophylaxis of migraine: a double-blind randomized
placebo-controlled study, La Clinica Terepeutica, 2000;151:145-8


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effectiveness of AEDs for migraine prophylaxis by Adelman et al. 311 that relied solely on the
Mathew et al. study published in Headache (with the misrepresentations described above),
concluding that the cost of preventing one migraine headache with Neurontin is $138 higher than
the other two AEDs considered (topiramate and divalproex sodium) and that:

                 The use of AEDs makes little clinical or economic sense in the
                 migraine population in which they are currently being studied.

        212.     The other review cited in the Journal of Managed Care Pharmacy article was
published in a supplement to Headache in 2001, 312 written by Mathew, the lead author of the
2001 article in Headache that reported the results of Defendants’ study 945-220 as described
above. In this review, Mathew stated that the “only double-blind, placebo-controlled study of
gabapentin for migraine prevention” was the trial for which he was the lead author. No mention
is made of the other two Defendant-sponsored RCTs, both of which had shown—like the
Mathew et al. article should have shown—that Neurontin is not effective for migraine
prophylaxis. Because the Defendants’ two negative trials were not included in Mathew’s
review, and because the Defendants’ third negative trial was misrepresented as positive,
Mathew’s review article comes to an erroneous conclusion: “The double-blind trials of
divalproex, gabapentin, and topiramate demonstrate their effectiveness in migraine prevention.”
(In the review article, Mathew did not disclose any financial relationship with the Defendants.)

        213.     With regard to gabapentin for the treatment of neuropathy, the review article cites
three positive RCTs: Serpell (2002), Backonja (1998), and Rowbotham (1998). The results of
the Serpell study were dominated by improvement in post-herpetic neuralgia (as identified by
Defendants’ pain experts). 313 The Rowbotham study included post-herpetic neuralgia patients
only. Backonja is the only RCT included in the review that examined the effect of gabapentin on
painful diabetic neuropathy (see discussion above for problems related to the forced titration
methodology). Based on the positive results from this one study, the review in the Journal of
Managed Care Pharmacy concluded that diabetic neuropathy is one of the two off-label
indications for which there is “solid research support.” The author did not report the results of

311
    Adelman JU, Adelman LC, Von Seggern R, Cost-Effectiveness of Antiepileptic Drugs in Migraine Prophylaxis,
Headache, 2002;42:978-983
312
    Mathew NT, Antiepileptic /drugs in Migraine Prevention, Headache, 2001; 41 Suppl 1:S18-24.
313
    Pfizer_JMarino_0000089


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two of Defendants’ unpublished RCTs that showed no benefit for diabetic neuropathy (Gorson
and Reckless). Thus, relying upon the best available scientific evidence the author concluded
that gabapentin is effective for treatment of diabetic neuropathy, without being aware of
Defendants’ two other studies that had reached the opposite conclusion.

        214.     Finally, showing the importance of making scientific evidence available by
publication in the medical literature, the review article cited two published RCTs that failed to
find gabapentin efficacious in the treatment of bipolar disorder. To be fair, one of these
published studies was done by Defendants. 314

        215.     The conclusion presented in the Journal of Managed Care Pharmacy review—
that there is solid research support for the use of gabapentin in painful diabetic neuropathy and
migraine prophylaxis—shows how Defendants’ control of most of the scientific evidence biased
the “knowledge” available to clinicians and medical decision makers. There are two important
conclusions to be drawn. First, the author sought the best available scientific evidence
evaluating the efficacy of Neurontin for migraine prophylaxis and diabetic neuropathy, but did
not have access to the results of the Defendants’ unpublished studies, nor could she find the
results of Gorson’s study (published only as a letter, see above). And without access to the
Defendants’ research reports, the author was not able to determine whether published
conclusions were consistent with prespecified research protocols and outcome measures. If the
author of this review article couldn’t find unpublished scientific evidence or the Defendants’
research report showing that the pre-specified outcome measure in study 945-220 was changed
in the published article, there is no way that practicing physicians and decision makers could
reasonably be expected to function as learned intermediaries, i.e. to integrate these findings into
their determinations of optimal treatment.

        216.     Second, this review article shows that positive information available to physicians
was dominated by Defendants’ misrepresented study 945-220. The only other positive study, Di
Trapani et al., was published in an Italian language journal, though the abstract is available on
PubMed.


314
  Pande AC, Crockatt JG, Janney CA, et al., Gabapentin in Bipolar Disorder: a Placebo-Controlled Trial of
Adjunctive Therapy, Bipolar Disorders, 2000;2:249-255.


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          2.    Pappagallo, Clinical Therapeutics, 2003

        217.    Another review article, published in Clinical Therapeutics in 2003, was titled
“Newer Antiepileptic Drugs: Possible Uses in the Treatment of Neuropathic Pain and
Migraine.” 315 A single study, 945-220, Mathew et al. was cited as evidence of the efficacy of
Neurontin in migraine prophylaxis. Without access to Defendants’ research report, the author of
this review article failed to inform doctors that the primary outcome measure had been
misrepresented in the Headache article and that Neurontin was actually ineffective as determined
by the pre-specified outcome measures. This sort of propagation of misinformation
demonstrates how misrepresentation of original research has a “ripple effect,” reappearing in the
sources of medical information trusted by physicians.

          3.    Backonja and Glanzman, Clinical Therapeutics, 2003

        218.    A review article titled “Gabapentin Dosing for Neuropathic Pain: Evidence from
Randomized, Placebo-Controlled Clinical Trials” co-authored by Miroslav Backonja and Pfizer
employee Robert Glanzman was published in Clinical Therapeutics in January 2003. 316 This
review stated the “manufacturer provided additional unpublished data [the Reckless data].” E-
mails from the Medical Director of Medical Action Communications, the company that assisted
Pfizer with the preparation of the manuscript for this review, to Pfizer show the evolution of this
review. On August 21, 2002 David Cooper wrote to Pfizer expressing concern about “deciding
how to justify only reviewing 4 of the 6 randomized studies…” (Actually there were 7
randomized studies: the 3 unpublished studies were Reckless, 945-224, POPP, 945-271 and
Gorson.) Dr. Cooper raised concern that if data from one or more unpublished studies were
included there would have to be an explanation for how Dr. Backonja, not a Pfizer employee,
had access to Pfizer’s unpublished data. 317 An e-mail dated August 28, 2002 provided the
solution to this dilemma. After the journal in which the article was to be published granted an
extension of the deadline to submit changes to October 1, 2002, changes to the article were made




315
    Pappagallo Marco, Newer Antiepileptic Drugs: Possible Uses in the Treatment of Neuropathic Pain and
Migraine, Clinical Therapeutics, 2003,;25:2506-38
316
    Backonja M., Glanzman R. Gabapentin dosing for neuropathic pain: Evidence from randomized, placebo-
controlled clinical trials. Clinical Therapeutics 2003; 25(1): 81-104. See also PFIZER_LESLIETIVE_0038508
317
    MAC_004074


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that included adding in data from the Reckless study and adding Robert Glanzman as a Pfizer-
employed author to explain how the data was obtained. 318
        219.    As will be shown below, the issue of explaining access to unpublished data was a
charade. The article was conceived, written, distributed, publicized and used in continuing
education by Defendants. The façade that the article was based on “disinterested” and
independent research was maintained to maximize the effectiveness of the delivery of the key
messages.
        220.    The fact that there was no significant difference between the gabapentin and
placebo group in the primary endpoint of the Reckless study (the largest of the studies addressed
other than post-herpetic neuralgia included in the review) is not mentioned until the ninth page.
Even then, the positive findings in the secondary outcome measures were accentuated in a way
that was criticized by reviewers of the twice rejected manuscript (see above). The review article
failed to include the results from the Gorson study, which had been known to the Defendants
four years earlier. The article concluded:

                At doses of 1800 to 3600 mg/d, gabapentin was effective and well
                tolerated in the treatment of adults with neuropathic pain. 319

        221.    The authors stated that the review included studies with “100 per treatment arm,"
but meant 100 total patients in all treatment arms, given that the Backonja study had a total 165
patients. (Defendants’ research report states, "A total of 165 patients were randomized to
treatment: 84 received gabapentin and 81 received placebo." Analyses were performed on the
ITT population "defined as all randomized patient who received at least one dose of study
medication.") The threshold requiring at least 100 patients randomized excluded the Gorson
trial, but should not have excluded the POPP trial, the report for which stated that 120 patients
had been randomized.
        222.    The manuscript for the Backonja Glanzman review was accepted for publication
on October 14, 2002, presenting the results of 5 trials that had been completed. At Pfizer’s pain
consultants' meeting on September 6, 2001 the results of studies 945-224 and 945-271 had both



318
   MAC_0003929
319
   Backonja M., Glanzman R. Gabapentin dosing for neuropathic pain: Evidence from randomized, placebo-
controlled clinical trials. Clinical Therapeutics 2003; 25(1): 81-104. See also PFIZER_LESLIETIVE_0038508


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been presented. Based on both of these studies being negative and the positive findings in study
945-306 representing mostly improvement in people with post-herpetic neuralgia:
                  The Experts did not feel that this indication [peripheral neuropathic
                  pain] could be supported by the Neurontin package given the
                  negative DPN study and the contrary new data summarized in the
                  following.

           223.   The Backonja/Glanzman review recommends that when initiating treatment for
neuropathic pain (which, except for post-herpetic neuralgia, is off-label) a target of reaching a
Neurontin dose of 1800 mg per day after 2 weeks
                  appears to be a reasonable choice for converting from the
                  somewhat artificial study goal of ≥ 50% response to the ideal
                  clinical practice goal of as close to 100% improvement (freedom
                  from pain) as possible.

           224.   Though switching the goal to 100% pain relief in the clinical (rather than the
research) context makes sense on the face of it, the evidence from the clinical trials showed that
this could not be achieved by increasing the dose. Commenting on study 945-224, Pfizer's own
pain experts had concluded at their meeting in September 2001 that:
                  2400 mg/day appearing worse than 120[0] mg/day in this dose-
                  response study (600, 1200, 2400 mg/day) was viewed
                  as particularly problematic. 320 [Emphasis in original]

           225.   The Backonja and Rowbotham studies published in JAMA, and the Serpell study
all failed to show a greater improvement compared to placebo at higher doses than at doses of
half or less of the 3600 mg/day recommended in this article. Thus, there is scant evidence to
support and much evidence to refute the conclusions and recommendations made in the review
article:
                  In many patients, further dose escalation of gabapentin up to 3600
                  mg/day may be necessary to reach an individualized effect dose…

And
                  Thus, doses between 1800 and 3600 mg/day have been found to be
                  effective in achieving ≥ improvement in pain scores…




320
      Pfizer_Lknapp_0024969


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       226.    The following is one example of the review’s cherry-picking of data to support
the conclusion that higher doses of Neurontin are more effective. The review article cites results
from the Serpell article that:
               noted a markedly greater improvement when doses of 1800 mg/d
               were achieved after 3 weeks at 900 mg/d. Thus, in most patients,
               the maximal improvement with concomitant tolerability may be
               achieved at a gabapentin dose of 1800 mg/d. However, dose >
               1800 mg/d have been effective and well tolerated in other patients.

       227.    But the data presented in the Serpell article tell a different story, and show that the
review article picked two data points post hoc to provide evidence for the claim of a dose
response relationship:




The above graph shows that significant improvement occurred after the first week of therapy (at
900 mg/d), that the difference in pain scores between gabapentin and placebo were significant on
weeks 1 (900 mg/day), 3 and 4 (1800 mg/d), 4 and 5 (2400 mg/d) but not weeks 7 and 8 (2400
mg/d). Visually, the separation between gabapentin and placebo is as great in week 1 on 900
mg/day as it was in weeks 7 and 8 on 2400 mg/day.
       228.    The Rice study showed no greater improvement with 2400 than 1800 mg/d.
Reckless showed better improvement with 1200 than 2400 mg/day. Serpell (above), Backonja
and Rowbotham show no better response compared to placebo at higher doses than at lower
doses. (The flaw in the Backonja and Glanzman review article is that in all studies, the placebo
arm continues to improve, and therefore the treatment arm would be expected to continue to
improve–with or without dosage increases.)




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           229.     The one thing that did increase with increasing doses was side effects. In the
Serpell study “All reported cases of dizziness and 91% of cases of somnolence occurred during
the titration phase." With between 40 and 50% of the patients taking Neurontin in these studies
experiencing dizziness or somnolence, the issue of effective unblinding must be considered as a
possible confounder to the subjective assessment of improvement in pain.
           230.     The review article states that combining the results of studies 945-210, 945-224,
and 945-306 shows that patients taking ≥ 1800mg/d appreciated significantly more relief than
those taking placebo, whereas this was not true for doses < 1800 mg/d. Yet when the time/dose
response curves are examined for each of those trials, the separation of gabapentin from placebo
is no greater at higher than at lower doses. The effect of unblinding due to increased incidence
of CNS-related side effects in the increasing dose studies 945-210 and 945-306 could well
explain some of this post hoc claim that doses at or above 1800 mg/d are more effective for
painful diabetic neuropathy
           231.     After re-iterating that the studies reviewed show that a dose of 3600mg/d can be
used when required and tolerated, the review article misrepresents the FDA's approved dosage:
                    This recommendation is consistent with the 1800 to 3600 mg/d
                    range of gabapentin approved by the FDA for the treatment of
                    PHN.

In fact, the FDA-approved product label states clearly that no benefit is shown for PHN in doses
above 1800 mg/d:
                    In clinical studies, efficacy was demonstrated over a range of doses
                    from 1800 mg/day to 3600 mg/day with comparable effects across
                    the dose range. Additional benefit of using doses greater than 1800
                    mg/day was not demonstrated. 321

           232.     The final conclusion of the Backonja Glanzman review article directly contradicts
the FDA-approved package insert for the single cause of neuropathic pain that is an FDA-
approved indication. The article states that once the dose of gabapentin has been titrated up to
1800 mg/d
                    gabapentin can be titrated up to 3600 mg/d as required over the
                    following weeks to achieve a maximal response with good
                    tolerability.


321
      http://www.fda.gov/cder/foi/label/2005/20235s029,20882s015,21129s016lbl.pdf accessed July 27, 2008


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        233.    Defendants’ documents show that this review article was not the work of
researchers systematically evaluating the scientific evidence for the purpose of bringing the most
accurate and balanced information to practicing physicians. Key messages were developed
before the author was involved. 322 Among those key messages were:
                      •      Gabapentin is an anticonvulsant that has proven effective in the
                             treatment of neuropathic pain [Notwithstanding Defendants’ own
                             consultants’ conclusions to the contrary. 323 ]
                      •      Gabapentin doses up to 3600 mg/d have been proven well tolerated and
                             effective in clinical studies. [This is in direct violation of the approved
                             dosage range on the package insert.]
                      •      Based on these findings, it is recommended at [sic], after a 3-day
                             titration to 900 mg/d, additional titration is performed to 1800 mg/d.
                             Doses up to 3600 mg/d may be necessary in some patients, depending on
                             tolerability and efficacy. [These are the recommendations that were
                             included in the final article.]

        234.    A Pfizer e-mail dated January 16, 2003 was titled “Neurontin: NeP Dosing
Manuscript Published; Public Relations Materials attached. Importance: High” The promotional
messages identified are commercially advantageous: dose should be increased to 1800 mg/day
within two weeks; 600 and 800 mg tablets should be used to simplify dosing escalation; and
reinforcement of the “efficacy message of gabapentin in DPN, PHN, and in treating neuropathic
pain of many causes with onset of pain relief within 1-2 weeks.” 324

        235.    This same e-mail indentified the promotional use of this review article:

                Because this is a key publication for NEURONTIN, information
                from this study should be used in all neuropathic pain initiatives
                subject to your local regulations.

Such initiatives were to include promotional detail aids, speakers programs, regional promotional
and scientific meetings, and public relations programs. 325

        236.    In sum, the key messages for the Backonja/Glanzman review article about dosing
for neuropathic pain were developed before either author was “on board.” The purpose of the
article was commercial not scientific. The article presented a biased view of the science in order

322
    Pfizer_LKnapp_0023646
323
    Pfizer_JMarino_0000088
324
    Pfizer_LAlphs_0013850
325
    Pfizer_LAlphs_0013850


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to convince readers of the efficacy of Neurontin for neuropathic pain—a conclusion that
Defendants’ own consultants and the FDA had recently rebuked. The article also presented a
biased view of the science to justify recommendations for higher than FDA-approved doses.
And finally, the plan to capitalize on the commercial opportunity created by the publication of
this review is clearly articulated in Defendants’ e-mails.

        237.     As late as 2007, an independent review of the effects of treatments for painful
diabetic neuropathy published in the BMJ included only the positive Backonja study, not the
negative and unpublished Gorson and Reckless studies.326 Even so, the article concluded that
tricyclic antidepressants, traditional anticonvulsants (sodium valproate and carbamazepine) and
opioids provide better pain relief than “newer generation anticonvulsants,” meaning gabapentin
and pregabalin. Specifically, the odds ratio for achieving greater than 50% pain relief was
greater for the older anticonvulsants than for gabapentin and pregabalin. In terms of side effects
that were significant enough to cause withdrawal from the study, gabapentin and pregabalin had
the highest rate, with tricyclic antidepressants next; older anticonvulsants had the lowest rate of
withdrawals (these differences are not statistically significant). This review also shows,
contrary to the claims made in the Formulary Dossier (see below), that Neurontin does not have
an advantage over tricyclic antidepressants in causing a lower rate of side effects. Thus, even
without access to data from the two studies that were negative, this (apparently) unbiased review
provides a very different view of optimal treatment for diabetic neuropathy than the Pfizer-
generated review by Backonja and Glanzman.



F.      Manufacturer-Sponsored CME / Academic Meetings

        238.    In addition to original scientific evidence and systematic reviews, continuing
medical education is one of the, if not the, most important source of information about evolving
therapies for practicing physicians. Most states require that doctors participate in 50 hours of
accredited CME each year to maintain their medical license. But more than the requirement,
physicians are busy and want to learn as efficiently as possible about new therapies that will
allow them to provide the best possible care to their patients. Physicians are taught during their

326
   Wong M, Chung JW, Wong, Effects of treatments for symptoms of painful diabetic neuropathy: systematic
review, British Medical Journal, 2007; 335: 87-96.


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many years of training to trust and learn from the hierarchy of medical authority. Continuing
medical education programs generally are presented by such trusted authorities or experts with
academic credentials. When talking to a drug rep or reading marketing material, physicians are,
at least, alerted to the fact that commercial bias may be coloring the information. (See earlier
discussion on Drug Representatives). When physicians attend CME activities they are in a
receptive mode, poised to learn new material from trusted authorities. The last thing most
physicians want to do (or should have to do) after attending a CME activity is to spend hours
trying to verify whether the information that was presented by the expert was an accurate and
balanced review of the best available scientific evidence. For all these reasons, the content of
medical education is not expected to be driven by commercial concerns, especially when trusted
authorities provide reviews of data that lead to clinical recommendations. But, as shown below,
this is exactly what the Defendants did in the medical education that they provided for what was,
in truth, scientifically unsubstantiated off-label use of Neurontin for pain, bipolar disorder and
migraine headache and in doses higher than those that are FDA-approved.

          239.    In 2000, Pfizer offered a total of 764 Medical Education programs about
Neurontin that were attended by 37,600 physicians. 85% of these events were about pain (never
an FDA-approved indication, outside of PHN after 2002) and 75% of the attendees went to the
programs on pain. 327 The Medical Education Plan outlined in Pfizer’s 2001 Operating Plan for
Neurontin, dated October 11, 2000, shows the overwhelming predominance of topics that are for
non-FDA approved indications. The “potential reach” for events advocating probable off-label
use is approximately 139,000 compared to 17,000 for probably on-label use (with 12,000
unclear). 328




327
      Pfizer_RGlanzman_0000727
328
      Pfizer_RGlanzman_0000685


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        240.     In 2000, Pfizer spent $38 million on Medical Education about Neurontin and
budgeted $28.3 million for Medical Education in 2001. 329 According to the 2001 U.S. Operating
Plan for Neurontin, the majority of educational activities were aimed at primary care doctors and
psychiatrists. 330

        241.     A window into the core purpose of Defendant-funded CME is provided by a
“situation analysis” written in response to less positive than intended presentation about the off-
label use of Neurontin for painful diabetic neuropathy. 331 Proworx had been hired by
Defendants to present an “ADA Satellite Symposium.” Proworx contacted Defendants for
recommendations about appropriate speakers at this symposium. Based on one of the speaker’s
proposed abstract, Proworx determined that “she was clearly not planning on presenting what
had originally been agreed upon” and considered the options to “counteract a possible ‘negative’
presentation.” The approach agreed upon was to present pre-written questions at the Q &A
session that would “lead Dr. Bril to address some of the positive aspect of anticonvulsants and of

329
    Pfizer_Rglanzman_0000699
330
    Pfizer_RGlanzman_0000685
331
    WLC_CBU_131223


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Neurontin.” Reportedly, this approach was successful. The following comments from the
situation analysis demonstrate Proworx’ commitment to ensuring that a positive message is
delivered about the sponsor’s product at future CME events:

                 Proworx must take responsibility for not following up with a more
                 in depth investigation of those physicians suggested by the
                 research team in Ann Arbor.

                 In other situations, such as the APA [American Psychiatric
                 Association] Advisory Board meeting, it is Proworx policy to
                 complete a literature search to determine who authors favorable on
                 the topics outlined…

                 In summary, we would like to take this opportunity to assure you
                 that additional guidelines have been set to ensure that this type of
                 situation does not occur again. There will be in depth research into
                 all selected faculty members, regardless of whom the
                 recommendations come from. We look forward to working with
                 you in the future and turning this unfortunate situation into a
                 positive one.

          242.   The ADA satellite symposium was then turned into a written CME monograph,
dated December 1997. The cover letter states that the monograph provides an “overview of
painful syndromes in diabetes and three case studies which detail treatment options and the use
of anticonvulsants in the treatment of diabetic neuropathy.”332 Readers are informed that the
program “is accredited by Medical Education Resources Inc (MER),” but nowhere is the reader
informed that Parke-Davis funded this CME activity. The results of the Backonja study were
presented in this CME monograph—a full year before they were published in the JAMA and
before the research report was issued (contrast this with the delay in communicating the negative
results of the much larger study 945-224). The Gorson study, completed no later than August
1997, had shown no benefit of Neurontin for painful diabetic neuropathy but was not included in
this monograph.

          243.   In December 1999 The Institute of Continuing Healthcare Education requested a
“grant” of $157,000 from Parke-Davis in order to update the current lecture curriculum on the
use of anticonvulsants in psychiatry, train faculty presenters for future continuing medical


332
      WLC_FRANKLIN_0000195502


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education activities and create approximately 60 slides and lecture notes to be used by faculty
members. 333

        244.   A memo from Intramed provides insight into the funding of Neurontin CME
activities. The memo suggests that a grant request for $1,518,000 be sent to solicit funds for a
series of CME programs to be held in multiple U.S. cities. The programs were to include
lectures on the treatment of low back pain, migraine, diabetic and other painful neuropathies, and
the treatment of neuropsychiatric comorbidities. 334

        245.   A letter from Marilyn Abel, Manager of CME Programs for IntraMed to Ruth
Tiernan of the American Academy of Pain Medicine dated August 8, 2000 explained that
“IntraMed is the intermediary between the CME provider [AAPM in this case] and the
pharmaceutical company [Pfizer].” 335 The letter instructs the AAPM: “If the Academy wishes to
proceed, the next step in the process would be that you would need to submit a formal grant
request to Pfizer, Inc.” The letter went on to offer assistance in writing this letter. The proposal
was for half-day CME programs on treating intractable pain: lower back pain, migraine, and
diabetic and other neuropathies–all off-label indications for Neurontin—to be presented in 22
U.S. cities.

        246.   Another memo, dated November 28, 2000, reported that IntraMed suggested to
the American Academy of Pain Medicine that it apply to Pfizer for a grant to sponsor half day
CME programs about the treatment of chronic pain (including low back, migraine and
neuropathic pain—all off-label indications), targeted toward primary care physicians. The grant
was approved by Pfizer. 336

        247.   Of the 37,600 physicians who attended medical education programs sponsored by
the Defendants in 2000, only 20% went to programs about epilepsy. Three quarters of attendees
went to programs about the off-label indication of pain treatment, and 4% attended programs
about treatment of psychiatric problems. 337 Pfizer identified the following opportunities to


333
    WLC_CBU_028648
334
    MDL_VENDORS_101127
335
    MDL_VENDORS_068601
336
    MDL_VENDORS_068595
337
    Pfizer_RGlanzman_0000727


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“meet customer education demand”: industry supported symposia, publications support in
journals, CME accredited medical education programs, grand rounds and medical grants. 338

         1.    CME for neuropathic pain

        248.   In 1998 the Dannemiller Memorial Education Foundation was awarded a CME
grant by Defendants to present CME symposia, a published article, and an internet site to provide
continuing education to physicians about the treatment of neuropathic pain. Other CME
activities included a full day seminar at the American Academy of Pain Medicine 1998 review
course and a 16 page supplement in Neurology Reviews that would reach 10,000 neurologists
and 3500 members of the American Pain Society. 339

        249.   The 2001 US operating plan indicated Defendants’ intention to expand off-label
and unsubstantiated use of Neurontin through “education”:

        Continuously present neuropathic pain data at key conferences. 340

As identified in the 2000-2001 Neurontin Situation Analysis (dated June 28, 2000),
manufacturer-sponsored CME activities were employed to expand off-label use of Neurontin for
pain. Multiple “Pain CME” events are described therein, attended by 17,910 physicians. In
addition, attendance was not reported at the following additional CME Pain activities: 75 Grand
Rounds, 16 half day CME programs for PCPs and symposia at the congresses of the American
Academy of Neurology, the American Pain Society, the American Geriatric Society, the
American Society of Addiction Medicine and the American Physician Assistants Association. 341

        250.   The 2000-2001 Neurontin Situation Analysis also identified the publication of
“Major CME Pain” materials that were sent out to 77,500 physicians plus all US neurologists. In
addition five monographs were produced, the total distribution of which is not reported. 342

        251.   The Neurontin Situation Analysis: 2000-2001 included the following
recommendation to increase off-label prescribing for neuropathic pain:




338
    Pfizer_RGlanzman_0000742
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    Pfizer_JMarino_0002508-9
340
    Pfizer_RGlanzman_0000666731
341
    Pfizer_JMarino_0002375
342
    Pfizer_JMarino_00023754


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               Among PCPs, Neurontin is becoming more widely known and thus
               more popular as a first line agent…Sponsorship of medical
               education initiatives in neuropathic pain for PCPs will continue to
               grow Neurontin’s use in this area. 343
        252.   One example of these CME events was titled “New Directions in the
Understanding & Treatment of Chronic Pain,” presented in Coral Gables, FL on June 2, 2001.
Included among the notes for this event was an article by Ahmad Beydoun titled “Clinical
Success Factors in Managing Neuropathic Pain.” 344 Gabapentin is listed among the
pharmacotherapy options for the treatment of neuropathic pain, with the Backonja and
Rowbotham articles published in JAMA in 1998 introduced as “two recent large clinical
trials.” 345 Defendants’ study 945-224 had been completed in September 1999 and the report
issued February 7, 2000. The studies published in JAMA had a total of 197 patients on active
treatment with Neurontin, whereas Study 945-224 alone had 248 patients on active treatment
with Neurontin in fixed dose groups that were far less subject to unblinding problem as discussed
previously. Yet the results of 945-224 were neither shared with participants of this CME event
nor with practicing physicians as Defendants purposely stalled publication of this negative study.

        253.   Strategies to “grow NeP market with Neurontin” identified in the 2003 Medical
Operating Plan include the education of physicians on the diagnosis and treatment of neuropathic
pain. This strategy would be accomplished by training speakers on neuropathic pain, creating
regional advisory boards, presenting at an American Pain Society Symposium, executing a
publication strategy (see above publications), 346 field force training, 347 increasing average daily
dose 348 and creating a medical economic analysis for patients with neuropathic pain [see
National Business Coalition on Health Publication] for this off-label use. 349

          2.   CME for bipolar disorder

        254.   “Educational” programs sponsored by Parke-Davis informing doctors of the
efficacy of gabapentin for the off-label treatment of patients with bipolar disorder are presented


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    Pfizer_JMarino_0002367
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    MDL_Vendors_094799
345
    MDL_Vendors_094821
346
    Pfizer_RGlanzman_0148328
347
    Pfizer_RGlanzman_0148329
348
    Pfizer_RGlanzman_0148330
349
    Pfizer_RGlanzman_0148331



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in the following paragraphs. The absence of Level 1 evidence demonstrating the efficacy of
gabapentin for the treatment of bipolar, despite several double-blind RCTs, has already been
discussed.

        255.   A seminar titled “New Frontiers in Social Phobia and Bipolar Disorders,
Supported in part by an unrestricted educational grant from Parke-Davis” was presented at the
10th Annual U.S. Psychiatric & Mental Health Congress in Orlando FL on November 15, 1997.
The symposium was advertised as being of benefit to “psychiatrists, general practitioners, family
doctors, neurologists, and clinicians.” 350 The lecture titled “New Options for Bipolar Disorders”
was presented by John Zajecka, M.D. Assistant Professor of Psychiatry, Rush-Presbyterian-St.
Luke’s Medical Center. The lecturer identified Neurontin as a “Treatment for Bipolar Disorder”
without informing the audience that it had not been approved by the FDA for this indication, nor
in doses above 1800 mg/day. 351 The use of gabapentin for bipolar disorder is presented in the
following slide from this CME seminar: 352




        256.   Note in the above slide:

               -Lack of FDA approval for bipolar disorder is not included.

350
    CME 0481
351
    WLC_FRANKLIN_0000080355
352
    WLC_FRANKLIN_0000080364


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                 -Efficacy is indicated as “under investigation” without informing the audience
                 that a double-blind randomized controlled trial had already been completed that
                 showed Neurontin was not effective in the treatment of bipolar disorder. Parke-
                 Davis’s own study, completed July 1997 had shown that Neurontin was
                 significantly worse than placebo as “add-on” therapy for bipolar disorder. 353

                 -Doses up to 4800 mg/day are recommended, though the FDA had never
                 approved doses greater than 1800 mg/day for any indication.

                 -Neurontin is presented as “generally well tolerated,” but Parke-Davis’s own
                 study of Neurontin for bipolar disorder showed that of those taking Neurontin
                 24.1% developed somnolence (versus 11.9% for placebo) and 19% developed
                 dizziness (versus 5.1% for placebo). 354

        257.      In the five weeks between March 16 and April 8, 1998, Parke-Davis sponsored
50 “CME Psychiatry Dinners” in expensive restaurants around the country. 355 All of the
lecturers held prestigious academic positions. 356 During this time period, Parke-Davis also held
16 hour and a half Psychiatry teleconferences. 357 The lectures appear to have shared a common
set of slides, 358 titled “Closing the Psychiatry-Neurology Divide: Emerging Uses of
Anticonvulsants.” Bipolar disorder was said to be responsive to gabapentin, 359 although Parke-
Davis’s own study (completed July, 1997) had shown this not only not to be true, but had
actually shown that placebo is significantly more effective as adjunctive therapy for bipolar
disease than is Neurontin. Impressive, although completely unproven, pharmacological
mechanisms are presented by which Neurontin might be beneficial. After listing partial seizures
as the indication for Neurontin, the slides then present additional uses including: acute mania,
episodic dyscontrol, neuropathic pain, radiation myelopathy, migraine, periodic leg movements,
and mood changes in epilepsy. 360 The next two slides are then titled “Gabapentin: Indications
Summary” 361 and include bipolar disorder (without reporting Parke-Davis’s negative study that



353
    Pande AC, Crockatt JG, Janney CA, et al., Gabapentin in Bipolar Disorder: a Placebo-Controlled Trial of
Adjunctive Therapy, Bipolar Disorders, 2000;2:249-255.
354
    Pande AC, Crockatt JG, Janney CA, et al., Gabapentin in Bipolar Disorder: a Placebo-Controlled Trial of
Adjunctive Therapy, Bipolar Disorders, 2000;2:249-255.
355
    WLC_CBU_037638-40
356
    WLC_CBU_037642-47
357
    WLC_CBU_037641
358
    WLC_CBU_037642-74
359
    WLC_CBU_037650
360
    WLC_CBU_037658-59
361
    WLC_CBU_037659


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had been completed in July of 1997 362 ) and neuropathic pain (both non-FDA approved
indications).

        258.    In May 1998, MBL Communications published a teaching monograph titled
“Current Treatments in Bipolar Disorder” funded by an unrestricted educational grant from
Parke-Davis. 363 This supplement was listed in the Quarterly Brand Review for Neurontin dated
4/98. 364 The abstract states:

                The US Food and Drug Administration has extended the use of
                anticonvulsants beyond the treatment of epilepsy, to include wide-
                reaching neuropsychiatric illnesses such as mania, migraine, panic
                disorder, and trigeminal neuralgia…Depakote and Tegretol have
                been joined by Neurontin and Lamictal as agents shown to be
                useful in the treatment of bipolar, and possibly unipolar
                depression.

                Recently, both clinical and research attention has focused
                specifically on the use of Neurontin and Lamictal as alternatives to
                standard agents for the treatment of mood and anxiety disorders.

        The implication here, through clever wording, is that Neurontin has been FDA-approved.

        259.    The content was created by Parke-Davis and the existence of negative studies was
not disclosed in this monograph. At the conclusion of this monograph, off-label prescribing of
Neurontin is actively encouraged:

                One reason I discuss these tolerability aspects of antiepileptic
                drugs, in light of the evidence for their beneficial effects on bipolar
                disorder, is any physician can elect to try a medication if it’s been
                established as safe by the FDA for another indications, if they have
                reason to do so. 365

To be clear, the best “evidence” (Defendants’ own 945-209 study, completed July 1997) was
neither presented nor available to prescribers.

        260.    Within a 10 week period from July 11 to September 27, 1998, seminars titled
“New Frontiers in Social Phobia and Bipolar Disorders,” supported by Parke-Davis, were held in
21 American cities. The brochure that was sent out for these half-day seminars, presumably to a

362
    DM_FILE/CI-0945 (GM03599a) RR 720-04174 (Page 1)
363
    WLC_CBU_012274 to 81
364
    Pfizer_JMarino_0002515
365
    WLC_CBU_012278


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large number of physicians, was itself misleading when considered in the context of being a
prelude to presenting the use of Neurontin for bipolar disorder:

                …powerful new techniques and treatments are emerging for
                [bipolar illness and social phobia]…you will hear top experts
                discuss the latest research discoveries and breakthroughs in both of
                these crippling disorders. At the same time, you’ll easily earn 4
                hours of Category 1 credit just by attending…These programs will
                give you new therapeutic tools that will help you treat both of these
                common and debilitating disorders. 366

        261.    Parsing this brochure, the message is that (a) there are breakthrough treatments
for bipolar disease, (b) that you will learn how to treat this debilitating disorder and (c) that you
will earn 4 hours of Category 1 continuing education credits for free. However, the completed
randomized controlled trials, discussed above, showed that Neurontin is not effective for bipolar
disorder.

        262.    Between November 7 and November 15, 1998, seminars title “New Frontiers in
Social Phobia and Bipolar Disorders” were held in seven more cities. 367

        263.    A letter from CME Inc. Senior Sales Director, Chris Prifte, to Parke-Davis points
out two “programs of particular interest to you” at the 11th Annual U.S. Psychiatric & Mental
Health Congress, to be held November 18-22 in San Francisco. Both of these programs related
to off-label use of Neurontin: Advances in Treating Depression, and New Frontiers in Social
Phobia and Bipolar Disorders. 368 These two presentations were made on November 21, 1998.

        264.    At this event, James W. Jefferson, M.D., Distinguished Senior Scientist Madison
Institute of Medicine 369 presented a CME lecture titled “New Options in Bipolar Disorders.”
The abstract presented with the lecture notes introduces the use of gabapentin for bipolar disease,
doesn’t inform participants that it is not FDA-approved for treatment of bipolar disorder and
creates the false impression that there is “some substantial research support of efficacy,
particularly in treatment-resistant situations.” 370



366
    CME 0665
367
    CME 0229
368
    CME 0458
369
    CME 0483
370
    CME 0484


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               265.   The following slide was presented, listing indications for which there were
     “reports of benefit,” but failing to inform participants that none of the indications listed,
     including bipolar disorder, is an FDA-approved use of Neurontin: 371




       266.     The following slide was presented as evidence supporting the efficacy of Neurontin
(generic gabapentin was not available until 2004): 372




               267.   The “Young et al.” study was an open label (patients and clinicians knew that
     patients were being treated with Neurontin) series of 15 patients (Level 3 evidence) not having
     nearly the scientific value of the “gold standard” double-blind randomized controlled trials
     (Level 1 evidence). No mention was made in any of the slides included in this lecture that the
     “Young et al.” study was not a randomized controlled trial. More important, no mention is made
     of Parke-Davis’s own study of 117 patients with bipolar disease that had been completed in July

     371
           CME 0489
     372
           CME 0490


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1997 (16 months before this lecture), 373 which showed (in the words of Parke-Davis’s research
report), “The results from this study do not indicate that gabapentin is effective as adjunctive
therapy in bipolar disorder.” 374 In fact, as written in the published article (but not until 2000),
the study didn’t simply fail to show benefit of gabapentin, the study showed that patients treated
with gabapentin did significantly worse that those treated with placebo. 375

        268.     To enhance the aura of scientific credibility to the off-label recommendation for
the physician audience, one slide proposed four possible mechanisms of action (“How It May
Work”), 376 although the FDA-approved label states that the mechanism of “anticonvulsant action
is unknown.” 377 The dosage range recommended was “900-3600 mg (sometimes higher),” 378
although the dosage range recommended in the FDA-approved label was only up to 1800 /day.
In a slide titled “New Options for Bipolar Disorders” 379 doctors are actually encouraged to make
treatment decisions without adequate supporting scientific evidence:

                        •   Treatment need often exceeds data availability

                        •   The skillful combination of art and science will prevail

        269.     Another set of “key slides” from a syllabus prepared by CME Inc. with the same
title, “New Frontiers in Social Phobia and Bipolar Disorders” (copyright date 1998), contained
many of the same slides recommending the use of Neurontin in bipolar disorder without
reporting the single RCT done by the manufacturer, which had shown no benefit. 380 Neurontin’s
lack of FDA approval for use in bipolar is not mentioned, although carbamazapine’s lack of
approval for bipolar disorder is reported. 381

        270.     CME Inc.’s Outcomes Report on the 1998 series of seminars sponsored by Parke-
Davis stated that “The New Frontiers in Social Phobia and Bipolar Disorders was a remarkably
successful program in both attendance and quality ratings.” Total registration at the 30 seminars
373
    DM_FILE/CI-0945 (GM03599a) RR 720-04174 (Page 4)
374
    DM_FILE/CI-0945 (GM03599a) RR 720-04174 (Page 6)
375
    Pande AC, Crockatt JG, Janney CA, et al., Gabapentin in Bipolar Disorder: a Placebo-Controlled Trial of
Adjunctive Therapy, Bipolar Disorders, 2000;2:249-255.
376
    CME 0490
377
    FDA-approved label for Neurontin 1998.
378
    CME 0491
379
    CME 0494
380
    WLC_CBU_028076 to 79
381
    WLC_CBU_028074


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held nationwide was more than 11,000 with an average of attendance of 188 people at each
meeting. 382

        271.     A letter from CME, Inc. to Parke-Davis dated December 22, 1998 outlined a
request for a $2.5 million “unrestricted educational grant” to present another 30 national and 23
regional meetings, designed to fulfill psychiatrists’ interest in “new treatment strategies for
bipolar disorders and social phobia.” 383 In other words, this was a grant to “educate” mental
health prescribers about the benefits of Neurontin for off-label treatment of psychiatric disorders.
One hundred and fifty attendees were projected for each of the 30 National Meetings and 75
attendees for each of the 23 Regional Meetings (a total of 6225 attendees). Each meeting was to
include “[t]wo world-class faculty members,” “[d]ignified promotion to attract a large and
enthusiastic audience,” and “[p]rominent identification as “[s]upported by an unrestricted
educational grant from Parke-Davis.” The agreement to provide these seminars was signed on
February 5, 1999. 384 At this point two randomized controlled trials had been completed: Parke-
Davis’s study was completed July 1997 and showed that Neurontin is worse than placebo as
adjunctive therapy for bipolar disorder, and the final results of the NIMH study (which had been
presented in 1997 and 1998 at the American Psychiatric Association meetings as interim data 385 )
showed that Neurontin was not effective for monotherapy in bipolar disorder.

        272.     The following graph (modified from the 2002 operating plan for Neurontin)
shows that the number of new prescriptions for Neurontin written by psychiatrists increased
168% in 1999 and 88% in 2000 386 —dramatic growth for a drug that had been on the market
since 1994 and for which there were no FDA-approved psychiatric indications:




382
    CME 1478 to 85
383
    CME 0039
384
    CME 0048
385
    Post RM, Denicoff KD, Frye MA, et al., A History of the Use of Anticonvulsants as Mood Stabilizers in the Last
Two Decades of the 20th Century, Neurophsycholbiology, 1998:152-66.
386
    Pfizer_JMarino_0000204


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Growth of new prescriptions for Neurontin by psychiatrists (depicted by diamonds) can be seen
to be much greater than growth for any of the other anti-epilepsy drugs. As Neurontin use was
increasing (with no FDA-approved psychiatric indication), Depakote use was decreasing, despite
having been approved in 1995 by the FDA for use in bipolar disorder.387

        273.     A continuing education monograph, sponsored by Parke-Davis, a Warner-
Lambert Division, was released in April 2000. A general “disclosure of drug use” was included
in the introduction, informing readers that “use of antiepileptic drugs in treating conditions for
which they are not approved by the US Food and Drug Administration” would be presented.
The section on psychiatric uses of anticonvulsants states:

                 • Gabapentin, a newer AED, has a favorable side-effect profile and
                 does not interact with other anticonvulsants. Several small studies
                 of bipolar disorder have shown promising results with gabapentin
                 used as an adjunct to other psychotropic agents.388

The monograph presents results from three open-label trials supporting the efficacy of Neurontin
in bipolar disorder. It states “The largest study of gabapentin for this indication was a
retrospective analysis of 73 patients,” 92% of whom had a positive response to Neurontin.389
The monograph makes no mention of the three double-blind randomized controlled trials that
had been completed at the time, two showing that Neurontin was no more effective than placebo


387
    http://www.nimh.nih.gov/health/publications/bipolar-disorder/complete-publication.shtml accessed 11/29/07.
388
    MDL_Vendors_055302
389
    MDL_Vendors_055306


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as monotherapy and the other (the Defendants’) showing it to be significantly worse than placebo
as adjunctive therapy.

        274.    Sixteen months after submission of the Pande manuscript to Bipolar Disorders
containing the results of research protocol 945-209 on the use of Neurontin for adjunctive
therapy in bipolar disease (showing that patients taking placebo did significantly better than
patients taking Neurontin), the Neurontin Situation Analysis: 2000-2001 stated:

                Parke-Davis plans to continue to support educational initiatives in
                the psychiatric arena that will discuss the broad utility of AEDs in
                a range of medical conditions such as bipolar disorders… 390
        275.    Notwithstanding the three randomized controlled trials showing that Neurontin
was ineffective as both mono- and adjunctive therapy for the treatment of bipolar disease, the
Neurontin Situation Analysis: 2000-2001 listed, under the heading of “Psychiatry CME”
meetings and symposia planned at the Psychiatric Times Weekend Congress and half day
courses that included the treatment of bipolar disorder.” 391

          3.    CME for migraine

        276.    Proworx, working for Defendants, coordinated the creation and dissemination of
CME material regarding the prevention of migraine. Approximately 77,000 invitations to
participate in teleconferences were given to physicians by drug reps. The teleconferences were
held in May and June 1999. 392 A continuing medical education monograph produced in
conjunction with the teleconferences titled “Advances in the Preventive Treatment of Migraine,”
was released May 15, 1999. 393 The monograph was supported by an unrestricted educational
grant from Parke-Davis. The author of the monograph and narrator of the accompanying audio
tape was Ninan Mathew MD, President of the International Headache Society and the lead non-
Parke-Davis investigator listed on Defendants’ report of study 945-220.

        277.    The results of this study are presented in the CME monograph as showing that
Neurontin is effective at preventing migraine headaches: 394


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    Pfizer_JMarino_0002368
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    Pfizer_JMarino_0002376
392
    MDL_Vendors_008418
393
    CDM0022376
394
    CDM0022388


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However, the conclusion presented in Defendants’ research report for study 945-220 (completed
March 10, 1998 and report issued August 24, 1999)—again, with the lead investigator being the
author of the monograph—left a very different impression:

                Efficacy: For efficacy evaluable patients [the pre-specified primary analysis], no
                statistically significant differences were seen at any study period between placebo
                and Neurontin groups with respect to 4-week migraine headache rates or
                proportion of patients with reduction of 50% or greater in migraine headache
                rates. 395
        278.    One might argue that the results of study 945-220 couldn’t be known before the
research report was issued, but Defendants had presented these results to the American Pain
Society meeting in San Diego in November 1998—between the completion of the study and the
issuing of the research report. 396 Similarly, study 945-217 had been completed in January 1999
and also failed to show efficacy for Neurontin in the prevention of migraine headaches. 397 The
results of this study were not included in CME activities described above, and were never
published as an independent study. And yet another of Defendants’ RCT studies failing to show
a benefit of Neurontin for prophylaxis of migraine headache had been completed in May 1988,
Study CT 879-200, but was not presented in this CME activity. 398

        279.    Physicians participating in the teleconferences, reading the monograph or
listening to the tape presented by a recognized expert in the field could not have known that the
results presented were not statistically significant because the research report had not yet been
issued (and even after it was issued the results were not released to the public). Nor could
physicians have known that two other of Defendants’ RCT studies showed lack of efficacy of
Neurontin for migraine prophylaxis. Nor could physicians have known that instead of the
scientific evidence justifying the recommendation presented in this CME activity of Neurontin as

395
    RR 995-0074 p. v
396
    MDL_VENDORS_026390-1
397
    RR 995-00085 p. 5, Pfizer_LCastro_0044834
398
    RR 4301-00066 pp. ii-iii


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a first-line drug for migraine prophylaxis, it had repeatedly failed to provide scientific evidence
of efficacy at all.

        280.     Further compounding the misrepresentation, the monograph actually presents
advantages of Neurontin over divalproex sodium as first-line therapy, even though the former
had not shown efficacy and was not FDA-approved for this indication and the latter had shown
efficacy and was FDA-approved for this indication. 399

        281.    Another CME program titled “New Treatment Options for the Management of
Pain: The Role of Anticonvulsants” was presented on June 10, 2000. 400 The section on
migraines stated that “gabapentin has been shown to be effective in migraine prophylaxis,”
followed by the statement that, unlike valproic acid, gabapentin does not have side effects of
“weight gain, hair loss, and tremor.” In addition, unlike valproic acid, monitoring of blood tests
is not necessary. The only citation that substantiates the claim of Neurontin efficacy in the
prevention of migraine headache is an abstract of an open-label trial that was published in
1996. 401 There is no mention of the three RCTs that Defendants had completed and reports
issued at the time of this CME program. All three RCT studies had shown lack of efficacy of
Neurontin for migraine prophylaxis, yet participants in this CME activity were told only of a
positive open-label study from 1996.

        282.    Another CME program on chronic pain, presented June 2, 2001, included a talk
titled “Effective Management of the Hard-to-treat Migraine,” One of the slides presented in this
lecture, labeled “Preventive Drugs” listed gabapentin among the preventive drugs recommended,
at doses of 900-4800 mg/day. 402 No mention was made of Defendants’ three negative trials of
migraine prophylaxis with Neurontin, all of which had been completed at the time of this lecture.

          4.     Advisory Boards

        283.    Among the points identified in the “2001 Neurontin Medical Strategic Plan”
contained in the 2001 US Operating Plan for Neurontin (dated October 11, 2000) were 403



399
    CDM0022389
400
    MDL_Vendors_056827
401
    Mathew NT, Gabapentin in migraine prophylaxis, Cephalalgia, 1996;16:367
402
    MDL_Vendors_094797
403
    Pfizer_RGlanzman_0000731


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                        •   Develop and Publish a Diagnostic Tool for Neuropathic Pain to Be Used
                            by PCPs

                        •   Continuously Present Neuropathic Pain Data at Key Conferences

                        •   Engage key consultants and advisors to help train PCPs and field forces.

Although this strategy looks perfectly sensible on the face, the presentations to physicians –both
as CME and to Advisory Board members—did not include the most important data. Defendants’
study 945-224 had been completed September 7, 1999 and the study report issued on February 7,
2000. The study (as described above) included 3 times more patients in active treatment than
study 945-210 (Backonja), was a fixed dose trial providing better information about dose-
response relationships, and was less likely to be confounded by unblinding that resulted from
forced titration to twice the FDA-approved maximum dose. Defendants’ controlled the data
from this study and did not include the results with the other studies that were presented when
following the strategies outlined above, depriving physicians access to all of the Defendants’
scientific evidence—positive and negative.

          284.    In the 2002 Operating Plan for Neurontin, dated October 5, 2001, a slide titled
“2002 US Controllables” included the following budget item: “Advisory Boards for NeP (PCP,
MCOs [Managed Care Organizations], etc).” 404 Not only were these Advisory Boards to
promote Neurontin use for the non-FDA approved indication of neuropathic pain (in general),
but they would do so (as shown below) by withholding negative information that Defendants
alone controlled. As indicated by the following bullet points from the same slide, these Advisory
Boards were part of a larger strategy to increase scientifically unsubstantiated use of Neurontin
for the unapproved indication of neuropathic pain (in general):

              •   Grants Expanding to NeP and Neurology

              •   Convention Coverage Expanding to NeP and PCP

              •   Preceptorships for NeP (2002)




404
      Pfizer_BParsons_0092372


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This report was issued almost 5 months after the FDA had indicated that Defendants’ application
for approval of Neurontin for the broad indication of neuropathic pain was “non-fileable,” 405 and
one month after Defendants’ own pain consultants had advised that the scientific evidence did
not justify approval of Neurontin for this indication. The 2002 Operating Plan also identified
Advisory Boards as a subset of the 750 “Advocates” who had been trained “pre-launch,”
meaning prior to the launch of Neurontin for the broad indication of neuropathic pain, which—
—as known by Defendants—was not going to happen. 406

        285.    In November 1999, Advisory Board Meetings entitled “Anticonvulsants in the
Treatment of Psychiatric Disorders” were held at the Ritz-Carlton on Amelia Island, FL and
Kingsmill Resort in Williamsburg, VA. The purpose of these meetings, as stated in the
invitation letter, was to promote the use of Neurontin for (non-FDA approved) psychiatric
indications:

                The purpose of this meeting is to bring together a select group of experts to
                review and discuss the latest clinical data regarding the treatment of psychiatric
                disorders. The program will include didactic presentations as well as group
                discussion regarding clinical practice and experience. 407
Participants were reimbursed for all travel expenses and received honoraria of $1000. The post-
meeting survey included the following question: “How can Parke-Davis further help you in the
management of psychiatric disorders?” 408 Responses included:

            • Speakers training meetings so we can take the message back to our colleagues
            • Continue to provide reprints for off-label uses
Another question in the survey was “Is there a particular [psychiatric] patient type in which you
find Neurontin specifically useful?” Like the first question, participants were being encouraged
to consider Neurontin for off-label use (no psychiatric indications had been approved by the
FDA). 409




405
    Pfizer_LCastro_0005618
406
    Pfizer_BParsons_0092340
407
    MDL_Vendors_026378
408
     MDL_Vendors_026381
409
     MDL_Vendors_026383


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        286.    A “Neuropathic Pain Management Issues in Primary Care and Neurology
Advisory Board” meeting was held on November 8, 2001. 410 Data from four of Defendants’
RCTs, all of which had produced positive results, were presented. This Advisory Board meeting
took place about 8 weeks after the September 6, 2001 meeting of Defendants’ pain expert
consultants. At that meeting the results of two other RCTs had been presented, 945-224
(Reckless) and 945-271 (POPP), which had failed to demonstrate efficacy of Neurontin for
diabetic neuropathy and post-surgical neuropathy, respectively. Advisory board members at the
November meeting had no way of knowing that they were being presented a skewed sample of
the scientific evidence. Nor could they have known that Defendants’ experts looking at all the
data had recently opined that there was not adequate evidence of efficacy to make the case to the
FDA that Neurontin should be approved for the broad indication of neuropathic pain—exactly
the opposite of the impression of Neurontin efficacy for neuropathic pain presented to this
Advisory Board meeting. And even more important than misinforming the Advisory Board
members themselves is the logarithmic amplification of this skewed message about the efficacy
of Neurontin for neuropathic pain when the Advisers assume the roles for which they were being
“educated”: as speakers and advocates who would—unbeknownst to themselves—become
purveyors of the misinformation that they were receiving.

        287.    The same set of slides—including the Defendants’ four positive studies and
omitting the two negative studies (945-224 and 945-271)—was presented at an Advisory Board
Meeting titled “Neuropathic Pain: Focus on the Specialist.” 411 Though the date of this meeting
is unclear, one of the slides has drug utilization data from September 2001, so it was certainly
after the results of studies 945-224 and 945-271 had been presented to Defendants’ pain
consultants.

        288.    The same slide set was also used at a PBM Managed Care Advisory Board
meeting held on March 4, 2002, titled “Treatment Options for Neuropathic Pain.” Once again
the four positive studies were presented, but no data from the two negative RCTs, 945-224 and
945-271, were presented. 412



410
    Pfizer_RGlanzman_0049084
411
    Pfizer_RGlanzman_0059497
412
    Pfizer_Leslietive_0074344


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          289.    Misinformation about off-label dosing was also provided to the advisers. One
slide stated “Few physicians are titrating up to the maximum dose of 3600 mg, as outlined in the
new product profile.” 413 The maximum dose of 3600 mg/day had not been approved by the
FDA, though this language might be interpreted as meaning such. The following “illustrative”
graph was presented at the specialists’ advisory board meeting, 414 creating the visual impression
that PCPs were treating their patients with inappropriately low doses. In fact it was the PCPs
who were dosing appropriately and it was the specialists who were dosing their patients too high
based on the totality of scientific evidence in Defendants’ possession.




          290.    The advisers attending this meeting were not just manipulated by the Defendants’
withholding of their own two negative trials, they were then unwittingly enlisted as purveyors of
this misrepresentation of the scientific evidence as shown in a slide labeled “Objectives for
Today, Work Together to:

                             •   Provide Optimal Treatments to Patients Suffering from NeP [based
                                 only on Defendants’ positive studies]
413
      Pfizer_RGlanzman_0059594
414
      Pfizer_RGlanzman_0059598


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                           •    Determine Ways to Educate and Disseminate Data to Physicians
                                on Use of NEURONTIN to treat NeP [but not to educate with a
                                fair and complete presentation of Defendants’ scientific evidence]

                           •    Develop Strategies to Best Position NEURONTIN for Launch in
                                NeP [Defendants’ knew there would be no launch in NeP in the
                                foreseeable future—the FDA had found the application “non-
                                fileable.”]

The advisers were simply being shown incomplete and one-sided scientific evidence and being
trained to promulgate the misinformation to colleagues who trusted them.

        291.   At the “Neuropathic Pain Advisory Board: Focus on the Specialist” meeting, held
January 11-12, 2002 the following causes of neuropathic pain were presented: alcoholism,
amputation, back/leg/hip problems (sciatica), cancer chemotherapy, diabetes, facial nerve
problems (trigeminal neuralgia), HIV infection or AIDS, multiple sclerosis, shingles (herpes
zoster virus infection) and surgery. 415 Not one of these was an FDA-approved indication for
Neurontin at the time of this meeting, and postherpetic neuropathy was the only indication for
which there was substantial scientific evidence and that later became an FDA-approved
indication. According to data presented at the Advisory Board meeting of November 8, 2001,
post-herpetic neuralgia (the only indication for which the FDA found Neurontin effective) was
the cause of less than one out of six cases of neuropathic pain. 416

G.      Drug Reps And Marketing

        292.   In September 1997, there were zero or close to zero “details” (i.e. visits by drug
reps) to psychiatrists. By February 1999, despite there being no FDA-approved indication for
any psychiatric illness or symptoms, there were about 7,300 calls from drug reps to psychiatrists
to discuss Neurontin use. 417




415
    Pfizer_RGlanzman_0059513
416
    Pfizer_RGlanzman_0049091
417
    PFIZER_AFANNON_0008586


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        293.       Use of Neurontin in bipolar disease increased from minimal (12,000 “uses”) in
May 1997 about 23-fold over the next 21 months, to 275,000 “uses” in February 1999. 418
According to the “2001: Neurontin Situation Analysis”:

                   Neurontin’s use in bipolar disorder has increased by 1700% for
                   Sept 97 to Sept 99 (QTR Sept 99, Scott Levin PDDA). Currently
                   bipolar disorder represents over half of all psychiatric drug uses for
                   Neurontin. 419

        294.       Despite the lack of FDA approval for any psychiatric indications, Neurontin was
marketed more heavily to psychiatrists in 2000 than any other specialists: 43% of “details” and
55% of samples were given to psychiatrists. Neurologists were next with 25% and 20%,
respectively. 420 Similarly, 17% of details and 5% of samples went to PCPs, whose use of
Neurontin would also be off-label.

H.      Public Relations

        295.       Defendants’ ability to control the impact of scientific evidence—both positive and
negative—to its own business advantage is exemplified by the different impact that Studies 945-
210 (Backonja) and 945-224 had on physicians’ and the public’s understanding of the benefit of
Neurontin in treating painful diabetic neuropathy. From an objective point of view, the scientific
evidence produced by study 945-224 should have had far more “weight” than study 945-210: the
latter had 84 patients in the active treatment arm and, as shown by Dr. Jewell, the results were
confounded by the potential unblinding effect of forced titration to 3600 mg/day. In contrast,
study 945-224 had three active treatment arms, each with as many patients receiving Neurontin
as the entire study 945-210 and was a fixed dose study, with far less risk of unblinding as a result
of side effects.
        296.       Suggesting “A Tale of Two Trials,” the impact of the evidence from the two trials
could hardly have been more different. As described above, study 945-210 was published in
JAMA, while study 945-224 was never published independently (the results were “bundled” into
the Backonja/Glanzman review article the overall message of which was positive). The results
of Study 945-210 were prominently presented at continuing medical education activities and

418
    PFIZER_AFANNON_0008581
419
    Pfizer_JMarino_0002368
420
    Pfizer_Rglanzman_0000741


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advisory board meetings, whereas the results of study 945-224 were rarely if ever brought up in
these Defendant-sponsored activities and remained essentially invisible to physicians.
          297.    Defendants used public relations to amplify positive results (rather than present
balanced and accurate scientific information) and extend their influence on “knowledge” about
the efficacy of Neurontin beyond the medical community—turning the volume way up when it
suited their business goals and turning the volume way down when it did not.
          298.   Notes of minutes from a conference call dated October 1, 1998 421 show how the
manufacturer planned to optimize the impact of the two forthcoming articles in JAMA about
Neurontin use in diabetic and post-herpetic neuropathy. The strategy was to include
             •   $2.5 million in increased spending in 4Q’98 to pay for the “Neurontin expanded
                 program in 4Q98”;
             •   implementation of Advisory Boards for PCPs and specialists;
             •   development of core faculty to present at CME teleconferences and Dinner
                 meetings; submission of “five potential thought leaders for the core faculty from
                 the specialties of Neurology (pain management), Anesthesiology, Endocrinology
                 and Immunology”;
             •   submission of 50 potential faculty members for the teleconferences and dinner
                 meetings by each CBU; hiring of IntraMed to develop a consensus conference to
                 “discuss the development of AED guidelines for pain”;
             •   development of “leave behind information package for physicians” including
                 reprints of the JAMA articles; and
             •   agreement “to have hospital reps begin promoting Neurontin” (which would
                 constitute off-label marketing by drug reps).
          299.   One hundred and thirty thousand copies of JAMA reprints, costing $50,000, were
purchased “for representatives without direct mail.” Another $200,000 was allocated for the cost
of the DPN article alone and direct mailing. And another $20,000 was allocated to purchase
30,000 more reprints.
          300.   An extensive public relations campaign was suggested, designed to “leverage
study publications in JAMA to generate interest in and coverage of gabapentin’s efficacy in


421
      WLC_CBU_000221


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chronic pain management.” 422 The scope of the planned PR campaign (the actual results of
which are described below) can be seen in the widespread coverage of press releases planned for
“key trade publications”: 423
        301.    In December 1998, Parke-Davis retained the Public Relations firm Makovsky &
Company to carry out a PR initiative to “educate both consumers and medical professionals”
about the results of the two studies about Neurontin published in JAMA that month. 424 This
media campaign achieved more than “85 million impressions,” meaning that at least that many
times Americans were informed that of the benefit of Neurontin for the treatment of diabetic and
post-herpetic neuropathy. These “impressions” were accomplished by the following activities:
               •       Press releases targeting “trade publications catering to medical
                       professionals in the fields of diabetes and pain management,” as well as
                       “consumers that could benefit from knowledge of these studies.” 425
               •       Video news releases that were distributed to TV stations in all key US
                       markets
               •       Radio news releases distributed to key stations across the country
               •       Radio health journal: a one minute spot designed to “air unedited,” on
                       stations around the country during the six weeks between December 13,
                       1998 and January 17, 1999.
               •       Airline video news release to be shown to passengers on several airlines
                       shortly after take-off.
               •       “Mat release”: an article designed to run unedited in daily and weekly
                       newspapers around the country.
        302.   The impact of this campaign is described by the PR firm in its program overview,
dated February 23, 1999:
               Through the use of these publicity tools, Makovsky placed the
               Neurontin story in some of the most prestigious consumer and
               trade publications in the U.S., including Business Week, the
               Washington Post, Los Angeles Times & Chicago Tribune. We
               were also able to place the story on some of the most watched
               television stations including CNN, WCBS &WNBC and news

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    WLC_CBU_000231
423
    WLC_CBU_000233
424
    WLC_CBU_092879
425
    WLC_CBU_092885


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               wires – including AP and Reuters. In all Makovsky’s campaign
               reached all key U.S. markets, generating in excess of 85 million
               impressions. [Emphasis in original] 426

        303.   In addition, “aggressive pitches” were planned for key patient group magazines,
newsletters and websites to reach target audiences. These organizations included: Diabetes
Research Institute Foundation, American Academy of Pain Management, American Pain
Society, American Chronic Pain Society, International Association for the Study of Pain, and
Dannemiller Memorial Education Foundation (www.pain.com). 427 “Core Strategies” directed at
MDs, RNs, and RPhs outlined in this document included maximizing “clinical trials data to
increase use of Neurontin for pain.” 428
        304.   Of course Defendants have the right to accurately publicize good news. The
problem is that Defendants’ controlled the impact of (from their point of view) good and bad
news about Neurontin, and their control led to misrepresentation of the scientific evidence in
order to maximize sales. In striking contrast to the Backonja study—which was published in
JAMA, publicized through a large public relations campaign that produced up to 85 million
“audience impressions” 429 and was included prominently in CME courses—the Reckless study
remained virtually invisible to practicing physicians. Physicians attending the above CME
events that touted the benefits of Neurontin for diabetic neuropathy, were deprived of the data
contained in the Reckless study which was material to their accurate appraisal of Neurontin’s
efficacy. Moreover, even if they had searched, the results of the Reckless study were simply not
available.



                                VII.   FORMULARY DOSSIER

        305.   The Academy of Managed Care Pharmacists (AMCP) formatted Formulary
Dossier titled “Neurontin (gabapentin) Submission: for the Management of Postherpetic
Neuralgia and Painful Diabetic Neuropathy” 430 was attached to an e-mail dated May 19, 2003. 431

426
    Ibid.
427
    WLC_CBU_000237
428
    WLC_CBU_000246
429
    WLC_CBU_092888
430
    PFIZER_SDOFT_0023146 to 319
431
    PFIZER_SDOFT_0023144


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        306.       At the beginning of the document in the brief description of the sections therein,
“Place of Product in Therapy” states:
                 A brief overview of the management of chronic pain including
                 neuropathic pain and rationale for the development and use of
                 Neurontin. 432

Recommendation of such off-label and scientifically unsubstantiated use of Neurontin would
have violated FDA regulations if included in unsolicited marketing material, but could be made
within the context of a formulary dossier. Even so, Defendants still had an obligation not to
provide false or misleading information in the dossier. 433 Defendants’ failure to include results
from the Gorson study of gabapentin for diabetic neuropathy (funded by Defendants), the
Morello study comparing gabapentin to amitriptyline for the treatment of diabetic neuropathy
and study 945-271 (“POPP,” funded by Defendants) rendered the scientific evidence presented
in the dossier incomplete and biased. Reference in the dossier to a review article by Johnson et
al published in Contemporary Reviews of Pharmacotherapy 434 —a publication not listed on
PubMed—does not constitute presentation of the results of any of the studies mentioned therein.

        307.      In the introduction of the dossier, under the heading “Clinical Efficacy
Studies,” 435 two studies pertaining to diabetic neuropathy are listed: Protocol No. 945-210
(published as Backonja 1998, Backonja 1999 436 (which presented the same data as Backonja
1998)) and Protocol No. 945-224. In addition, one study in “patients with neuropathic pain of
diverse etiology,” Protocol No. 945-306, is listed as a study of “patients with neuropathic pain of
diverse etiology.” Absent from this list are Gorson (completed in 1997), Morello (published in
the Archives of Internal Medicine in 1999 437 ) and protocol 945-271 (“the POPP-study,” not
published 438 ) completed November 30, 2001. The Gorson and POPP studies failed to show a
benefit of Neurontin in comparison to placebo for diabetic neuropathy. The Morello study

432
    PFIZER_SDOFT_0023149
433
    Neumann PJ, Evidence-Based And Value-Based Formulary Guidelines, Health Affairs, 2004;23:124-134
434
     PFIZER_SDOFT_0023146
435
    PFIZER_SDOFT_0023149
436
    Backonja MM, Gabapentin Monotherapy for the Symptomatic Treatment of
Painful Neuropathy: A Multicenter, Double-blind, Placebo-controlled Trial in Patients With Diabetes Mellitus,
Epilepsia, 4O(Suppl. 6):S57-S59, 1999.
437
    Morello CM, Leckband SG, Stoner CP, et al., Randomized Double-blind Study Comparing the Efficacy of
Gabapentin With Amitriptyline on Diabetic Peripheral Neuropathy Pain, Archives of Internal Medicine, 1999;
159:1931-37.
438
    Pfizer_LCastro_0043325


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showed no benefit of Neurontin compared to amitriptyline for the treatment of diabetic
neuropathy and no fewer side effects experienced than in patients taking the tricyclic
antidepressant amitriptyline. In addition, although Study 945-306 did show a significant benefit
of Neurontin compared to placebo, Pfizer was aware that virtually all of the benefit was in
patients suffering from post-herpetic neuralgia, with little benefit appreciated by those suffering
from diabetic peripheral neuropathy.
        308.   Listed under the heading “Indications” are “Unlabeled Uses: Tremors, pain
associated with multiple sclerosis; neuropathic pain other than PHN; bipolar disorder; migraine
prophylaxis.” 439 And listed under “Indications Currently Under Study” is “Management of
neuropathic pain associated with diabetic neuropathy.” Nowhere in the dossier is the reader
informed that the FDA had found that the application for this indication was “non-fileable”
because there was inadequate scientific evidence supporting efficacy.
        309.   The Pharmacology section of the dossier begins: “Gabapentin is an anti-epileptic
and anti-neuropathic pain agent.” 440 This is misleading because, based on the available
evidence, the FDA and Pfizer’s own consultants had determined that the evidence from clinical
trials failed to support such a claim.
        310.   The dossier offers claims of efficacy and reduced risk of side effects as a rationale
for using Neurontin to treat non-malignant neuropathic pain rather than tricyclic antidepressants.
               Antiepileptic drugs (AEDs) have been recognized as effective in
               the management of neuropathic pain, while exhibiting fewer side
               effects than TCAs. In particular, a number of recent studies have
               demonstrated the effectiveness of gabapentin in treating
               neuropathic pain. 441

        311.   Neurontin is reported to be considered by many pain physicians as “a first-line
therapy for chronic neuropathic pain.442 Pfizer was aware that, by May 2001, Neurontin was the
most frequently used drug for neuropathic pain, 443 despite the FDA and Pfizer’s own consultants
conclusion that the clinical trials didn’t provide efficacy of Neurontin for this indication. The
dossier fails to present the conclusions of the 2000 Cochrane report on the use of anticonvulsant
drugs for acute and chronic pain, which concluded:

439
    PFIZER_SDOFT_0023152
440
    Ibid.
441
    Pfizer_SDoft_0023166
442
    Ibid
443
    Pfizer_JMarino_0000218


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                 There is no evidence that anticonvulsants are effective for acute
                 pain. In chronic pain syndromes other than trigeminal neuralgia,
                 anticonvulsants should be withheld until other interventions have
                 been tried. While gabapentin is increasingly being used for
                 neuropathic pain the evidence would suggest that it is not superior
                 to [the less expensive anticonvulsant] carbamazepine. 444

In 2001, Neurontin was, however, being used many times more frequently than carbamazepine
for the treatment of neuropathic pain. 445
        312.     The section of the dossier titled “Pain Associated with Diabetic Neuropathy”
provides the reader with no indication that an sNDA had been filed with, but not approved by,
the FDA to add this indication for Neurontin.
        313.     While the section titled “Pain Associated with Diabetic Neuropathy” does cite
Collins et al., 2000 (gabapentin no better than carbamazepine and more expensive), and Morello
(Neurontin not superior to amitriptyline and more expensive), it does not include 945-224 and
945-271 both of which are manufacturer-sponsored and fail to show efficacy of Neurontin
against placebo in patients with neuropathic pain.
        314.     The final section, “Clinical Value and Overall Cost,” fails to include study 945-
271 and makes the false claim of significant pain relief with gabapentin compared to placebo for
patients with diabetic neuropathy—a claim that had not been accepted by the FDA. The single
study presented in the dossier claiming that treatment of neuropathic pain with Neurontin was
associated with a decrease in health care costs had not been published. 446


                                      VIII. CONCLUSION

        Assuming the finder of fact concludes, as alleged in the Third Amended Class Action
Complaint and other filings, that Parke-Davis and later Pfizer engaged in a strategy to exert
control and influence over the sources of information upon which physicians relied when
prescribing Neurontin for non-FDA approved, scientifically unsubstantiated indications and
doses, I am of the opinion that this strategy was begun when there was insufficient evidence to
support claims of efficacy and was continued in the face of either ongoing lack of evidence or
the existence of good evidence that Neurontin was not effective for such uses. This strategy was
444
    Pfizer_LeslieTive_0026463 to 64
445
    Pfizer_JMarino_0000218
446
    Pfizer_SDoft_002320


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                                           EXHIBIT 1


John Abramson, MD

Professional Address:    39 Spring Street, Ipswich, MA 01938

Email: john_abramson@hms.harvard.edu                              Phone: 978-312-1225

Place of Birth: Cambridge, MA

Education:
1970            BA cum laude Harvard College                             Social Relations
1971-2                       Harvard College                             Premedical courses
1974            BMS          Dartmouth Medical School                    Medicine
1976            MD           Brown Medical School                        Medicine

Postdoctoral Training:
1982            MS              Case Western Reserve University          Family Medicine
1976-77         Internship      Memorial Hospital, Chapel Hill, NC       Family medicine
1979-81         Residency       University Hospitals of Cleveland, OH    Family practice
                                (Case Western Reserve University)
1980-82         Fellow          Case Western Reserve University          Robert Wood Johnson
                                                                        Fellow in Family Medicine
Licensure and Certification:
1982           Massachusetts Board of Registration in Medicine. License No. 49182
1982           Diplomate, American Board of Family Practice 1982, recertified 1989, 1995,
               2001, 2007

Academic Appointments:
1992-3        Senior Research Associate, Institute for Health Policy, The Heller School,
              Brandeis University
1997-         Clinical Instructor, Dept. of Ambulatory Care and Prevention, Harvard Medical
School

Hospital or Affiliated Institution Appointments:
1982-2002                  Medical Staff Beverly Hospital
1994-2002                  Medical Staff Lahey Clinic

Other Professional Positions and Major Visiting Appointments:
1977-9         National Health Service Corps, US Public Health Service
1982-2002      Family physician, Hamilton-Wenham Family Practice, Hamilton, MA
1986-1993      Associate Medical Director, Pru-Care of MA
1994-2001      Chair, Department of Family Practice, Lahey Clinic, Burlington MA
2005-present Executive Director of Health Management, Wells Fargo Health Solutions

Hospital and Health Care Organization Service Responsibilities:
1989-1991      Member, Board of Trustees, Beverly Hospital

Major Committee Assignments:
1993-5        Chair, Graduate medical Education Committee (Family Practice Residency),
              Beverly Hospital

Professional Societies:
1982-2002      Massachusetts Medical Society
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1982            American Academy of Family Practice

Awards and Honors:
1996, 1999    Community Newspapers “Readers’ Choice Award for Best Doctor”, Beverly,
              Hamilton, Wenham
1999          Center for the Study of Services “Guide to Top Doctors”
2000          Castle Connolly/Town and Country’s Guide to Primary care Physicians
2001          Castle Connolly/AOL-Digital City “Guide to Top Doctors”
2002          Selected to be included in Lady’s Home Journal: The Best Family Doctors in
              America (had left practice to write book so name did not appear in magazine)
2003          Profiled in Harvard Magazine article: “Doctored Research?” Nov-Dec issue

Part II:
Research, Teaching, and Clinical Contributions

A. Primary Care Clerkship and mentorship program: Harvard Medical School, preceptor of third-
fourth year student for the next eight years. Teaching activities have also included the elective
course and independent study in “Healing and Spirituality” as listed below.

D. Report of Teaching
1. Local Contributions

1992-1994       Harvard Medical School
                Two years
                Primary Care Mentorship Program
                Mentor
                One first-year medical student per year

1994-2001       Harvard Medical School
                Eight years (One student per year)
                Primary Care Clerkship
                Preceptor

1999-2001       Harvard Medical School
                Three years (average 12 students per year)
                Healing and Spirituality in Medicine
                Elective
                Faculty 1999, Course Co-director 2000 and 2001

2002            Harvard Medical School
                Independent Study
                Healing and Spirituality

2002-2007       Harvard Medical School
                Ongoing
                Primary Care Clerkship
                Tutor

2003            Harvard Medical School
                Independent Study
                Healing and Spirituality




2. Presentations:
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1981       A prepaid primary care network for private and AFDC patients: an alliance
           between the private and public sectors. National Governor’s Association
           Conference on Primary Care Networks, New Orleans, LA.
1982       Participation of a residency based family practice center in an innovative case
           management program. Society of Teachers of Family Medicine, Chicago, IL.
1983       The economic impact ofa primary care network on primary care physicians and
           Medicaid costs. Robert Wood Johnson Foundation, Princeton, NJ.
1984       Primary care of de-institutionalized retarded adults in the community. HCFA
           Meeting of Federal Surveyors of Intermediate Care Facilities, Portland, ME.
1991       The role of physicians in the Michigan Comprehensive Community Health
           Models Project. Pew Health Policy Annual Meeting, Cambridge, MA
1999       The role of the physician/patient relationship in the healing process. Topics in
           Internal Medicine (Lahey Clinic), Portsmouth, NH
2002-5     Healing our Critically Ill Health Care System. Clinical Training in Mind/Body
           Medicine. Mind/Body Medical Institute/Harvard Medical School Continuing
           Education, Boston, MA
2004       The Quality of Our Medical Knowledge: Vioxx and Statins. Heller School for
           Social Policy
           NCEP Recommendations: Preventing Heart Disease or Pushing Drugs?.
           Encino-Tarzan Regional Medical Center, CA.
           Grand Rounds, Beverly Hospital Beverly MA: NCEP Recommendations:
           Preventing Heart Disease or Pushing Drugs?
2005       Williams College; Lessons from Vioxx: Misinforming Doctors, Harming Patients
           and Making money, 1/11/05
           New York City Department of Public Health, Chronic Disease Grand Rounds,
           2/4/05
           Bellevue Hospital Medical Seminar 2/9/05
           Denver Forum, Denver CO 2/10/05
           Woman’s National Democratic Club, Washington DC, 3/3/05
           Congressional Task Force on Prescription Drugs, Washington DC, 3/3/05
           Mind Body Medical Institute Harvard Medical School 3/23/05
           San Diego City Club 4/8./05
           Alternative Therapy Conference, San Francisco, Keynote Address: "Overdosed
           America." 4/9/05
           University of Michigan (Undergraduate course in health policy) 4/05/05
           Health Care Benefits Forum, Chicago Hyatt Regency, Keynote Address: 4/7/05
           City Club of San Diego, 4/08/05
           Alternative Health Conference, San Francisco CA 4/9/05
           Harvard Medical School, Cabot Lecture Series, 4/25/05
           Drug Therapy Conference, British Columbia 4/16/05
           Lutheran Medical Center, Brooklynn NY, 4/27/05
           Cooley Dickinson Hospital, Northampton MA 4/29/05
           Harvard School of Public Health, 5/02/05
           Southern Vermont Area Health Education Center, 5/07/05
           Chilten Club of Boston, 05/26/05
           Hiram B. Curry Memorial Lecture, University of S. Carolina Dept Family Practice,
           6/6/05
           Harvard Medical School, Mind/Body Medical Institute Continuing Medical
                             Education 6/15/05
           Vermont Citizens Campaign for Health 6/16/05
           Medical Foundation of Boston, 6/21/05
           Harvard Club of Boston, 6/22/05
           Hamilton Wenham Public Library 6/23/05
           World Pension Forum, Chatham MA, 7/12/05
           Boulderfest, Boulder CO, 7/14/05
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           Center for Popular Economic, Amherst MA, 8/1/05
           Public Policy Virginia, Roanoke VA, 9/17/05
           Fletcher Allen Hospital, Burlington Vermont 9/26/05
           University of Vermont Medical School 9/26/05
           Central Vermont Hospital 9/27/05
           Vermont Medical Society 9/27/05
           Cayuga Medical Center of Ithica, 9/30/05
           Michigan State Medical Society Bioethics Conference, 10/08/05
           Harvard Medical School, Mind/Body Medical Institute Continuing Education
                            Course 10/17/05
           U Mass Med School, Community Medicine 10/19/05
           Massachusetts Medical Society/Medical students 10/19/05
           Rotary Club, Charleston, WV, 10/21/05
           National Legislative Association on Prescription Drug Prices, Charleston, WV
                            10/21/05
           League of Women Voters, Hamilton, MA, 10/30/05
           Sharp Medical Center, San Diego, CA 11/04/05
           Pacific College Symposium, San Diego CA 11/05/05
           Allegheny General Hospital, Pittsburgh, PA 12/7/05
2006
           LA Country Employee Pension Association 1/26/06
           West Virginia House and Senate 2/1/06
           George Washington Medical School panel about Drug reps on campus 2/9/06
           HealthFirst Conference 2/22/06
           Cambridge Health Alliance Family Medicine Grand Rounds 2/24/06
           Harvard Medical School Pharmacology Patient Safety Session "The Vioxx
                            example" 2/28/06
           Nieman Journalism Fellowship 3/1/06
           Sudbury League of Women Voters 3/5/06
           Bentley College, Business Ethics Lecture 3/7/07
           Northwest Pharmacy Benefits Managers-Medical Directors Conference, Seattle
                            WA 3/10/06
           Harvard Medical School Continuing Medical Education, Mind Body Medicine
                            3/13/06
           Association of Health Care Journalists, Houston TX, 3/17/06
           North Shore Seminars, Beverly MA 3/19/06
           New England Biolabs, Ipswich MA 3/23/06
           Florida State University Medical Grand Rounds, Tallahassee FL 3/30/06
           Hampden County [MA] Medical Society 4/25/06
           Boston Medical Center, Family Medicine Grand Rounds 4/25/06
           Cooley Dickinson Hospital Northampton MA, Grand Rounds 5/1/06
           University of Colorado Family Medicine Grand Rounds 5/3/06
           American College of Lifestyle Medicine, Loma Linda CA 5/24/06
           Harvard Medical School Lecture to students: Statins 5/30/06
           The Regence Group Pharmacy Managers, Portland OR 6/14/06
           Alta Bates Hospital, Berkeley CA, Grand Rounds 6/13/06
           Harvard Medical School Mind/Body Medical Institute Continuing Medical
                            Education 6/21/06
           Tufts Family Medicine Residency 6/23/06
           Forum for Behavioral Science in Family Medicine 9/17/06
           Biomedical Research and the Law, Hofstra Law School 10/4/06
           Sharp Community Medical Group CME Conference 10/8/06
           Harvard Medical School, Course on Mind/’Body Medicine 10/20/06
           Idaho State University Family Practice Residency 10/26/06
           Idaho State University Conference on Health Care 10/26/06
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           American Public Health Association, panelist : “Drug manufacturers, the FDA,
                          and U.S. health care,” Boston, MA 11/7/06


           Loma Linda University, School of Pharmacy 11/3/06
           Sharp Rees-Steely Community Group CME 11/4/06
           Rollins College, Winter Park, FL, 11/13/06
           Capital Health Plan, Tallahassee, FL, 11/15/06
           National Federation of Women Legislators, Bachelor’s Gulch, CO, 11/18/06
           University of New Hampshire, Masters in Public Health Program Grand Rounds,
                            Durham, NH, 11/28/06
           Washington University, “Pharm-Free Day,” St. Louis, MO, 11/30/06
2007
           Panelist at George Washington University: Relations with the Pharmaceutical
                            Industry, Washington, D.C., 1/25/07
           Prescription Access Litigation Dinner, Keynote Speech, Washington D.C.,
                            1/25/07
           McDougall Program Health Conference, Santa Rosa, CA, 2/2-4//07
           Sutter Medical Center, Family Medicine Grand Rounds, Santa Rosa, CA 2/5/07
           Renown Medical Center, Grand Rounds, Reno NV., 2/6/07
           Gila River Health Indian Community Health Center: “The Growing Gap Between
                            Evidence-Based Medicine and Good Health Care,” Sacaton AZ.,
                            2/8/07
           Harvard Medical School: “Why Primary Care Don’t Get No Respect.” 2/13/07
           Indian Health Services, National Combined Councils: “Can We Trust the
                            Evidence in Evidence-Based Medicine,” San Diego CA. 2/25/07
           Harvard Medical School Continuing Education: Mind/Body Medicine Clinical
                            Training, Boston MA. 2/28/07
           University of Michigan, Family Medicine Grand Rounds, Ann Arbor, MI 3/14/07
           University of Texas, Medical Branch, Galvaston TX, 3/15/07
           Puerto Rican Third Annual Public Health Conference, San Juan PR, 5/8/07
           Harvard Medical School Continuing Education: Mind/Body Medicine Clinical
                            Training, Boston MA. 6/25/07
           International Academy of Law and Mental Health, Padua Italy, 6/29/07
           Lee Memorial Health System, Continuing Education Conference, Sanibel Harbor,
                            FL, 7/15/07
           Orlando Regional Medical Center, Continuing Education Conference, Orlando
                            FL, 7/16/07
           American Association of Naturopathic Medicine Annual Meeting, Palm Springs,
                            CA 8/25/07
           Dept. of Psychiatry Grand Rounds, Massachusetts General Hospital, Boston, MA
                            10/5/07
           North Atlantic Health Sciences Libraries, When the Facts Aren’t True, What’s a
           Librarian to Do?, Woodstock VT, 10/29/07
           Canadian Coalition for Health: Is Free Speech more Important than your Health,
           Toronto, CA March 4, 2008
           Benson-Henry Institutre for Mind Body Medicine/Harvard Medical School
           Coninuing Medical Education Program. Understanding our Critically Ill Health
           Care System and Offering a Real Alternative, Boston, MA, March18, 2008
           Northwest Naturopathic Physicians Convention, Can We Trust the Evidence in
           Evidence-Based Medicine? Vancouver, British Columbia, April 5, 2008
           Therapeutics Initiative, University of British Columbia , Lookin’ For Health in All
           the Wrong Places: The Commercial Distortion of Efforts to Reduce the Burdent of
           Heart Disease, Vancouver, British Columbia,
           April 7, 2008
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                    Direct to Consumer Perspectives National Convention, What’s Wrong with the
                    American Healthcare System (and How to Make it Right), Washington DC, April
                    16, 2008


E. Report of Clinical Activities
1982-2002        Family Physician, Hamilton-Wenham Family Practice
1997-2001        Hamilton-Wenham School District Physician

Bibliography

Original Articles

1987                Competition, capitation, and case management: barriers to strategic reform.
                    Milbank Quarterly 1987;65:3: 348-370
2003                Medical Reporting in a Highly Commercialized Environment: A family doctor
                    prescribes eight guiding principles for accurate and fair coverage of research
                    findings. Nieman Reports. 2003; Summer: 54-57
2003                Comments on the MRC/BHF Heart Protection Study. Correspondence. The
                    Lancet. 2003; 362: 745-746
2005                When Health Policy is the Problem (with Bruce Spitz). Journal of Health Politics,
                    Policy and Law, 2005; 30(2):327-366.
2005                The Effect of Conflict of Interest on Biomedical Research and Clinical Practice
                    Guidelines: Can We Trust the Evidence in Evidence-Based Medicine? (With
                    Barbara Starfield, MD, MPH). Journal of the American Board of Family Practice,
                    2005; 18:414-418.
2007                Are Lipid-lowering guidelines evidence-based? (With James M. Wright MD,
                    PhD). The Lancet, 2007: 369:168-169.
                    The Reliability of Our Medical Knowledge as a Product of Industry Relationships.
                    Hofstra Law Review, 2007; 35: 691-704.

Book

2004                Overdosed America: The Broken Promise of American Medicine. How the
                    Pharmaceutical Companies Distort Medical Knowledge, Mislead Doctors, and
                    Compromise Your Health (HarperCollins, Sept. 2004)

OP-EDS (Major Newspapers)
LA Times Drug Guidelines Fatten Bottom Line 7/25/04
NY Times Information is the Best Medicine 9/18/04
LA Times Physician Know Thy Patient 10/24/04
LA Times Drug Profits Infect Medical Studies 1/7/06
LA Times Healthcare Code Blue 11/3/06
Atlanta Journal Constitution Cold-hearted tug fails women 2/2/07


Partial list of National Media Appearances:
9/30/04 CBS Evening News
         Lou Dobbs
         CNN Headline News
          NPR Radio: All Things Considered
10/1/04 The Today Show
          CNN American Morning
10/18/04 FOX News Linda Vester: Bush and Kerry Health Plans
11/04/04 ABC News Vioxx article and editorial in Lancet
11/06/04 CNN "In the Money" DTC advertising
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11/18/04 CNN HEADLINE NEWS Vioxx Hearings:
11/19/04 CNN AMERICAN MORNING Vioxx Hearings: Why didn't Doctors know?
11/22/04 FOX LINDA VESTER Merck's role in funding Vioxx research
11/29/04 Lou Dobbs Are We A Nation of Hypochondiracs?
12/05/04 C-Span BookTV: From Collected Works, Brattleboro, VT (Recorded 11-05-04)
12/14/04 (taped)TV Ontario, What to do after Vioxx?
12/17/04 CNN with Betty Nguyen
        CNN Wolf Blitzer (interviewed by Mary Snow)
        CNBC Closing Bell with Tyler Mathisen
        Lou Dobbs Tonight
        CNN Headline News
12/18/04 Ron Insana Show (radio)
        NBC Nightly News
12/20/04 Fox News: Neil Cavuto
        WBUR Radio: On Point
        News Night with Aaron Brown
        CNN Headline News
        NPR Radio: All Things Considered
12/21/04 CNN American Morning
        CNN Live
        MSNBC Market Wrap with Ron Insana
        MSNBC Ron Insana: The Death of a Wonder Drug
12/22/04 The Today Show
        CNN Live From
12/26/04 WSJ Report with Maria Bartiromo
1/13/05 MSNBC (Over the Counter Statins)
1/24/05 CBS Evening News: Celebrex
2/18/05 MSNBC Bull’s Eye
2/19/05 CNN In the Money
        Fox News
        CNN Headline News
2/25/05 CNN Prime News
2/28/05 CNN Lou Dobbs LIve
5/27/05 CNN Lou Dobbs Live
        CNN Judy Woodruff Inside Politics
5/28/05 Fox with Bob Sellers
7/27/05 Fox and Friends, National
8/15/05 Fox 25, Boston
3/22/06 CNBC Live interview FDA, ADHD drug labeling
6/23/06 CNBC Morning Call: Zocor pricing

Expert Witness consulting and testifying fee: $550/hr

Testimony in the past 4 years:
August 3, 2006: Deposition Vioxx Products Liability Litigation, Robert G. Smith Versus Merck &
Co., Inc. Attorney: Larry Wright, Watts Law Firm, One Congress Plaza, Suite 1000, 111
Congress, Austin, TX 78701. (512) 479-0500

April 30, 2007: Deposition, Zyprexa Products Liability: MDL No 1596 Litigation Zyprexa. Attorney:
Jayne Conroy, Naly, Controy, Bierstein, Sheridan, Fisher & Hayes LLP. 112 Madison Mavenue,
New York, New York 10016. 212-784-6400

May 18, 2007: Deposition, Estratest, Susannah K. Alexander Versus Solvay Pharmaceuticals,
Inc., et al. Attorney: Ed Notargiacomo, Hagens Berman Sobol Shapiro
One Main Street, 4th Floor Cambridge, MA, 02142-1531 Tel. (617) 482-3700
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December 12, 2007: Deposition, TriCor, Joe Lukens, Hangley Aronchick Segal & Pudlin
One Logan Square, 18th & Cherry Streets, 27th Floor, Philadelphia, PA 19103-6933

December 18, 2007: Deposition, Nexium, Ed Notargiacomo, Hagens Berman Sobol Shapiro,
One Main Street, 4th Floor Cambridge, MA, 02142-1531 Tel. (617) 482-3700

March 4, 2008: Deposition, CanWest Media Inc, vs. Attorney General of Canada (re restraint of
CanWest’s freedom of commercial speech due to the ban on direct-to-consumer advertising of
prescription drugs.

March 18, 2008: Phone Deposition, Kathleen R Skiles vs. Richard M. Fruehling MD, Richard K
Waggoner, PA, and Family Practice of Grand Island. Attorney: Mark A. Weber, Walentine
O'Toole McQuillan & Gordon, 11240 Davenport Street, P.O. Box 540125, Omaha, NE 68154-
0125

March 24-25, 2008: Deposition, Bextra Marketing, Sales Practices and Product
Liability Litigation, MDL No. 1699

April 1, 2008: Hearing before Judge Jack Weinstein: Multiple plaintiffs vs. Eli Lilly re: Marketing
and Sales of Zyprexa, Hagens Berman Sobol Shapiro, One Main Street, 4th Floor Cambridge,
MA, 02142-1531 Tel. (617) 482-3700

July 24, 2008: Deposition, Vioxx, Consumer Plaintiff’s Renewed Motion for Class Certification,
Tom Sobol, Hagens Berman Sobol Shapiro, One Main Street, 4th Floor Cambridge, MA, 02142-
1531 Tel. (617) 482-3700
Case 1:04-cv-10981-PBS Document 1457-18 Filed 10/06/08 Page 133 of 145




                                         Exhibit 2

                              Testimony in Past Four Years


August 3, 2006: Deposition Vioxx Products Liability Litigation, Robert G. Smith Versus
Merck & Co., Inc. Attorney: Larry Wright, Watts Law Firm, One Congress Plaza, Suite
1000, 111 Congress, Austin, TX 78701. (512) 479-0500

April 30, 2007: Deposition, Zyprexa Products Liability: MDL No 1596 Litigation
Zyprexa. Attorney: Jayne Conroy, Naly, Controy, Bierstein, Sheridan, Fisher & Hayes
LLP. 112 Madison Avenue, New York, New York 10016. 212-784-6400

May 18, 2007: Deposition, Estratest, Susannah K. Alexander Versus Solvay
Pharmaceuticals, Inc., et al. Attorney: Ed Notargiacomo, Hagens Berman Sobol Shapiro,
One Main Street, 4th Floor Cambridge, MA, 02142-1531 Tel. (617) 482-3700
December 11, 2007: Deposition, Tricor Direct Purchaser Antitrust Litigation

December 11, 2007: Deposition, TriCor, Joe Lukens, Hangley Aronchick Segal & Pudlin
One Logan Square, 18th & Cherry Streets, 27th Floor, Philadelphia, PA 19103-6933

December 18, 2007: Deposition, Nexium, Ed Notargiacomo, Hagens Berman Sobol
Shapiro, One Main Street, 4th Floor Cambridge, MA, 02142-1531 Tel. (617) 482-3700

March 4, 2008: Deposition, CanWest Media Inc, vs. Attorney General of Canada (re
restraint of CanWest’s freedom of commercial speech due to the ban on direct-to-
consumer advertising of prescription drugs

March 18, 2008: Phone Deposition, Kathleen R Skiles vs. Richard M. Fruehling MD,
Richard K Waggoner, PA, and Family Practice of Grand Island. Attorney: Mark A.
Weber, Walentine O'Toole McQuillan & Gordon, 11240 Davenport Street, P.O. Box
540125, Omaha, NE 68154-0125

March 25-26, 2008: Deposition, Bextra Marketing, Sales Practices and Product Liability
Litigation, MDL No. 1699, Jayne Conroy, Hanly Conroy Bierstein Sheridan Fisher &
Hayes LLP 112 Madison Avenue, New York, New York 10016

April 1, 2008: Hearing before Judge Jack Weinstein: Multiple plaintiffs vs. Eli Lilly re:
Marketing and Sales of Zyprexa, Hagens Berman Sobol Shapiro, One Main Street, 4th
Floor Cambridge, MA, 02142-1531 Tel. (617) 482-3700

July 24, 2008: Deposition, Vioxx, Consumer Plaintiff’s Renewed Motion for Class
Certification, Tom Sobol, Hagens Berman Sobol Shapiro, One Main Street, 4th Floor
Cambridge, MA, 02142-1531 Tel. (617) 482-3700
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                                               Exhibit 3

                                    List of Documents Reviewed


Publications
1.   Radley DC, Finklestein SN, Stafford RS, Off-label Prescribing Among Office-Based Physicians, Archives
      of Internal Medicine, 2006;166:1021-26.

2.   Harrison RV, The Uncertain Future of Continuing Medical Education: Commercialism and Shifts in
      Funding, Journal of Continuing Education in the Health Professions, 2003;23:198-209.

3.   Sackett DL, Rosenberg WMC, Gray JAM, et al, Evidence based medicine: what it is and what it isn't: It's
      about integrating individual clinical expertise and the best external evidence. British Medical
      Journal,1996;312:71-72, accessed from the Center for Evidence-Based Medicine,
      http://www.cebm.net/?o=1014 , July 13, 2008.

4.   Holmer AF. Industry strongly supports continuing medical education. Journal of the American Medical
      Association. 2001;285:2012-2014.

5.   Scott Hensley, “As Drug-Sales Teams Multiply, Doctors Start to Tune Them Out, Wall Street Journal, June
      13, 2003.

6.   Moynihan R. Who Pays for the Pizza? Redefining the Relationships Between Doctors and Drug
      Companies. 1: Entanglement. British Medical Journal. 2003;326:1189-92.

7.   Ferguson RP, Rhim E, Belizaire W, et al, Encounters with Pharmaceutical Representatives among
      Practicing Internists, Am J Med, 1999;107:149-152.

8.   Bodenheimer T. Uneasy alliance – clinical investigators and the pharmaceutical industry. New England
      Journal of Medicine. 2000;342:1539-1544.

9.   Bodenheimer T. Uneasy alliance – clinical investigators and the pharmaceutical industry. New England
      Journal of Medicine. 2000;342:1539-1544.

10. Steinbrook R, Gag Clauses in Clinical-Trial Agreements, NEJM, 2005; 352: 2160-62.

11. Patsopoulos NA, Ionnidis JPA, Analatos AA, Origin and funding ofthe most frequently cited papers in
     medicine: database analysis, BMJ, 2006;332:1061-1064.

12. Mello MM, Clarridge BR, Studdert DM, Academic medical centers’ standards for clinical-trial agreements
     with industry, N Engl J Med, 2005;352:2202-10.

13. Knox RA, Boston Globe, March 30, 1999.

14. Davidoff F, DeAngelis DC, Drazen JM, et al. Sponsorship, Authorship, and Accountability, N Engl J Med,
     2001; 345: 825-7.

15. Smith R, Medical Journals Are an Extension of the Marketing Arm of Pharmaceutical Companies, PLOS
     Medicine, 2005; 2(5):e138 DOI: 10.1371/journal.pmed.0020138
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16. Als-Neilsen B, Chen W, Gluud C, Kiaergard LL, Association of Funding and Conclusions in Randomized
     Drug Trails, JAMA, 2003; 290:921-928.

17. Landefeld CS, Commercial Support and Bias in Pharmaceutical Research, Am J Med, 2004;117:876-8.

18. Curfman GD, Morrissey S, Drazen JM, Expression of Concern: Bombardier et al., “Comparison of Upper
     Gastrointestinal Toxicity of Refecoxib and Naproxen in Patients with Rheumatoid Arthritis,” N Engl J
     Med 2000;343:1520-8. NEJM, 2005;353:2813-4.

19. Bombardier C, Laine L, Burgos-Vargas R, et al, Response to Expression of Concern Regarding VIGOR
     Study, NEJM,2006;354:1196-8.

20. Curfman Gd, Morrisey S, Drazen JM, Expression of Concern Reaffirmed, N Eng J Med, 2006;354:1193.

21. Perlis RH, Perlis CS, Wu Y, et al, Industry Sponsorship and Financial Conflict of Interest in the Reporting
     of Clinical Trials in Psychiatry, Am J Psychiatry, 2005;162:1957-1060.

22. Mathews AW, Martinez B, E-Mails Suggest Merck Knew Vioxx’s Dangers at Early Stage, Wall Street
     Journal, November 1, 2004. Page 1.

23. Ebell MH, Siwek J, Weiss BD, et al, Strength of Recommendation Taxonomy (SORT): A Patient-Centered
     Approach to Grading Evidence in the Medical Literature, American Family Physician, 2004;69:548-56.

24. Bombardier C, Laine L, Reicin A, et al. Comparison of upper gastrointestinal toxicity of rofecoxib and
     naproxen in patients with rheumatoid arthritis. N Engl J Med 2000;343:1520-8.

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     Gastrointestinal Toxicity of Rofecoxib and Naproxen in Patients with Rheumatoid Arthritis,” N Engl J
     Med 200, 343:1520-8, 2005; 353:2813-4.

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     Psych, 2003; 183:22-27.

27. Turner EH, Matthews AM, Linardatos E, et al, Selective Publication of Antidepressant Trials and Its
     Influence on Apparent Efficacy, New England Journal of Medicine, 2008;358:252-60.

28. Altman LK, For Science’s Gatekeepers, A Credibility Gap, New York Times, May 2, 2006.

29. Jefferson T, Alderson P, Wagner E, Davidoff F, Effects of Iditorial Peer Review, JAMA, 2002;287:2784-
     86.

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8.   720-04174



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8.   CME1478-CME1748

9.   MAC_0003929

10. MAC_0004074

11. MDL_SM_01136

12. MDL_VENDORS_008516

13. MDL_VENDORS_008551

14. MDL_VENDORS_026372

15. MDL_VENDORS_055236

16. MDL_VENDORS_056827

17. MDL_VENDORS_068595

18. MDL_VENDORS_068601

19. MDL_VENDORS_094765

20. MDL_VENDORS_101127
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21. PFIZER_AFANNON_0003050

22. PFIZER_AFANNON_0008126

23. PFIZER_AFANNON_0008581

24. PFIZER_AFANNON_0017363

25. PFIZER_AMISHRA_0002324

26. PFIZER_APANDE_0003413

27. PFIZER_APANDE_0005005

28. PFIZER_BPARSONS_0030122

29. PFIZER_BPARSONS_0092302

30. PFIZER_BPARSONS_0098666

31. PFIZER_BPARSONS_0162576

32. PFIZER_BPARSONS_0183188

33. PFIZER_CGROGAN_0005042

34. PFIZER_CGROGAN_0012128

35. PFIZER_CGROGAN_0012131

36. PFIZER_DPROBERT_0007533

37. PFIZER_DPROBERT_0007543

38. PFIZER_DPROBERT_0007548

39. PFIZER_EDUKES_0000057

40. PFIZER_JMARINO_0000088

41. PFIZER_JMARINO_0000094

42. PFIZER_JMARINO_0000159

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47. PFIZER_JSU_0022639

48. PFIZER_LALPHS_0013849
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49. PFIZER_LALPHS_0013925

50. PFIZER_LCASTRO_0002678

51. PFIZER_LCASTRO_0005155

52. PFIZER_LCASTRO_0005618

53. PFIZER_LCASTRO_0043325

54. PFIZER_LCASTRO_0044830

55. PFIZER_LESLIETIVE_0002824

56. PFIZER_LESLIETIVE_0020631

57. PFIZER_LESLIETIVE_0020834

58. PFIZER_LESLIETIVE_0020835

59. PFIZER_LESLIETIVE_0020840

60. PFIZER_LESLIETIVE_0020880

61. PFIZER_LESLIETIVE_0020922

62. PFIZER_LESLIETIVE_0020949

63. PFIZER_LESLIETIVE_0020985

64. PFIZER_LESLIETIVE_0026462

65. PFIZER_LESLIETIVE_0035819

66. PFIZER_LESLIETIVE_0038508

67. PFIZER_LKNAPP_0023646

68. PFIZER_LKNAPP_0024967

69. PFIZER_LKNAPP_0035901

70. PFIZER_LKNAPP_0035987

71. PFIZER_LKNAPP_0038962

72. PFIZER_LKNAPP_0071019

73. PFIZER_LKNAPP_0104674

74. PFIZER_LKNAPP_0107849

75. PFIZER_LKNAPP_0112829

76. PFIZER_LKNAPP_0115557
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77. PFIZER_LKNAPP_0116131

78. PFIZER_LLAMOREAUX_0038148

79. PFIZER_RGLANZMAN_0000650

80. PFIZER_RGLANZMAN_0001383

81. PFIZER_RGLANZMAN_0039917

82. PFIZER_RGLANZMAN_0040034

83. PFIZER_RGLANZMAN_0044632

84. PFIZER_RGLANZMAN_0049084

85. PFIZER_RGLANZMAN_0059497

86. PFIZER_RGLANZMAN_0121206

87. PFIZER_RGLANZMAN_0140655

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89. PFIZER_RGLANZMAN_0148325

90. PFIZER_RGLANZMAN_0164617

91. PFIZER_SDOFT_0023144

92. PFIZER_SDOFT_0023146

93. PFIZER_SDOFT_0024532

94. PFIZER_SDOFT_0050277

95. PFIZER_SPIRON_0011527

96. PFIZER_TMF_CRF_015313

97. PFIZER_TMF_CRF_061889

98. PFIZER_TMF_CRF_062490

99. PFIZER_WSIGMUND_0000241

100. RELATOR00131

101. WLC_CBU_000221

102. WLC_CBU_012274

103. WLC_CBU_028064

104. WLC_CBU_028648
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105. WLC_CBU_037638

106. WLC_CBU_046363

107. WLC_CBU_092879

108. WLC_CBU_131219

109. WLC_CBU_168005

110. WLC_CBU_168009

111. WLC_FRANKLIN_0000050304

112. WLC_FRANKLIN_0000080341

113. WLC_FRANKLIN_0000081254

114. WLC_FRANKLIN_0000088375

115. WLC_FRANKLIN_0000095662

116. WLC_FRANKLIN_0000100237

117. WLC_FRANKLIN_0000100239

118. WLC_FRANKLIN_0000100272

119. WLC_FRANKLIN_0000166608

120. WLC_FRANKLIN_0000195502

121. WLC_FRANKLIN_0000223121

122. 0900000180114059.doc as produced in the Merlin Database

123. 090000018003bd75.doc as produced in the Merlin Database

124. 090000018006f819.doc as produced in the Merlin Database

125. 090000018014cbf6.doc as produced in the Merlin Database

126. 090000018014fc31.doc as produced in the Merlin Database

127. 0900000180003ebd.doc as produced in the Merlin Database

128. 0900000180110c34.doc as produced in the Merlin Database

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130. 0900000180111036.doc as produced in the Merlin Database

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132. 0900000180146063.doc as produced in the Merlin Database
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133. Metadata extracted from the Merlin database




Other
1.   2002 FDA-approved label for Neurontin.
2.   FDA-approved label for Neurontin 1998.
3.   21 U.S.C. §360aaa(b), (c).
4.   21 U.S.C. §360aaa-6.
5.   1998 Gorson Neurology.pdf and Neurontin.mdb produced by Defendants as part of the Neurontin
      bibliography
6.   Exhibit J to Affidavit of James E. Murray in support of Defendants' motion for summary judgment [docket
      no. 295] filed in US ex rel. Franklin v. Pfizer et al., 96-11651-PBS
